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                    Exhibit A-3
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   Date       Tkpr                              Dcscd(ltion                              Hout·s
01/29/09      LEM Review filing, docket, indenture, background information;                2.50
                    Conference with R. Bice; Telephone conference with M. Dantas;
                    Review Bank of New York resignation and tripartite agreement.
01/29/09     MAD Revise Tri-Party Agreement.                                               0.75
01130/09     LEM Review files; Conference with M. Dantas; Telephone conference             1.75
                   with R. Bice.
01130/09     MAD Comment on Tri-Party Agrement; Telephone call with R. Bice.               0.75
02/03/09     LEM Review docmnents and issues.                                              1.25
02/03/09     MAD Review and revise Tri-Party; Review Indenture.                            2.00
02/05/09     LEM Review filings; Telephone conference with R. Bice; Conference with        1.25
                   L. Rosenbloom and M. Dantas.
02/06/09     LEM Check on status; Telephone conference with R. Bice.                       0.75
02/09/09     MAD Address Tri-Party Issues.                                                 0.50
02/11109     MAD Telephone call with R. Bice regarding proper debtors; Review              0.50
                   Indenture; Respond to Bank ofNew York.
02/12/09     LEM Deal with preliminary matrer dealing with representation, status, and     2.00
                   committee membership.
02/13/09     MAD Address Tri-party issues.                                                0.50
02/17/09     LEM Review final tripartite agreement; Conference with R. Bice; Review       3.00
                   current docket; Review multiple Lyondell documents; Call F. Hodara
                   of Akin Gump regarding UCC.
02/17/09     MAD Address Tri-Party Agreement issues.                                      0.75
02/18/09     LEM Telephone conference with F. Hodara; Telephone conference P.             1.00
                   Tinker, Assistant US Trustee; Conference with R. Bice.
02119/09     LEM E-mails with P. Tinker; Review form; Obtain information and submit        1.50
                   telephone conference with R. Bice.
02/19/09     MAD Address Trustee Questionnaire; E-mails with L. Miller.                   0.50
02/20/09     LEM Communication with UCC committee counsel concerning status of            1.75
                   bankruptcy filing and committee meetings; Telephone conference R.
                   Bice; Review lengthy e-mails from other UCC members.
02/20/09     MAD Conference with L. Miller on various matters.                            0.50
02/21109     LEM Review several e-mails concerning emergency conference;                  1.00
                   Conference with R. Bice.
02/23/09     LEM Participate in lengthy UCC conference call; Meet with R. Bice;           5.00
                   Review lengthy materials.
02/24/09     LEM Participate in long UCC conference call; Telephone calls with R.         4.00
                   Bice before and after; Review lengthy documents/materials.
02/24/09     MAD Conference with L. Miller regarding Tri-Party.                           0.25
02/25/09     LEM Analyze background information and reports.                              2.50
02/25/09     MAD Review pleading; Conference with L. Mmer.                                2.00
02/26/09     LEM Review documents; Telephone conference with R. Bice.                     1.25
03/05/09     LEM Review conference call materials and conference with R. Bice.            1.50
03/06/09     LEM Attend unsecured Creditor Committee weekly conference cail.              2.00
03/10/09     LEM Review documents.                                                        0.50
03/11109     LEM Attend in person meeting of UC Committee at Akin finn with the           4.50
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   Date     Tkpt·                              Descdption                             Hours
                 debtor and their professionals.
03/12/09    LEM Review ·e-mail attachments/documents.                                   1.00
03/13/09    LEM Prepare for and participate in UC Committee; Telephone conference       3.00
                 with R. Bice.
03/16/09    LEM Meeting with Jefferies, R. Bice and M. Dantas regarding financial       2.25
                 issues.
03/16/09    MAD Conference with C. Veraso and L. Chang of Jeffries; Review of            1.50
                 presentation.
03/17/09    LEM Review documents and reports.                                           1.50
03118/09    LEM Review memos and pleadings from Akin Gump.                              1.25
03/19/09    LEM Prepare for and participate in UC Committee call, review materials;     2.50
                 Conference with R. Bice.
03/25/09    MAD Telephone call with Holder and follow-up to same.                      0.50
03/25/09    MNK Conference and communicate with R. Bice and L. Miller regarding        0.30
                Nortel Committee call and review materials regarding same.
03/26/09    MNK Review materials forwarded by L. Miller and R. Bice and participate    2.80
                 in weekly Committee call and communicate summary to L. Miller
                regarding same.
03/27/09    MAD Telephone call with M. Khambati.                                       0.25
03/27/09    MNK Draft brief summary of case for R. Bice.                               0.60
03/30/09    LEM Conference with R. Bice; Telephone conference with M. Khambati         1.25
                regarding issues.
03/31109    LEM Conference with L. Rosenbloom regarding various issues concerning      2.00
                the UCC and allocation.
04/01109    LEM Review materials for conference call; Telephone conference with R.     1.50
                Bice.
04/01109    MNK Review correspondence from financial advisors regarding sale           0.10
                deadlines.
04/02/09    MNK Communicate with R. Bice and L. Miller regarding bar date set in       0.10
                this case.
04/02/09    MNK Prepare for and participate in Nortel Committee meeting and            2.90
                communicate with R. Bice and L. Miller regarding same.
04/06/09    LEM Participation in committee calls and review documents.                 1.50
04/07/09    LEM Calls regarding Nortel/Flextronics contract dispute; Telephone         2.00
                conference with R. Bice. Try to arrange a meeting with the Ad Hoc
                Bond holder committee, e-mails and telephone conference with UCC
                counsel and R. Bice.
04/07/09    MNK Review and respond to communications from L. Miller regarding          0.10
                upcoming allocation and creditor committee meetings.
04/08/09    LEM Attend conference with numerous Nortel committee members               2.50
                regarding Flextronics.
04/09/09    LEM Attend UCC Committee call on Allocation of Sales Proceeds to           3.25
                various companies in Canada, USA and EMEA.
04110/09    LEM UCC Committee call, address questions from 4/9 Allocation call.        2.25
04/10/09    MNK Prepare for and participate on regularly-scheduled Committee call      3.80
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    Date      Tkpr                              Description                           Hours
                  and communicate with L. Miller and R. Bice regarding same.
04/13/09     LEM Deal with Bondholder issue; Telephone conference with M. Kambati.      1.50
04/13/09     MAD E-mails with M. Khambati.                                              0.25
04/13/09     MNK Review correspondence and attachment regarding noteholder inquiry      0.10
                  on inter-company claim and communicate with Noteholder regarding
                  same.
04/14/09     MNK Communicate with B. Werner, M. Dantas and committee counsel            0.90
                  regarding intercompany loans and review background information
                  regarding same.
04/15/09     LEM Review Canadian allocation issue.                                     1.25
04/15/09     MNK Review allocation protocol circulated by the Debtors and              0.30
                  communicate with L. Miller and R. Bice regarding same.
04/17/09     LEM Attend UCC call.                                                      2.00
04/17/09     MNK Prepare for and participate in Committee call and communicate with    3.10
                 L. Miller and R. Bice regarding same.
04/23/09     LEM Attend weekly conference call.                                        2.25
04/23/09     MNK Review materials and participate on Committee call.                   1.00
04/23/09     MNK Conference with R. Bice regarding status and strategy in Nortel.      0.30
04/24/09     MNK Communicate with noteholder, B. Werner, regarding intercompany        0.20
                 loan to NNI.
04/29/09     LEM Review financiaVlegal analysis and Canadian proceedings.              1.75
04/30/09     LEM Attend UCC conference call; Telephone conference with R. Bice.        2.00
04/30/09     MNK Review materials and participate on Committee call.                   2.80
05/05/09     LEM Review US, UK, and Canadian pension memos.                            1.50
05/06/09     LEM Review three pension memos for UK, Canada and USA.                    1.50
05/07/09     LEM Attend weekly conference call; Review advisor materials.              3.00
05/07/09     MNK Review docwnents in advance of committee meeting and participate      3.00
                 on committee call regarding same.
05/11/09     LEM Conference   call with UCC; Review several sets of documents on       2.50
                 financial analysis; Several calls with M. Khambati.
05111109     MNK Review materials, prepare for and participate in Committee call       2.00
                 regarding allocation issues with Canadian monitor.
05/11/09     MNK Review background documents regarding bond issuance and               0.60
                 communicate with M. Dantas regarding same.
05/11/09     MNK Review   court papers regarding claims· bar date.                     0.20
05/12/09     MNK Communicate with R. Jacob and Noteholder regarding intercompany       0.20
                 loan priority and status.
05/13/09     MNK Communicate with Committee counsel regarding status and               0.60
                 subordination issues concerning NNCC loan.
05/13/09     MNK Communicate with counsel for U.K. Monitor regarding bar date and      0.20
                 communicate with R. Bice and L. Miller regarding same.
05114/09     LEM Attend UCC committee call.                                            2.00
05/14/09     MNK Prepare for and participate in Corm-nittee conference call atid       3.10
                 conference with R. Bice regarding same.
05115109     LEM Review documents for committee issues.                                0.50
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   Date     Tkpr                                Description                           Hout·s
05/18/09    LEM Review documents and analysis-- Equinox; Review summary.                1.00
05/18/09    MNK Review correspondence from Committee counsel regarding sale             0.10
                  status.
05/18/09    MNK Provide client brief status on case.                                    0.20
05/19/09    LEM Review various summaries and analysis by UCC professionals.             2.00
05/20/09    MNK Review Ad Hoc Bondholder filings and communicate with                   0.30
                  Committee Counsel regarding Ad Hoc Bondholders Group and
                  communicate with R. Bice regarding same.
05/21109    LEM Conference with R. Bice; Review M. Khambatti notes.                     1.75
05/21109    MNK Prepare for and participate on Nortel Committee call.                   2.10
05/22/09    MNK Communicate with F. Hodara, R. Bice and L. Miller regarding             0.10
                  upcoming Committee meeting.
05/26/09    LEM Review materials prepared by UCC professionals; Telephone               1.00
                  conference with R. Bice.
05/26/09    MNK Review Committee minutes circulated by Akin Gump.                       0.40
05/28/09    MNK Review memorandum from F. Hodara regarding tax issues relating to       0.10
                  transfer pricing issues.
05/29/09    LEM Attend lengthy UCC call regarding multiple issues.                     2.00
05/29/09    MNK Review materials and participate on Committee call.                    1.40
06/01/09    LEM Review materials from Akin and conference with M. Khambati and         2.50
                 R. Bice; Take part in conference call at 3pm with UCC call.
06/01/09    MNK Review Committee materials in preparation for calls with client and     1.90
                 Committee and conferences with L. Miller and R. Bice regarding
                 same.
06/01/09    MNK Participate in conference with Committee regarding allocation of       0.70
                 Equinox sale proceeds.
06/03/09    MNK Review e-mail correspondence and documents regarding status on          1.50
                 cross-border allocation and expense agreements and communicate
                 with R. Bice and M. Smith regarding same.
06/04/09    LEM Conference with M. Khambati; Review materials for committee call;      1.50
                 Conference with R. Bice.
06/04/09    MNK Review documents in preparing for and participate in Norte]            2.60
                 Committee call.
06/04/09    MNK Review summary recommendation from Committee regarding                 0.10
                 Crossroads settlement.
06/04/09    MNK Conference and communicate with L. Miller, R. Bice and M. Smith        0.50
                 regarding status and strategy.
06/05/09    LEM Review pending issues, review Akin memos.                              2.00
06/08/09    MNK Review funding agreement drafts and correspondence from                1.30
                 Committee counsel and communicate with R. Bice regarding same.
06/08/09    MNK Review summary from Committee counsel regarding IBM lease              0.10
                 rejection.
06/08/09    MNK Review Committee meeting minutes.                                      0.10
06/09/09    MNK Review summary of Debtors' motion to update/increase bonding           0.20
                 facilities sent by Committee counsel.
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   Date      Tkpa·                                Descri1)tion                          Hours
06/09/09     MNK Conference with Committee counsel and R. Bice regarding finalizing       0.30
                    funding agreement.
06/11/09     MNK Review materials in preparing for and participating on Committee         1.80
                    call.
06/11/09     MNK Review fmal, executed Funding Agreement circulated by Committee          0.50
                    Counsel.
06115/09     LEM Review pending issues; Telephone conferences with clients;               2.00
                    Telephone conference with M. Dantas.
06/17/09     LEM Review proposed allocation of sale proceeds.                             2.50
06/18/09     LEM Attend committee conference call: Discussion with R. Bice.               1.50
06/18/09     MNK Review information and participate on weekly committee call              2.60
                    regarding status and strategies.
06/19/09     LEM Review recently distributed analysis from the UCC; Telephone             3.25
                    conference with R. Bice; Telephone conference with M. Khambati.
06/19/09     MNK Participate on Committee call to discuss Narnia bid; Review              0.80
                   correspondence from Committee counsel regarding same.
06/20/09     MNK Review Carrier sale press release sent by F. Hodara and                  0.10
                   communicate with R. Bice and L. Miller regarding same.
06/22/09     LEM Review various analysis and financial reports.                          2.00
06/23/09     LEM Review background information, recent memos, fmancial analysis          3.25
                   and Mohsin Khambati memos. Prepare for June 24th conference call.
06/23/09     MNK Review notes and background papers and draft discussion points          0.10
                   outline for client.
06/23/09     MNK Draft and send discussion points outline to client.                     0.50
06/24/09     LEM Review documents; Conference with M. Khambati; Analyze funding          2.00
                   issues; Prepare for tomorrow's conference call.
06/25/09     LEM Conference with L. Rosenbloom, M. Khambati; R. Bice review              4.50
                   various funding issues participants in weekly UCC call.
06/25/09     MNK Conference with group regarding status in case.                         0.50
06/25/09     MNK Review materials and participate on weekly Committee call.              2.40
06/26/09     LEM Review documents; Conference with M. Khambati; Review various           1.75
                   new e-mails.
06/26/09     MAD   Address  questions raised by L. Miller.                               1.00
06/26/09     MNK Review corporate materials forwarded by L. Miller and communicate       0.50
                   with group regarding Law Debenture claim.
06/30/09     LEM Review several fmancial presentations.                                  1.50
07/02/09     LEM UCC conference call; Telephone conference with R. Bice; Telephone       3.00
                   conference with M. Khambati.
07/02/09     MNK Review committee materials and participate on Committee call.           2.60
07/02/09     MNK Contact Canadian Monitor's representatives regarding claims bar date    0.10
                   updates.
07/06/09     LEM Several e-mails and conferences with R. Bice and M. Khambati;           1.50
                   Review UCC documents; Arrange call with Jefferies regarding
                   claims.
07/06/09     MNK Communicate with E&Y representative regarding claims bar date in        0.10
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    Date     Tkpt·                            Description                            Hours
                 Canada.
07/06/09    MNK Communicate with L. Miller and L. Chang at Jefferies regarding          0.20
                 Nortel debt issues.
07/06/09    MNK Draft and send case summary to R. Reale.                              0.20
07/07/09    LEM Review UCC materials; Telephone conference with M. Khambati.          1.50
07/07/09    MNK Review summary on Moline settlement from B. Kahn.                     0.10
07/07/09    MNK Review update from Committee on proposed LOC facility.                0.10
07/09/09    LEM UCC conference call: Telephone conference with M. Khambati;           3.75
                 Conference with R. Bice.
07/09/09    MNK Conference with L. Chang and L. Miller regarding Nortel debt          0.70
                 structure.
07/09/09    MNK Review documents, prepare for and participate on Committee call.      1.90
07/14/09    LEM Review documents distributed by UCC.                                  1.75
07/14/09    MNK Communicate with C. Verasco at Jeffries regarding Nortel debt         0.20
                 structure.
07/15/09    LEM Review Committee materials.                                           2.50
07/15/09    MNK Review update form Committee counsel regarding Debtors' bonding       0.10
                facilities.
07115/09    MNK Review Petition for new Nortel case forwarded by the Committee.       0.20
07/16/09    LEM Participate in Creditor Committee call; Review UCC documents.         2.50
07/16/09    MNK Review documents served in connection with and participate in         3.20
                Committee call.
07/20/09    MNK Review correspondence from client and Committee counsel               0.20
                regarding Aviator deal.
07/20/09    MNK Communicate with R. Reale regarding updates in the case.              0.10
07/20/09    MNK Review summary from Committee counsel regarding motion to             0.10
                assume agreements with Chrysler.
07/20/09    MNK Review PBGC Plan termination materials sent by Committee              0.70
                counsel.
07/23/09    MNK Review documents and Committee memoranda in preparation for and       2.90
                participate on Committee Call.
07/24/09    MNK Participate on Norte) Committee call regarding bidding process and    0.50
                review correspondence from Committee regarding same.
07/27/09    MNK PerL. Miller request, research bid/ask prices for Nortel bonds and    0.60
                communicate with NY library regarding same.
07/28/09    LEM Review various reports and minutes by monitor and UCC                 2.75
                professionals.
07/28/09    MNK Review   correspondence from Committee counsel regarding status of    0.10
                CDMA sale hearing.
07/29/09    LEM Review Committee Minutes; Review UCC materials.                       2.50
07/29/09    MNK Review correspondence from Committee counsel regarding status of      0.10
                sale objection settlement with Flextronics.
07/29/09    MNK Review revised Committee meeting mi..'lutes.                          0.10
07/29/09    MNK Review Committee summary of Monitor's Sixteenth Report.               0.30
07/29/09    MNK Review Committee meeting minutes circulated by counsel.               0.30
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   Date      Tktlr                               Description                          Hours
07/30/09     LEM Prepare for and participate in UCC call; Conference with M.            2.50
                    Khambati; Conference with M. Dantas.
07/30/09     MNK Review documents and agenda matters and participate on Committee       1.90
                    call.
07/30/09     MNK Conference with L. Miller regarding status and strategy.               0.10
07/30/09     MNK Review Nortel cash and liquidity update provided by Committee          0.30
                    professionals (Capstone).
08/01109     MNK Review Nortel contact list circulated by Committee professionals.      0.10
08/03/09     LEM Review CRO information.                                                1.25
08/04/09     MNK Review communication from F. Hodara regarding status on Equinox        0.10
                    sale and bid procedures hearing.
08/05/09     LEM Consider CRO Candidate; Review UCC materials.                          1.50
08/05/09     MNK Review communication from Committee counsel regarding NNI              0.10
                   settlement.
08/05/09     MNK Review Committee submissions on CRO candidates.                        0.30
08/06/09     LEM UCC call; Review materials prior to call; CRO discussion with R.       1.75
                   Bice.
08/06/09     MNK Review materials and participate on Nortel Committee call.             2.80
08/06/09     MNK Review correspondence and attachment from R. Jacobs regarding          0.20
                   upcoming hearing on CDMA sale before Canadian authorities.
08/07/09     MNK View Canadian Committee hearings on NorteI sale of CDMA               2.50
                   business.
08/08/09     MNK Review Committee counsel's description of CDMA sale hearing            0.10
                   before Canadian authorities.
08/10/09     LEM Review UCC minutes.                                                   0.75
08/10/09     MNK Review information on bar dates in Canadian and US proceedings        0.20
                   and communicate with client regarding same.
08/10/09     MNK Review Committee minutes for July 30th and August 6th meetings.       0.10
08111/09     LEM Review UCC Committee minutes; UCC Documents.                          2.00
08/12/09     LEM Review UCC documents for call; CRO issue/appointment.                 2.00
08112/09     MNK Review CRO Candidate resumes forwarded by Committee counsel.          0.50
08/13/09     LEM Review committee distributions; Participate in UCC call; Telephone    3.50
                   conference with R. Bice, discuss CRO process and candidates.
08/13/09     MNK Communicate with R Bice and L. Miller regarding thoughts on CRO       0.20
                   selection.
08/13/09     MNK Review materials and participate on weekly committee call.            2.60
08/13/09     MNK Conference with L. Miller regarding status of CRO selection in the    0.10
                   case.
08114/09     LEM Review UCC distribution materials.                                    1.00
08/14/09     MNK Review communication from F. Hodara regarding CRO selection           0.10
                   process.
08/17/09     MAD Address issues; Office conference with H. Haas.                       1.00
08/19/09     LEM Review materiais for UCC call; Conference with R. Bice.               1.50
08/19/09     MAD Follow-up to client comments; Review documents.                       1.75
08119/09     MNK Review committee meeting minutes sent by B. Kohn.                     0.10
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   Date     Tlqu·                              Descdption                               Hours
08/20/09    LEM  Attend UCC call; Conference with R. Bice; Review materials.              3.00
08/20/09    MNK  Review documents and participate in weekly Committee call.               1.50
08/21/09    LEM  Review Pavi e-mails; Review UCC materials.                               1.50
08/21/09    MNK  Review correspondence from Committee members regarding                   0.20
                 retention of CFO.
08/24/09    LEM Review UCC Committee documents.                                           1.50
08/26/09    MNK Review Nortel Canadian and US Bar Date materials.                         0.90
08/27/09    LEM Attend UCC call; Review documents; Telephone conference with R.           2.50
                Bice.
08/27/09    MNK Review documents circulated by the Committee and participate on           2.40
                weekly committee call.
08/27/09    MNK Communicate with L. Miller and M. Dantas regarding Nortel                 0.10
                Canadian and US bar date and drafting proofs of claim.
08/31109    MNK Review additional bar date notices and materials filed in the US          0.20
                cases.
08/31109    MNK Review Nortel Committee minutes for August 20th and the 27th sent         0.10
                by Committee counsel.
08/31109    MNK Review IRS tax claim filed in the Nortel cases and communication          0.10
                from F. Hodara regarding same.
08/31109    MNK Communicate with R. Jacobs regarding Nortel bar date memo                 0.10
                circulated by the Committee and procedures.
08/31109    MNK Review Debtors' Response to objections to various motions.               0.20
09/03/09    LEM Lengthily CC call; Conference with R. Bice.                              2.00
09/03/09    MNK Review Committee materials and participate in Committee meeting.         2.70
09/07/09    MNK Review correspondence from Committee counsel regarding status on         0.20
                competing bid for Equinox sale.
09/08/09    LEM Conference call regarding sale of a division; Two conferences with       1.25
                R. Bice; E-mail.
09/08/09    MNK Participate on Committee conference call to discuss bids for Equinox     0.10
                transaction.
09/08/09    MNK Participate in Committee conference discussing Equinox bid.              0.50
09/09/09    LEM Update on division sale and discussion of auction process.               1.50
09/10/09    LEM Two (2) lengthy conference calls with UCC Committee; The debtor          3.25
                and a possible bidder for Equinox.
09/10/09    MNK Review Committee materials and participate on weekly Committee           2.30
                call regarding status and issues.
09/10/09    MNK Participate in supplemental committee call to discuss Equinox bid        0.80
                and sale process and progress.
09/11109    LEM Participate in conference call regarding on going auction process of     1.25
                Nortel Division.
09114/09    LEM Review status of sale; Conference with R. Bice.                          0.75
09115109    LEM Review auction issues; Conference with R. Bice.                          1.25
09/15/09    MNK Work on Nortel proofs of claim in t.IJ.e US and Canadian proceedings.    0.70
09/16/09    LEM Auction update on UCC conference calls; Conference with R. Bice.         1.50
09/16/09    MNK Work on Law Debenture claims in US and Canadian insolvency               1.00
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    Date      Tkpr                              Description                             Hours
                  proceedings.
09/16/09     MNK Review updates from counsel on Equinox and Carrier sales.                0.20
09/17/09     LEM Attend Nortel conference call; Review Nortel UCC issues/and              3.50
                  documents.
09/17/09     MNK Review Committee materials and participate on Committee call to          2.40
                  discuss status and strategy in bankruptcy cases.
09/18/09     LEM Review Canadian and US Proofs of Claim; Conference with L.               1.50
                  Rosenbloom.
09/18/09     MAD Address POC issues; Review Addendum; Review and comment on               0.75
                  response to Motion to Dismiss.
09/18/09     MNK Work on Nortel claims in the US and Canadian proceedings.                4.30
09/20/09     MNK Draft and send updated status report to R. Reale.                        0.10
09/21/09     LEM Review issues and documents; Review Proofs of Claim - US and             2.00
                  Canadian.
09/21109     MNK Communicate with L. Miller and M. Dantas regarding Law                   0.10
                  Debenture claims in the bankruptcy cases.
09/22/09     LEM Discuss US and Canadian Proofs of Claim, discuss filing.                 1.25
09/22/09     MAD Address POCs.                                                            0.75
09/22/09     MNK Communicate with G. Ciraldo regarding status ofLaw Debenture's           0.10
                 claims against US and Canadian Debtors.
09/22/09     MNK Conferences and communicate with R. Bice, L. Miller, and counsel         1.90
                  for Ad Hoc Bondholders Group regarding Nortel proofs of claim and
                 continue drafting and finalizing the same.
09/23/09     LEM Review/comment on Proofs of Claim.                                       1.50
09/23/09     MNK Review and revise Law Debenture claims and addendum and                  1.20
                 communicate with client and M. Dantas regarding same.
09/24/09     LEM UCC call; Review IRS issues regarding a $2 Billion claim.                2.25
09/24/09     MAD Review revised claims; Review e-mails.                                   1.75
09/24/09     MNK Conference with R. Bice regarding claim amounts for proofs of            0.10
                 claim.
09/24/09     MNK Review Committee papers and participate on weekly status and             2.30
                 strategy call with Committee.
09/25/09     LEM Review Proofs of Claim.                                                  1.00
09/25/09     MNK Continue reviewing, revising and fmalizing proofs of claim forms for     1.90
                 filing purposes and communicate with R. Bice, L. Miller, L. Saal, H.
                 Aaronson, and bondholder counsel regarding same.
09/25/09     MNK Review correspondence from Committee counsel regarding update            0.10
                 on closing of CDMA deal.
09/28/09     LEM Review Proofs of Claim; Telephone conference with R. Bice;               1.50
                 Telephone conference with M. Khambati, Discuss Canadian Counsel
                 retention.
09/28/09     MNK Communicate with L. Miller and M. Dantas regarding Norte} claims        0.10
                 in US and Canada.
09/29/09     LEM Address Proofs of Claim issues; Conference with M. Khambati.            2.25
09/29/09     MNK Communicate with L. Miller and M. Dantas regarding notice to be         0.10
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   Date      Tlipt·                             Description                            Hours
                 sent on behalf of indenture trustee.
10/01/09    MNK Review Committee materials and participate on weekly Committee           2.70
                 call regarding status, issues and strategies.
10/04/09    MNK Draft Notice to Holders regarding recent events and circulate to         0.60
                 working group for review and consideration.
10/04/09    MNK Review correspondence from Committee Counsel regarding                   0.10
                 termination benefits summary in Debtors' Middle East office.
10/06/09    MNK Review Committee meeting minutes forwarded by B. Kohn.                  0.20
10/07/09    LEM Review CRO's issues; Review UCC documents.                              1.00
10/07/09    MNK Conference and communicate with R. Bice and L. Miller regarding         0.20
                 upcoming interview sessions for possible CEO candidates at the
                 company.
10/07/09    MNK Review CRO candidate materials forwarded by Committee counsel.          1.10
10/07/09    MNK Review correspondence from Committee counsel regarding status of        0.10
                MEN sale.
10/08/09    LEM Participate in UCC call, review financial documents.                    1.75
10/08/09    MNK Review information forwarded by Committee counsel and participate       2.20
                on weekly call.
10/12/09    LEM Review issues raised by M. Khambati regarding proceeds allocation.      1.00
10/12/09    MNK Review sale allocation protocol materials forwarded by Committee        2.00
                counsel and communicate with L. Miller and Committee counsel
                regarding same.
10/12/09    MNK Work on Notice of Appearance and Request for Service of Papers in       0.50
                Norte I.
10/12/09    MNK Review outline of Committee objections to bid procedures on the         0.20
                MEN transaction.
10/15/09    MNK Communicate with Committee counsel regarding Proceeds                   0.10
                Allocation issues.
10/15/09    MNK Review   Amended Agenda of matters scheduled for upcoming               0.10
                hearing.
10/15/09    MNK Review Committee materials and participate on weekly committee          1.90
                conference call.
10/16/09    MNK Conference with R. Jacobs regarding questions on Proceeds               0.50
                Allocation Protocol and communicate with L. Miller regarding same.
10/16/09    MNK Review and further analyze Committee materials sent previously as       1.30
                part of Committee Call on October 15th, including new proceeds
                allocation breakdowns and projections.
10/19/09    LEM Review several documents; Conference with M. Khambati; Analyze          1.25
                Canadian, US asset allocation agreement.
10/19/09    MNK Review Order Approving Bidding Procedures and Authorizing               0.30
                Debtors to enter into Stalking Horse Agreement regarding Metro
                Ethernet Networks business.
10/19/09    MNK Review supplemental order regarding compensation and                    0.10
                reimbursement for Official Committee members.
10/19/09    MNK Review Orders and Stipulation regarding interim resolution of claims    0.40
                and liens between the Debtors and the PBGC and the IRS.
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   Date      Tkpr                                Descl'iption                         Hom·s
10/20/09     MNK Review Omnibus Hearings Order filed and served in bankruptcy           0.10
                   case.
10/21/09     LEM Review materials distributed by UCC/Akin.                              1.00
10/22/09     LEM UCC conference call; Review materials.                                 2.00
10/22/09     MNK Review documents circulated by Committee professionals, prepare        1.70
                   for and participate on weekly cotnmittee call.
10/22/09     MNK Review Committee recommendations on motion seeking to pay              0.20
                   termination benefits as well as retain SCI for document review.
10/23/09     MNK Review correspondence from Committee counsel regarding CFIUS           0.10
                   update.
10/23/09     MNK Review documents filed and served in the bankruptcy cases.             0.10
10/24/09     MNK Review and analyze Committee materials circulated in advance of        1.70
                   and for October 22nd meeting.
10/26/09     MNK Review agenda and amended agenda of matters for upcoming               0.10
                   hearing in the bankruptcy cases.
10/26/09     MNK Review Notice and bidding procedures filed and served regarding        0.30
                  sale of MEN business.
10/26/09     MNK Review Notice and bidding procedures regarding sale ofDebtors'         0.20
                  GSM/GSM:..R business.
10/26/09     MNK Review Notice of Omnibus hearings filed and served in the              0.10
                   bankruptcy cases.
10/27/09     LEM Review US Government Tax issue.                                        1.25
10/27/09     MNK Review Notice of Successful Bid by Hitachi on Next Generation          0.10
                  Packet Core business filed and served in the bankruptcy cases.
10/28/09     MNK Review amended agenda for upcoming hearing in the case.               0.10
10/28/09     MNK Review documents filed and served in the bankruptcy case.             0.10
10/28/09     MNK Review correspondence from the Debtors regarding revised terms of     0.10
                  Jefferies retention.
10/29/09     LEM Participate in UCC conference calL                                     1.25
10/29/09     MNK Participate in weekly Committee call and communicate with R. Bice      1.90
                  regarding Jefferies compensation issue.
10/29/09     MNK Review Order Authorizing Sale of Debtors' Next Generation Packet      0.40
                  Core Networks Components.
10/30/09     MNK Review documents filed and served in the bankruptcy cases.            0.10
11/01/09     MNK Review correspondence from T. Feuerstein regarding modification to    0.10
                  CDMA asset sale agreement.
11/01109     MNK Review correspondence from K. Davis regarding modifications to        0.20
                  MEN bidding procedures.
11/02/09     LEM Review UCC materials for conference calL                              0.75
11/02/09     MNK Review correspondence from S. Reisman regarding Jefferies             0.10
                  compensation adjustment.
11/02/09     MNK Review correspondence from M. Henkin and Jefferies presentations      0.50
                  regarding compensation adjustment.
11/04/09     LEM Attend weekly UCC call.                                               1.00
11/04/09     MNK Review materials and participate on weekly Committee call.            2.00
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   Date      Tkpr                             Description                               HoUJ·s
11/04/09    MNK Review notice of rescheduled bid deadline, auction and other dates in     0.10
                 connection with sale of GSM business.
11/04/09    MNK Review Application to retain Global IP Law Group regarding                0.30
                 evaluation and sale of Debtors' IP Portfolio.
11104/09    MNK Review Motion regarding Assumption and Assignment of Executory            0.10
                 Contracts pursuant to sale of CDMA business.
11104/09    MNK Review motion to file MEN sale disclosures, exhibits, and schedules       0.10
                 under seal.
11/04/09    MNK Review memo from Committee counsel, B. Kahn, regarding IP                 0.10
                 Global retention.
11105/09    LEM Review UCC materials and attend weekly conference calL                    2.50
11106/09    MNK Review 15-week cash update and forecast sent by Capstone.                 0.40
11106/09    MNK Review and analyze Flextronics settlement and recommendation sent         0.40
                 by Committee Professionals.
11107/09    MNK Review additional materials related to Jefferies work and                 0.30
                compensation rates circulated by Committee.
11109/09    LEM Review UCC and related material.                                         1.50
11109/09    MAD Review Committee Notes; Telephone call with L. Miller.                   1.25
11109/09    MNK Review amended and revised schedules and SOFAs filed and served          0.40
                in the Debtors' bankruptcy cases.
11110/09    LEM Revise Notices to Holders.                                               1.25
ll/10/09    MNK Review notice ofupcoming hearing filed and served in the                 0.10
                bankruptcy cases.
11/10/09    MNK Review documents filed and served in the bankruptcy cases.               0.40
11110/09    MNK Review and revise notice to holders and send to L. Miller and M.         0.20
                Dantas for review and consideration.
11111109    LEM Review UCC call materials.                                               1.50
11111/09    MNK Review amended notice of agenda for upcoming hearing in the              0.10
                bankruptcy case.
11111/09    MNK Review papers regarding CDMA Sale filed and served in the                0.40
                bankruptcy cases.
11112/09    LEM Participate in UCC weekly call and review committee documents;           2.25
                Conference with R. Bice.
11/12/09    MNK Participate on regularly scheduled Committee Call.                       1.90
11113/09    LEM Review e-mail on DOMA closing.                                           0.25
11113/09    MNK Review correspondence from Committee counsel regarding status of         0.10
                CDMA closing and MEN bid deadlines and auction.
11113/09    MNK Review documents tiled and served in the bankruptcy cases.               0.20
11114/09    MNK Review Committee materials sent for November 12th call.                  0.80
11116/09    MNK Review documents filed and served in the bankruptcy cases.               0.20
11/17/09    MNK Review agenda of matters scheduled for November 19th hearing.            0.20
11117/09    MNK Review status from Committee counsel regarding MEN bids, bidders         0.20
                and prospective auction.
11/18/09    MNK Review Debtors' papers and schedules regarding motion to set bar         1.10
                date for CALA Debtors to determine if impacts NNI and Law
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   Date        Tkpr                                  Description                         Hours
                    Debenture.
11118/09       MNK Review Debtors' motion and AP AC/Asia Restructuring Agreement           1.40
                    filed and served in the bankruptcy cases.
11119/09       LEM Attend weekly conference call; Review M. Kham bati e-mail.              1.75
11119/09       MNK Participate on weekly Committee call and communicate with R. Bice       1.80
                    and M. Smith regarding same.
I 1119/09      MNK Review documents, including hearing agenda, filed and served in the     0.10
                    bankruptcy cases.
11/20/09       LEM Review several e-mails and participate in UCC's call on MEN             1.50
                    auction process.
11120/09       MNK Participate on Committee call regarding status of MEN auction.         0.40
11/21/09       MNK Review Committee materials distributed for November 19th               0.90
                    conference call.
11/21109       MNK Review correspondence from committee professionals regarding           0.10
                    status at MEN auction.
I 1122/09      MNK  Review   multiple correspondence from Committee professionals over    0.30
                    course of day regarding status and strategies at MEN auction.
11123/09       LEM MEN auction update e-mail and conference.                              1.25
11/23/09      ·MNK Review correspondence and updates from Committee professionals         0.10
                   and members on Nortel MEN Auction.
11124/09       LEM Review pleadings and MEN bidding results.                              0.75
11124/09      MNK Review Motion, proposed Order and Escrow Agreement for sale             0.40
                   proceeds concerning Next Gen assets.
11124/09      MNK Review miscellaneous documents filed and served in the bankruptcy       0.40
                   cases.
11125/09       LEM Attend weekly UCC cal~ Review e-mails.                                 2.00
11125/09      MNK Review Committee materials and participate on weekly Committee          1.90
                   meeting.
11/27/09      MNK Review documents filed and served in the bankruptcy cases.              0.10
11128/09      MNK Review documents relating to Flextronics settlement filed and served    0.90
                   in the bankruptcy cases.
11128/09      MNK Review Notice of Successful bid of MEN assets.                          0.10
11130/09      MNK Review Debtors' motion concerning omnibus claims objections.            0.30
11130/09      MNK Review Agenda for upcoming (December 2nd) hearing.                      0.20
11130/09      MNK Review GSM sale papers filed and served in the bankruptcy cases.        1.00
11130/09      MNK Review miscellaneous documents filed and served in the bankruptcy       0.30
                   cases.
12/01109       LEM Attend emergency conference call on morning court argument             1.50
                   regarding recent MEN auction process and new bid.
12/01109      MNK Review correspondence from Committee counsel and member                 0.10
                   regarding new bid on MEN business.
12/01109      MNK Review NSN/OEP objections and counter-bid on MEN auction.               0.20
12/01109      MNK Pa..-ticipate on Collliu.ittee call regarding new NSN/OEP bid.          1.20
12/01109      MNK Review correspondence from Committee members and professionals          0.10
                   regarding NSN/OEP objections to MEN sale.
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    Date    Tkpr                              Description                             Holu·s
12/01109    MNK Review GSM auction bids recap submitted by Committee                    0.10
                  professionals.
12/02/09    LEM Review several e-mails regarding auction process and court hearing;     1.75
                  Long telephone conference with R. Bice.
12/02/09    MNK Review multiple correspondence throughout the day regarding MEN         1.50
                 sale process from Committee professionals and members and
                 participate on multiple conferences regarding same.
12/02/09    MNK Review amended agenda of upcoming hearing on December 2nd.              0.20
12/03/09    LEM Review M. Khambati notes on UCC conference call today.                  0.50
12/03/09    MNK Review correspondence and article sent by F. Hodara regarding           0.10
                 NSN's desire to appeal from latest sale decision.
12/03/09    MNK Review cash flow forecast sent by Committee professionals.              0.60
12/03/09    MNK Communicate with M. Smith and J. Heaney regarding upcoming              0.10
                 Committee call.
12/03/09    MNK Participate on weekly Committee call.                                   1.20
12/03/09    MNK Review correspondence from F. Hodara regarding Court ruling on          0.10
                 MEN sale.
12/05/09    MNK Review Committee memo on $2 billion UK pension liability.              0.60
12/07/09    MNK Review documents filed and served in the bankruptcy cases.             0.20
12/08/09    LEM Review UCC materials on MEM auction and tax issues.                    1.25
12/08/09    LEM Conference with M. Da.ntas regarding POC's issues.                     0.50
12/08/09    MNK Review ffiM settlement agreement (including treatment of claims        0.20
                 against more than one debtor) filed and served in the bankruptcy
                 cases.
12/08/09    MNK Review Order approving the Flextronics Settlement.                     0.10
12/08/09    MNK Review Order approving Asia Restructuring Agreement and Next           0.20
                 Gen Packet Core Network Escrow Agreement.
12/08/09    MNK Continue reviewing and analyzing Committee memo on $2 billion          0.60
                 UK pension liability for Canadian and US estates.
12/09/09    MNK Review CALA Bar Date Order.                                            0.30
12/09/09    MNK Review various GSM Sale Orders filed and served in the bankruptcy      0.40
                 cases.
12/09/09    MNK Review correspondence from J. Sturm regarding closing ofNext           0.10
                 Generation Packet Core sale transaction.
12/09/09    MNK Review Debtors' motion seeking approval of settlement with Nettel      0.30
                 Corporation.
12/09/09    MNK Review Committee meeting minutes sent by Committee                     0.20
                 professionals.
12/10/09    LEM Attend UCC call; Review distributed materials; Review Urgent           2.25
                 Request for bonus funds.
12110/09    MNK Conference with R. Bice regarding attendance and issues at             0.10
                 Committee meeting today.
12/10/09    MNK Participate on weekly Committee call.                                  1.90
12/10/09    MNK Review MEN Sale Order filed and served in the bankruptcy cases.        0.40
12/10/09    MNK Review correspondence from J. Borrow and Committee members             0.20
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   Date       Tkpt·                             Description                             Hours
                  regarding additional bonuses demanded by Nortel employees
                  working toward closing of Enterprise deal.
12/11109     MNK Review NETtel settlement motion summary sent by Committee                0.20
                  counsel.
12/11109     MNK Review notice of agenda of matters scheduled for December 15th           0.20
                  hearing.
12/11109     MNK Review and analyze Committee materials circulated for last call.        1.20
12/14/09     LEM Review of Capstone materials on incentive/retention compensation.       1.50
12/14/09     MNK Review agenda of matters for upcoming hearing.                          0.20
12/14/09     MNK Review Enterprise Solutions business escrow agreement filed and         0.20
                  served in the bankruptcy cases.
12/14/09     MNK Review motion papers seeking approval for the appointment of John       0.40
                 Ray as the Debtors' Principal Officer.
12/15/09     LEM Several calls Capstone, with fmancial advisor, and Law Debenture         1.00
                 regarding retention of critical management personnel to close the
                 various auction.
12/15/09     MNK Review Amended Agenda for upcoming hearing.                             0.10
12/15/09     MNK Review Committee meeting minutes for December 1Oth meeting              0.10
                 circulated by Committee counsel.
12/15/09     MNK Review docwnents filed and served in the bankruptcy cases.              0.30
12/16/09     LEM Attend call regarding tax and Canadian issues; Review Capstone          2.00
                 materials on compensation issues.
12/16/09     MNK Review correspondence from F. Hodara regarding swnmary of deals         0.10
                 with Monitor and IRS.
12/16/09     MNK Participate in Committee conference call to discuss Canada funding      1.10
                 and IRS claim deals.
12/17/09     LEM Participate in UCC call and review Capstone compensation materials.     2.50
12/17/09     MNK Review additional documents relating to sale of Enterprise Solutions    0.30
                 business unit filed and served in the bankruptcy cases.
12/17/09     MNK Participate on Committee call.                                          1.40
12/18/09     MNK Review Committee materials circulated in support of the December        0.40
                 17th call.
12/18/09     MNK Review article and opinion on mandatory Rule 2019 disclosures           0.40
                 forwarded by Committee counsel.
12/19/09     MNK Review Nortel17-Week Cash Forecasts and Update prepared and             0.40
                 forwarded by Capstone.
12/20/09     MNK Review correspondence from Committee counsel regarding closing          0.10
                 of Enterprise sale.
12/21109     MNK Review documents filed and served in the bankruptcy cases.              0.30
12/21109     MNK Review Twenty Second and twenty Third Reports of Canadian               0.90
                 Monitor to determine status of Canadian proceedings.
12/22/09     LEM Attend UCC weekly call; Review UCC materials.                           2.00
12/22/09     MNK Review Twenty Fourtlt Report of Canadian Monitor to determine           0.70
                 status of proceedings.
12/22/09     MNK Review Twenty Fifth Report of Canadian Monitor to determine             0.60
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   Date       Tkpr                            Descdption                              Hours
                  status of proceedings.
12/22/09     MNK Review Twenty Sixth Report of Canadian Monitor to determine            0.60
                  status of proceedings.
12/22/09     MNK Review materials circulated by Committee professionals regarding       0.70
                  CVAS deal.
12/22/09     MNK Attend and participate in Committee meeting (with Debtors              1.70
                  management) to discuss CVAS and LG Nortel deals.
12/22/09     MNK Review documents filed and served in the bankruptcy cases.             0.10
12/23/09     MNK Review Twenty Seventh through Twenty Ninth Reports of Canadian         1.80
                 Monitor to determine status of proceedings.
12/23/09     MNK Review announcement and attachment from Committee counsel              0.10
                 regarding CVAS sale.
12/24/09     MNK Review motion seeking approval for assumption of additional            0.30
                 contracts for Enterprise sale.
12/24/09     MNK Review miscellaneous documents filed and served in the bankruptcy      0.10
                 cases.
12/24/09     MNK Review CVAS sale papers filed and served in the bankruptcy cases.      0.80
12/24/09     MNK Review Thirtieth and Thirty First Reports of Monitor to determine      1.40
                 status of Canadian proceedings.
12/26/09     MNK Review Jabel Circuits proposed agreement forwarded by Committee        0.30
                 counsel along with recommendation.
12/28/09     MNK Review miscellaneous documents filed and served in the bankruptcy      0.30
                 cases.
12/28/09     MNK Review   Stipulation and motion papers regarding resolution of IRS     1.40
                 Claim and the Advance Pricing Agreement between the US and
                 Canadian estates.
12/28/09     MNK Review First Omnibus Claims Objection.                                0.30
12/28/09     MNK Review Second Omnibus Objection to claims.                            0.20
12/29/09     MNK Review Third Omnibus Objection to Claims.                             0.30
12/29/09     MNK Review Thirty Second and Thirty Third Reports of Canadian Monitor     1.30
                 to determine status of proceedings.
12/29/09     MNK Communicate with Committee counsel regarding claims objections        0.10
                 in the US and Canadian proceedings.
12/29/09     MNK Review motion and settlement documents regarding Canadian             1.40
                 funding.
12/29/09     MNK Review correspondence from Committee counsel regarding status of      0.10
                 upcoming matters in the bankruptcy cases.
01/02/10     MNK Review motion and supporting materials for sale of Debtors' CVAS      1.70
                 business.
01/04/10     MNK Review Agenda of matters for upcoming hearing.                        0.20
01/04/10     MNK Review documents filed and served in the bankruptcy cases.            0.30
01/05/10     LEM Review Notice ofMotion of Settlement stipulation between Nortel       4.75
                 and I.R.S.; Notice ofMotion of Canadian Funding and Settlement
                 Agreement.
01/05/10     MNK Review revised Notice of Agenda for upcoming hearing.                 0.10
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   Date      Tkpr                               Description                             Hours
01106/10     LEM Attend emergency conference call on CVAS; Conference with R.             1.25
                   Bice.
01106/10     MNK Conference with L. Miller regarding status and strategy in the           0.20
                   bankruptcy cases.
Ol/06/10     MNK Participate in Committee conference regarding CVAS transaction.          0.50
Ol/06/10     MNK Review amended agendas of matters scheduled for hearing today.           0.20
01106110     MNK Prepare summary for L. Miller regarding Nortel claims process and        0.30
                   progress.
01107/10     LEM Attend weekly UCC call; Conference with M. Khambati; Conference          1.75
                   with R. Bice.
01107/10     MNK Communicate with L. Miller and R. Bice regarding Nortel Bond             0.10
                   trading.
01107110     MNK Participate in weekly Committee conference call.                         1.20
01107/10     MNK Prepare and send Norte} status report to R. Reale.                       0.20
01108/10     LEM Review Retention Letters and draft Notice to Holders; Analyze M.         0.75
                  Khambati recommendation regarding POC.
01/08110     MNK Draft engagement letter for Dewey & LeBoeuf.                             0.70
01108/10     MNK Review and revise bondholder notice and send to L. Miller for            0.20
                  review.
01109/10     MNK Review OEP/Genband sale papers regarding CVAS business filed             0.50
                  and served in the bankruptcy cases.
01109/10     MNK Review Committee objection to CVAS bidding procedures, including        0.40
                  the OEP reimbursement request and Genband break up fee request.
01/09/10     MNK Review Order and attachments authorizing CVAS sale procedures.          0.80
01110/10     MNK Review and analyze Committee materials prepared for call on             1.10
                  January 7th, 2010 and communicate with L. Miller regarding claims
                  reconciliation process and cross-border issues.
01111/10     MNK Review multiple orders pertaining to Enterprise Solutions business      0.40
                  unit sale.
01113/10     MNK Review Order approving appointment of J. Ray as Debtors' principal      0.10
                  officer.
01113/10     MNK Review Order approving CDMAILTE China Side Agreement.                   0.10
01114/10     LEM Review UCC materials for today's call; Participate in UCC call.         2.25
01114/10     MNK Review US and Canadian tax attributes presentation circulated by the    0.30
                  Committee.
01/14/10     MNK Participate on weekly Committee call.                                   1.20
01116/10     MNK Review miscellaneous documents filed and served in the bankruptcy       0.10
                  cases.
01/16/10     MNK Review Debtors' motion seeking extension of exclusivity period and      0.40
                  proposed form of order.
01119110     LEM Conference with M. Khambati regarding proceeds allocation between       1.25
                  US and Canadian entities and various scenarios for payment to Law
                  Debenture Bonds.
01119/10     MNK Conference with L. Miller regarding Norte} claims projections and       0.40
                  communicate with F. Hodara regarding same.
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    Date     Tkp1·                                Descl'iption                         Hom·s
01/19/10     MNK Review Agenda of matters for upcoming hearing.                          0.10
01/20/10     LEM Review Cross Border protocol draft agreement; Review Agenda.            1.50
01/20/10     MNK Review Notice of proposed Order for Debtors to waive section 345        0.40
                    requirements with respect to cash collateral.
01/20/10     MNK Review Notice by Debtors regarding contracts concerning MEN sale.       0.10
01/20/10     MNK Review and respond to correspondence from F. Hodara regarding           0.10
                    cross-border claims protocol.
01/21/10     LEM Participate in UCC call and review attachments, and Cross Border        2.00
                    protocol draft; Conference with M. Dantas and L. Rosenbloom.
01/21110     MNK Participate on weekly Committee call.                                   1.70
01/21/10     MNK Review Reply of Debtors to EMEA Debtors' objections to Canadian         0.30
                    Funding Agreement.
01/21/10     MNK Review correspondence from Committee counsel regarding agenda           0.10
                    items.
01121/10     MNK Review Debtors' motion to assign NNI debt to Valenio Holdings Ltd.      0.40
01121/10     MNK Review various motions, notices and agreements regarding Advance        0.50
                   Pricing Agreement with the IRS.
01/21/10     MNK Review Amended Agenda for upcoming hearing in the bankruptcy            0.10
                   cases.
01/21/10     MNK Review Committee's motion to expand scope of services offered by       0.60
                   Jefferies & Company.
01/22/10     MNK Communicate with R. Bice regarding proceeds allocation discussions     0.10
                   with Committee cowtsel.
01/23/10     MNK Review Committee materials prepared and forwarded for January           1.60
                   21st weekly Committee call.
01125/10     LEM Review Capstone Proceeds Allocation presentations of 1/7/10 and        2.00
                   1/21/10.
01/25110     MNK Review and respond to correspondence from L. Miller, R. Bice and J.    0.10
                   Borow regarding Nortel cash proceeds allocation issues.
01/26/10     LEM Conference call with Capstone, Law Debenture, L. Rosenbloom and        2.25
                   M. Khambati to discuss proceeds allocation; Subsequent call with
                   Law Debenture and M. Khambati to discuss Law Debenture's bond
                   holder specific claims.
01/26/10     MNK Review proceeds allocation matrix prepared by Committee                1.30
                   professionals and participate in conference with Committee
                   professionals and Working Group regarding same.
01/26/10     MNK Conference with L. Miller and R. Bice regarding proceeds allocation    0.50
                   and other issues in Nortel.
01/27/10     LEM Review proposed allocation issue.                                      1.50
01/27/10     MNK Review various claims and sale orders entered and served in the        0.40
                   bankruptcy cases.
01/28/10     LEM Attend Nortel Committee Call; Telephone conference with M.             1.25
                   Khambati.
01/28/10     MNK Review Committee materials and participate on weekly Committee         1.40
                   call regardingstatus.
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01129/10     LEM Review several Capstone presentations on allocation of proceeds.         2.00
01129/10     MNK Review Committee materials sent in furtherance of weekly call this       0.50
                   week.
02/01/10     MNK Review Agenda for upcoming February 3rd hearing.                         0.10
02/01/10     MNK Review Debtors' Fourth Omnibus Objection to Claims.                      0.70
02/01/10     MNK Review Order approving Canadian Funding and Settlement                   0.10
                   Agreement.
02/01/10     MNK Review Debtors' Notice regarding assignment of contracts                 0.10
                  concerning Enterprise sale.
02/01/10     MNK Review Supplemental Declaration from J. Bromley regarding Cleary         0.10
                  Gottlieb retention.
02/03/10     MNK Review Debtors' Fifth Omnibus Objection to Claims.                       0.40
02/03/10     MNK Review amended agenda of matters for upcoming hearing.                   0.10
02/04/10     LEM Review materials and participate in weekly UCC conference call;          1.50
                  Telephone conference with M. Khambati.
02/04/10     MNK Participate in weekly Committee call regarding various status issues     1.50
                  and concerns in the bankruptcy cases.
02/04/10     MNK Review Debtors Sixth Omnibus Objections to Claims.                       0.40
02/04/10     MNK Review Debtors' Seventh Omnibus OQjection to Claims.                     0.30
02/05/10     MNK Review and analyze Committee materials forwarded for weekly call.        0.90
02/08/10     LEM Review/revise proposed Notice; Review allocation of proceeds             2.25
                  issues.
02/08/10     MNK Work on draft Norte1 notice to holders.                                  0.90
02/09/10     MNK Continue working on Nortel notice to holders and communicate with        1.20
                  Working Group regarding same.
02/11/10     LEM Review UCC materials reports from Capstone and participate in           2.00
                  conference call.
02/11/10     MNK Participate on weekly Committee call.                                   0.80
02/12/10     LEM Revise Notice to Holders.                                               0.75
02/12/10     MAD Review and revise notice; Review Indenture.                             1.75
02/12/10     MNK Review committee recommendation on ATC settlement.                      0.20
02112110     MNK Review motion and settlement agreement to settle A TC/Peacock           0.40
                  dispute.
02/13/10     MNK Review Committee materials prepared and circulated for February         0.90
                  11th call.
02/16/10     LEM Review/revise Notice to Holders; Conference with M. Kbambati.           1.25
02/16110     MNK Conference and communicate with L. Miller regarding notice to           0.10
                  holders.
02/16/10     MNK Review and revise draft notice to holders and provide comments to L.    0.30
                  Miller for review and consideration.
02/16/10     MNK Review correspondence and attachment from F. Hodara and multiple        0.20
                  committee members regarding UK pension dispute issues.
02/17/10     LEM Review/discuss Nortel and ongoing allocation issues with R. Bice        1.50
                  and M. Khambati.
02/17/10     MNK Review and respond to correspondence regarding Norte! notice to         0.10
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    Date     Tkpr                               Description                             Hours
                  holders.
02/17/10     MNK Review additional MEN sale notices filed and served in the               0.20
                  bankruptcy cases.
02/17/10     MNK Review Debtors' Thirty-Eight Omnibus claims objections concerning        0.50
                  claims against Millennium US OP Co, LLC.
02/17/10     MNK Review frnalized notice to holders circulated by L. Miller to the        0.20
                  client
02/17/10     MNK Review Order regarding Nortel Special Incentive Plan filed and           0.10
                  served in the bankruptcy case.
02/17/10     MNK Review Application to amend Lazard's compensation terms filed and       0.90
                 served in the bankruptcy cases.
02/17/10     MNK Review miscellaneous sale and other documents filed and served in       0.30
                 the bankruptcy cases.
02/17/10     MNK Review Order Approving Debtors' assignment of outstanding               0.10
                 indebtedness owed to NNI by RIDC.
02/17/10     MNK Review Debtors' motion to add additional sellers to MEN Sale            0.40
                 Agreement.
02/17/10     MNK Review Motion to assume and assign additional agreements per the        0.30
                 Enterprise sale.
02/17/10     MNK Review Debtors' motion papers regarding Jabil settlement.               0.40
02/17/10     MNK Review Debtors' motion seeking approval of modified incentive and       0.90
                 retention plans.
02/18/10     LEM Prepare for and participate in UCC call; Consider UK pension issues;    1.75
                 Conference with R. Bice.
02/18/10     MNK Participate on weekly Committee call to discuss various open status     1.00
                 issues.
02/18/10     MNK Communicate with L. Miller regarding Nortel notice to holders.          0.10
02/19/10     LEM Review recent minutes ofUCC meeting/comment.                            1.00
02/19/10     MNK Review Committee minutes for February 18th call.                        0.10
02/21110     MNK Review February 18th call notes circulated by Committee                 0.80
                    professiona~s.
02/21/10    MNK Review draft Nortel cross-border protocol on claims.                     0.40
02/22/10    LEM Review UK/Canadian tax issue revise review pleadings and                 1.75
                documents.
02/22110    MNK Review US and Canadian UK pension claims response papers filed           3.80
                and served in the bankruptcy cases.
02/23/10    MNK Continue reviewing papers filed by the US and Canadian Debtors in        2.20
                support of enforcing the stay on UK pension enforcement issues.
02/23/10    MNK Review correspondence and attachment from R. Bice regarding UK           0.10
                Pension dispute.
02/23/10    MNK Conference with L. Miller regarding potential distributions and UK       0.20
                pension dispute issues.
02/24/10    LEM Review pension issues and documents.                                     2.25
02/24110    MNK Review papers filed in US and Canadian proceedings in support of         3.00
                staying UK Regulator's actions on large pension deficit claims.
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   Date      Tkpt·                               Description                           Hours
02/25/10     LEM Participate in UCC conference call; Review UK, US and Canadian          225
                    pension issues.
02/25/10     MNK Review materials filed in US and UK proceedings regarding UK            2.30
                    Pension Regulator activities and correspondence from the UK
                   Pension Regulator regarding same.
02/25/10     MNK Participate in weekly Committee cali and communicate with working       1.50
                   group regarding same.
02/25/10     MNK Review Amended Agenda of matters for today's hearing.                   0.10
02/26/10     LEM Review ~ US and Canadian pension issues; Conference with R.             2.25
                   Bice.
02/26/10     MNK Review multiple correspondence and attachment from F. Hodara            0.10
                   regarding US Bankruptcy Court ruling on UK Pension stay-
                   enforcement issue.
02/26/10     MNK Review additional Affidavits and Declarations in support of             1.40
                   proceedings in US and Canada regarding UK Pension dispute.
03/01/10     MNK Review Agenda for March 3rd hearing.                                   0.10
03/01110     MNK Review Debtors' Application to retain Linklaters to provide UK         0.50
                   Pension law advice.
03/01/10     MNK Review executory contract rejection notice.                            0.10
03/01110     MNK Review withdrawal of claims objection regarding IRS claim.             0.10
03/02/10     MNK Review motion papers regarding approval of MEN Side Agreement.         2.10
03/02/10     MNK Review Notice and papers regarding implementation of Carrier and       020
                   MEN sale.
03/02/10     MNK Review miscellaneous d~cuments filed and served in the bankruptcy      0.10
                   cases.
03/02/10     MNK Review Amended and Second Amended Agendas for upcoming                 020
                   hearing in bankruptcy cases.
03/02/10     MNK Review February 25th Committee meeting minutes forwarded by            0.10
                   Committee counsel.
03/03/10     MNK Review Third Amended Agenda for upcoming hearings.                     0.10
03/03/10     MNK Review Committee materials in advance of upcoming call.                0.90
03/04/10     MNK Participate on Committee call regarding various status and strategy    1.80
                   issues.
03/05/10     MNK Review update from Committee counsel regarding Canadian hearing        0.10
                   on employee pension issues.
03/05/10     MNK Review Committee summary on retention of Linklaters as UK              0.20
                   Pension counsel for the Debtors.
03/05/10     MNK Review Committee correspondence regarding UK Pension Regulator         0.10
                   appeal.
03/05/10     MNK Review correspondence from Committee counsel regarding status of       0.10
                   MEN Sale closing.
03/06/10     MNK Review Committee's reservation of rights regarding MEN sale.           0.10
03/06/10     MNK Review Order approving expanded scope of services for Jefferies &      0.10
                   Co.
03/08/10     MNK Review correspondence from Committee counsel regarding Ciena           0.10
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   Date      Tkpr                               Desniption                             Hours
                  replacement of convertible note.
03/09/10     MNK Review updates from Committee counsel regarding Court rulings in         0.20
                  the US and Canada on the pending employee benefits issues.
03/09/10     MNK Review correspondence from Committee counsel regarding UK                0.10
                  Pension Trustee appeal issues.
03/11110     MNK Review Committee meeting minutes for March 4, 2010.                      0.10
03111110     MNK Review and respond to correspondence from K. Davis regarding IP          0.10
                  overview.
03/11110     MNK Participate on weekly Nortel Committee call.                            1.20
03/11110     MNK Conference and communicate with M. Dantas regarding status and          0.30
                  issues concerning Millennium ballots and Settlement Order.
03/11110     MNK Review materials circulated by the Committee in furtherance of           1.10
                  upcoming call.
03/12/10     LEM Review a number of documents/memorandums relating to allocation        5.25
                 of proceeds, UK pension issues and related fmancial issues;
                 Telephone conference with R. Bice.
03/13/10     MNK Review Omnib-uS Hearing Order.                                         0.10
03/13/10     MNK Review Debtors' Motion seeking extension oftime to file Rule           0.30
                 2015.3 Reports of Financial Information.
03/14/10     MNK Review UK Pension Trustee's papers for direct and expedited appeal     0.70
                 to the Third Circuit on stay ruling.
03/15/10     LEM Review !OK ofNortel.                                                   1.75
03/15/10     MNK Review Debtors' Opposition to motion of UK Pension Trustee for         0.70
                 immediate and expedited appeal on stay ruling to the Third Circuit.
03/15110     MNK Review multiple orders entered by the Bankruptcy Court governing       1.20
                 UK Pension, asset sales, claims objections, and stipulation issues.
03/15/10     MNK Communicate with Committee counsel and client regarding                0.10
                 upcoming IP assets meeting.
03115/10     MNK Review Notice of Agenda for upcoming March hearing.                    0.10
03/16/10     LEM Review committee minutes; Several e-mails on MEN sale.                 1.00
03/16/10     MNK Review and respond to correspondence from K. Davis regarding           0.10
                 upcoming IP meeting.
03/16/10     MNK Review Debtors' Application to retain Chilmark Partners regarding      0.80
                 allocation issues.
03/16/10     MNK Review Order approving Stipulation with the PBGC regardingsales.       0.30
03/16/10     MNK Review miscellaneous documents filed and served in the bankruptcy      0.10
                 cases.
03116110     MNK Review Committee's joinder to Debtors' Opposition to UK Pension        0.10
                 Trustee's papers seeking to expedite appeal to Third Circuit on
                 bankruptcy court's stay decision.
03/16/10     MNK Review Debtors' Application regarding amendment of terms of            0.30
                 retention for Palisades Capital Advisors (pension issues).
03/16/10     MNK Review   Debtors' Motion seeking approval of Cascading Directors'      1.30
                 Trust
03/17/10     LEM Review Committee materials; Conference with M. Khambati;               1.75
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    Date      Tkpt·                             Descdption                             Hours
                  Telephone conference with L. Rosenbloom.
03/17/10     MNK Review summary from B. Kahn regarding revising terms of pension         0.10
                  advisors to the Debtors.
03/17/10     MNK Review Agenda for matters scheduled at upcoming hearing.                0.20
03/17/10     MNK Review Amended Agenda of matters scheduled for hearing today in         0.10
                  the bankruptcy cases.
03/17/10     MNK Review multiple correspondence from Committee counsel regarding         0.10
                  status of Ciena closing.
03/18/10     LEM Attend Committee call; Review materials.                                2.00
03/18110     MNK Review Committee minutes from March 11th meeting.                       0.10
03/18/10     MNK Participate in weekly Committee call.                                   1.70
03/19/10     LEM Review MEN Sale e-mails.                                                0.75
03/19/10     MNK Review correspondence from Committee counsel regarding closing          0.10
                  of MEN transaction.
03/19/10     MNK Review additional papers filed and served by the Debtors in support     0.30
                  of sale of Enterprise Solutions business.
03/19/10     MNK Review Bankruptcy Court Order and Committee correspondence              0.20
                 denying UK Pension Trustee's attempt to certify appeal on UK
                 pension issues to the Third Circuit.
03/19/10     MNK Review Committee request for approval of side letter agreement          0.20
                 addressing allocation issues and communicate with M. Smith
                 regarding same.
03/19/10     MNK Review correspondence from Committee counsel regarding Debtors'         0.10
                 requirements to file updated fmancial reports per Bankruptcy Rule
                 2013.
03/22/10     LEM Review various UCC documents.                                           1.25
03/22110     MNK Review UK Pension Trustee's statement of issues on appeal.              0.10
03/22/10     MNK Review Fourth Omnibus Fee Order.                                        0.10
03/22/10     MNK Review and analyze MEN Distribution Escrow Agreement filed and          0.40
                 served in the bankruptcy cases.
03/22/10     MNK Review Committee meeting minutes from March 18th meeting.               0.10
03/22/10     MNK Review Supplemental Application regarding Debtors' Retention of         0.50
                 Global IP Law Group regarding assessment and options with respect
                 to Debtors' IP portfolio.
03/22/10     MNK Review Order vacating, in part, Fourth Omnibus Objections to fees.     0.10
03/22/10     MNK Review Amended Notice and Fourth Omnibus Claims objections             0.30
                 filed and served in the bankruptcy cases.
03/22/10     MNK Review documents filed and served in the bankruptcy cases.             0.30
03/23/10     MNK Review summary of Global IP retention for processing IP portfolio      0.10
                 sent by Committee counsel.
03/25/10     LEM Attend UCC conference call and review related materials.               2.50
03/25/10     MNK Review Committee materials in advance of Committee call.               0.50
03/25/10     MNK Participate in Committee call.                                         0.80
03/26/10     LEM Review committee documents.                                            1.50
03/26/10     MNK Review Debtors' Motion to engage Grant Thornton as neutral TSA         0.40
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   Date       Tkpr                            Description                             Hom·s
                 Arbitrator over MEN sale.
03/26/10     MNK Conference with Nortel bondholder regarding claims determination       0.20
                  process.
03/26/10     MNK Review UK Pension Trustee's emergency motion (to the District          1.90
                 Court) seeking a stay pending appeal from Bankruptcy Court Order
                 enforcing the automatic stay.
03/27/10     MNK Review executory contracts motion filed and served in the              0.10
                 bankruptcy cases.
03/27/10     MNK Review correspondence from F. Hodara regarding Canadian Court          0.10
                 ruling on employee/pension settlement issues.
03/29/10     MNK Review amended application for Order retaining Chillmark Partners.     0.40
03/29/10     MNK Review Agenda for matters scheduled for hearing on March 3 l st.       0.10
03/29/10     MNK Review correspondence from Committee counsel regarding GSM             0.10
                 escrow.
03/30/10     MNK Review Debtors' motion regarding MEN Argentina Side Offer.             0.50
03/31/10     LEM Review Committee documents in preparation for UCC call.                1.25
03/31/10     MNK Review Second Amended Agenda of matters scheduled for upcoming         0.10
                 hearing.
03/31/10     MNK Review Debtors' Motion papers seeking to detennine and defer tax      0.50
                 liabilities for all US entities.
03/31/10     MNK Review correspondence from Committee counsel regarding closing        0.10
                 of GSM transaction.
03/31/10     MNK Review Committee materials for upcoming Committee call.               1.40
04/01/10     LEM Review UCC documents and participate in weekly call.                  2.25
04/01/10     MNK Continue reviewing Committee materials in advance of weekly           1.70
                 Committee call.
04/01110     MNK Participate in weekly Committee call.                                 1.30
04/02/10     MNK Review correspondence and summaries sent by B. Kohn regarding         0.40
                 pending matters in the bankruptcy cases.
04/03/10     LEM Prepare for Nortel conference meeting.                                2.75
04/05/10     LEM Committee meeting at Akin to discuss possible NorteliP Company        5.25
                 and related fmancing issues. Review IP Company materials.
04/05/10     MNK Participate  on Committee call and meeting regarding prospects,       3.50
                 issues and ideas regarding IP assets.
04/06/10     LEM Review/Analyze Nortel IP Corporation infonnation.                     2.50
04/06/10     MNK Review documents filed and served in the bankruptcy cases.            0.30
04/07110     MNK Review amended IP Global retention and other miscellaneous            0.30
                 documents filed and served in the bankruptcy cases.
04/07110     MNK Review Order approving PBGC Stipulation and the PBGC                  0.20
                 Stipulation regarding allocation of proceeds from GSM sale.
04/08/10     MNK Participate on weekly Committee conference call.                      1.80
04/08/10     MNK Review materials forwarded by Committee counsel regarding             1.50
                 upcoming call.
04/09/10     MNK Review documents filed and served in the bankruptcy cases.            0.20
04/09/10     MNK Review supplemental materials filed by UK Pension Trustee in          1.80
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   Date       Tkpr                              Description                             Hotn·s
                  support of motion and Reply seeking to expedite appeal and for a
                  stay and Committee joinder to Debtors' Response.
04112110     LEM Conference with R. Bice regarding allocation issues; Review              3.50
                  materials from UCC; Analyze Allocation issues.
04112/10     MNK Review agenda foi upcoming hearing.                                      0.10
04/13/10     LEM Review G. Riedel Retention; Telephone conference with R. Bice;           3.50
                  Analyze proceeds Allocation issues.
04/13110     MNK Review correspondence from J. Borrow regarding updates on G.             0.10
                  Reidel retention.
04/13/10     MNK Review amended agenda for upcoming hearing.                              0.10
04114/10     LEM Review Allocation materials and conference with R. Bice.                 1.50
04115/10     LEM Review Committee materials; Participate in UCC weekly call; Focus        3.75
                  on Allocation issues, IP issues, UK pension matters and US tax
                  Issues.
04/15/10     MNK Participate on weekly Committee conference.                              1.40
04/16/10     LEM Review allocation and related issues.                                    1.25
04116/10     MNK Review documents filed and served in the bankruptcy cases.               0.20
04116/10     MNK Review correspondence from B. Kahn regarding retention issues in         0.10
                 the bankruptcy cases.
04/19/10     LEM Review allocation and UK pension appeal issues.                          2.25
04119/10     MNK Review G. Reidel employment motion filed and served by the               0.30
                 Debtors.
04/21110     LEM Review issues for UCC call, particularly allocation matters.            2.75
04/21110     MNK Review correspondence from T. Fuerstein regarding sale of estates'      0.10
                 majority interests in LG Nortel.
04/22/10     LEM Attend weekly UCC call; Analyze allocation presentation;                3.75
                 Conference with R. Bice regarding allocation issues.
04/22110     MNK Participate on weekly-scheduled Committee call.                         1.60
04/22/10     MNK Review G. Reidel employment terms memo prepared and circulated          0.20
                 by Committee counsel.
04/23/10     MNK Conference and communicate with representative from Barclays            0.30
                 regarding Nortel bonds.
04/24110     MNK Review motion regarding termination of leases relating to Enterprise    0.20
                 Solutions sale.
04/26110     LEM Consider IP Company issues; Conference with F. Hodara of Akin           1.75
                 Gump; Conference with R. Bice regarding IP Company issues.
04/26/10     MNK Review Order granting Debtors' Fourth Omnibus Objection to              0.10
                 Claims.
04/26/10     MNK Review Order approving payment of COMA minority transaction fee         0.10
                 to Lazard.
04/26/10     MNK Review miscellaneous MEN sale Orders entered by the Bankruptcy          0.20
                 Court.
04/27110     MNK Review Agenda of matters scheduled for hearing on April 29th.           0.10
04/28/10     LEM Review material relating to IPCo and other material for tomorrow's      2.75
                 UCC call.
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   Date       Tkpr                            Description                              Hours
04/28/10     MNK Review Order and materials regarding retention of Chillmark             0.30
                  Partners.
04/28/10     MNK Review Orders entered by the Court regarding Cascading Trust            0.10
                  Indenture.
04/29/10     LEM Attend UCC weekly conference call; Analyze the IPCo sale revenue        2.50
                  retention issues.
04/29/10     MNK Participate on weekly Committee call.                                   1.00
04/30/10     LEM Review e-mails and analyze IP Company and Allocation issues.            1.75
05/01110     MNK Review 201 0 Consolidated US and Canadian budget submitted by           0.30
                  Committee professionals.
05/01110     MNK Review updated Nortel headcount analysis submitted by Committee         0.20
                  professionals.
05/01110     MNK Review Nortel business units AlP targets summary presentation           0.20
                  prepared and circulated by Committee professionals.
05/01110     MNK Review proceeds allocation update sent by Committee counsel.            0.40
05/03/10     MNK Review Agenda for upcoming May 5th hearing.                             0.10
05/04/10     LEM Address/Review allocation issues.                                       1.25
05/04/10     MNK Review Committee recommendation regarding ACS motion seeking            0.10
                  allowance and payment of administrative claim.
05/05/10     MNK -Review Capstone billing and collections presentation.                  0.40
05/05/10     MNK Review Nortel tax process update prepared by Capstone.                  0.30
05/05/10     MNK Review Nortel updated cash forecast submitted as part of Committee      0.50
                  materials for May 6th call.
05/06110     LEM Review proceeds allocation and IP issues; Participate in UCC weekly     4.50
                  call; Analyze proceeds proposed allocation/settlement issues.
05/06/10     MNK Review M&A Process update prepared and submitted by Jefferies.          0.40
05/06/10     MNK Participate on weekly Committee call.                                   1.20
05/06/10     MNK Review Debtors' motion papers regarding IP License Agreement and        0.40
                  TSA in sale ofNext Gen business.
05/06/10     MNK Review Order authorizing the Reidel employment agreement and           0.10
                  KElP payments to him.
05/06/10     MNK Conference with B. Kohn regarding Norte! allocation and claims         0.40
                  issues.
05/07/10     LEM Review allocation and IP issues; Conference with R. Bice; Telephone    2.50
                  conference with M. Khambati
05/07/10     MNK Review summary ofiP sale process sent by Committee counsel.            0.70
05/10/10     MNK Review documents filed and served in the bankruptcy cases.             0.10
05/11110     LEM Conferences with M. Khambati and R. Bice; Address allocation           2.00
                  issues among US. Canada and UK.
05/11110     MNK Conference with L. Miller regarding Nortel allocation issues.          0.10
05/12/10     LEM Review proceeds allocation issues.                                     2.50
05/12/10     MNK Review summary of contacted parties regarding IP transaction sent      0.10
                  by Committee counsel.
05/12/10     MNK Review fmal executive summary for Prqject Iceberg sent by              0.40
                  Committee counsel.
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   Date      Tkpr                                Description                          Hom·s
05/12/10     MNK Review M&A process update sent by Committee counsel in advance         0.20
                  of upcoming call.
05/12110     MNK Review summary of Pluto bid terms sent by Committee counsel in         0.40
                  advance of upcoming call.
05/13/10     LEM Participate in weekly call UCC; Review IP and allocation issues;       2.25
                  Telephone conference with R. Bice.
05/13/10     MNK Participate in weekly Committee conference call.                       1.10
05114/10     MNK Review Debtors' Motion papers to approve GSM Side Agreement.           1.30
05114110     MNK Review Debtors' Motion papers to approve CVAS Side Agreement           1.10
                  (concerning proceeds).
05/17/10     LEM Meeting with R. Bice and M. Khambati regarding allocation of           1.25
                  proceeds and related issues.
05/17/10     MNK Multiple conferences with L. Miller, M. Dantas and R. Bice             0.30
                  regarding Nortel issues.
05/17/10     MNK Review Notice of Agenda for upcoming hearing in Nortel bankruptcy      0.10
                  case.
05/18/10     MAD Review materials and meeting distributions.                            1.75
05119110     LEM Review materials for tomorrow's call; Analyze proceeds allocation      3.50
                  and related issues.
05/19/10     MNK Review several amended agendas of matters scheduled for upcoming       0.20
                  hearing.
05/20110     LEM Analyze allocation issues and claims; Review materials and             5.75
                  participate·in conference call; Telephone call with M. Khambati.
05/20/10     MNK Review Notice of Rescheduled hearing in Nortel case.                  0.10
05/20/10     MNK Participate in weekly Committee call.                                 0.90
05/20110     MNK Review notice of matters scheduled for upcoming hearing.              0.10
05/21/10     LEM Review proceeds/allocation/claims issues.                             4.50
05/21110     MNK Review agenda for upcoming hearing.                                   0.10
05/25/10     LEM Review issues for conference with R. Bice.                            1.50
05/26/10     MAD Review e-mails and pleadings regarding sale ofiP assets.              0.75
05/26/10     MNK Work on issues memo to client.                                        0.40
05/26110     MNK Review miscellaneous .documents filed and served in the bankruptcy    0.30
                  cases.
05/26110     MNK Review Debtors' motion to sell GSM business.                          0.60
05/26/10     MNK Review Debtors' Rule 2004 papers against Verizon.                     0.40
05/26/10     MNK Review Debtors' stay motion against Verizon.                          0.40
05/27/10     LEM Conference call; Review materials; Conference with M. Khambati;       3.50
                  Conference with R. Bice regarding Intercompany Credit and IP
                  process.
05/27/10     MNK Participate in weekly Committee call regarding open issues.           1.30
05/27110     MNK Review Debtors' Eight Omnibus Objection to Claims.                    0.30
05/27/10     MNK Review Debtors' Ninth Omnibus Objection to Claims.                    0.30
05/27/10     MNK Review miscellaneous documents filed and served in the bankruptcy     0.10
                  cases.
05/27110     MNK Review Order approving GSM Side Agreement.                            0.10
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   Date       Tkpr                            Description                              Hours
05/27/10      MNKReview Order Approving CVAS Side Agreement.                             0.30
05/27/10      MNKReview Order Approving GSM Sale.                                        0.40
05/27/10      MNKReview Order relating to Next Gen Packet sale.                          0.10
05/28/10      LEMReview CVAS memo and Richardson sale memorandum; Review                 4.25
                 allocation and intercompany claim issues.
06/01/10     LEM Review documents; Conference with R. Bice.                              1.00
06/01110     MNK Review correspondence and article from Committee counsel                0.10
                 regarding closing of CVAS sale.
06/02/10     LEM Calls and e-mails on Project Iceberg Review documents/reports for       2.25
                 Committee call.
06/02/10     MNK Review correspondence from S. Kuhn regarding Richardson sale.           0.10
06/02/10     MNK Review correspondence and term sheet from Committee COWlsel             0.50
                 regarding sale/lease back of Richardson facility.
06/03/10     LEM Review distributed materials, participate in conference call;           2.50
                 Telephone conference with R. Bice.
06/04/10     LEM Review Project Iceberg issues, several e-mails; Several phone calls     2.75
                 with D&L partners.
06/07/10     MNK Review Notice of Agenda for upcoming hearing.                           0.10
06/08/10     LEM Review Project Iceberg issues; Review allocation and claim issues;      3.25
                 Telephone conference with M. Khambati.
06/08/10     MNK Conference and communicate with L. Miller and J. Ray regarding          0.10
                 Law Debenture claims.
06/08/10     MNK Conference with institutional bondholder (DB) regarding status in       0.20
                 bankruptcy cases.
06/08/10     MNK Review Notice of Agenda of upcoming hearing in the bankruptcy           0.10
                 cases.
06/09/10     LEM Discuss Project Iceberg company issues with M. Dantas and R. Bice;      2.00
                 Review documents/reports for conference call.
06/09/10     MNK Review Order approving PBGC claims stipulation regardingCVAS            0.30
                 asset sale.
06/09/10     MNK Review documents filed and served in the bankruptcy cases.              0.10
06/09/10     MNK Review claims update prepared and circulated by Committee               0.40
                 professionals.
06/09110     MNK Review updated Norte] US Debtors Intercompany Claims Summary            0.40
                 prepared and circulated by Committee professionals.
06/09/10     MNK Review Preliminary IP Co cash forecast and valuation ranges             1.40
                 circulated by Committee professionals.
06/09/10     MNK Review M&A Process update circulated by Committee professionals.       0.30
06/10/10     LEM Conference call with Committee; Review several committee               2.50
                 documents; Conference with R. Bice.
06/10/10     MNK Participate in weekly Committee ca11.                                  1.30
06/11/10     LEM Review documents and allocation and multiple Proofs of Claim           3.00
                 process.
06/14/10     LEM Review allocation and cross boarder Proofs of Claim issues;             1.50
                 Telephone conference with M. Khambati.
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   Date      Tkpr                               Description                          Hours
06/15/10     LEM Review issues; Conference with R. Bice; Telephone conference with     2.50
                   M. Khambati.
06/15/10     MNK Review Notice of rescheduled hearing.                                  0.10
06/15/10     MNK Review declaration in support of Grant Thornton engagement as          0.10
                  neutral TSA arbitrator in MEN sale.
06/15/10     MNK Review Canadian Monitor's motion and various attachments seeking       2.30
                  to establish claims resolution procedures and correspond with
                  working group regarding same.
06116110     LEM Review UCC distributed documents; Participate in weekly call;         2.50
                  Conference with R. Bice.
06/16/10     MNK Participate in weekly Nortel Committee call.                          0.90
06116110     MNK Review Agreed Protective Order between Verizon Communications         0.40
                  and the Debtors filed and served in the bankruptcy cases.
06/17/10     LEM Review issues and UCC documents; Conference with R. Bice; E-           1.50
                  mails with M. Khambati regarding UCC committee issues.
06/17/10     MNK Review and respond to correspondence from R. Jacobs regarding         0.10
                  treatment of Law Debenture cross-border claims and Canadian
                  claims protocol.
06/18/10     LEM Review/analyze Canadian/US claims and allocation issues;              2.00
                  Telephone conference with R. Bice.
06/22/10     MNK Review master notice concerning assumption and assignment of          0.10
                  contracts in connection with CVAS sale.
06/22110     MNK Review Periodic Report regarding operations ofNNI subsidiaries        2.30
                  filed and served in the bankruptcy cases.
06/22/10     MNK  Review   agenda for upcoming hearing in the bankruptcy cases.        0.10
06/23/10     MNK Conference with J. Heaney at Law Debenture to discuss R. Bice         0.20
                  transition issues.
06/23/10     MNK  Review   Notice of amended agenda for upcoming hearing.             0.20
06/23/10     MNK Review Canadian claims update prepared and sent by Committee         0.50
                  professionals.
06/23/10     MNK Review NN Pakistan Cash Repatriation Plan provided by Capstone.      0.30
06/23110     MNK Review Capstone Report on GDNT Dividend and Norte! China cash        0.40
                  repatriation plan.
06/24/10     MNK Review M&A Process Update sent by Jefferies.                         0.50
06/24/10     MNK Participate on weekly Committee call.                                1.30
06/24/10     MNK Work on memo to client regarding background and open issues.         3.50
06/24/10     MNK Communicate with Committee professionals regarding replacement       0.20
                  at Law Debenture and upcoming meeting agenda.
06/24/10     MNK Review Legal Entity Rationalization Update provided by Capstone.     2.40
06/25/10     MNK Continue working on memo to client regarding background and          2.10
                  pending issues.
06/28110     MAD Office conference with L. Miller regarding distribution.             0.25
06/29/10     LEM Review revise issues memorandum to Law Debenture; Telephone          1.75
                  conference with M. Khambati; Telephone conference with M.
                  Dantas.
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   Date      Tkp1·                                Description                            Hours
06/29/10     MAD Review summary memo of status of case; Review pleadings.                  0.75
06/29/10     MNK Finalize and send background and issues memo to client and                1.40
                    communicate with L. Miller regarding same.
06/30/10     LEM Review retiree and disability memorandum from AG; Telephone               1.75
                    conference with M. Dantas.
07/01110     LEM UCC committee call; Review place holder draft plan; Telephone             4.00
                   conference with M. Khambati.
07/01110     MNK Participate on weekly Committee calL                                      1.00
07/01110     MNK Review U.K. Pension Regulator Appeal Memo prepared and sent by            0.20
                   F. Milner.
07/01110     MNK Review and analyze draft Nortel placeholder plan.                         1.30
07/02110     LEM Review proposed Plan.                                                     3.75
07/02/10     MNK Review Motion seeking extension of time to file disclosure                0.30
                   statement.
07/03/10     MNK Review Jefferies' latest M&A update.                                      0.40
07/03110     MNK Review Supplemental Declaration of D. Abbott regarding Morris             0.10
                   Nichols retention.
07/03/10     MNK Review and analyze draft Norte! placeholder plan with Committee           1.80
                   comments.
07/03/10     MNK Review correspondence from J. Strum regarding Norte! termination          0.20
                   of retiree benefits.
07/04110     MNK Review Order granting Eight Omnibus Objection to Claims.                 0.10
07/04/10     MNK Review Fifth Omnibus Order allowing certain Professionals interim        0.20
                   compensation.
07/05/10     MNK Review Debtors' Motion for Order enforcing Order Authorizing Sale        0.90
                   of Certain Assets of Enterprise Solutions Business.
07/05/10     MNK   Review    and analyze Debtors' Motion seeking to terminate certain     0.40
                   Retiree and long-term disability plans.
07/05/10     MNK Review Order granting Ninth Omnibus Objection to claims.                 0.10
07/06/10     MAD Telephone call with L. Miller regarding open issues; Review              1.00
                   materials.
07/06/10     MNK Review Capstone Report on IP franchise breakout by geography.            1.20
07/06/10     MNK Review and analyze Capstone cash and liquidity update.                   1.10
07/06/10     MNK Review Notice of Amended Agenda for upcoming hearing filed and           0.10
                   served in the bankruptcy cases.
07/06/10     MNK Review Notice of Second Amended Agenda of matters scheduled for          0.10
                   upcoming hearing.
07/07/10     MAD Telephone call with L. MiUer regarding committee matten;.                0.75
07/08/10     MNK Conference with L. Miller regarding upcoming client meeting with         0.20
                   Committee counsel.
07/09/10     LEM Review newly revised Complaint and Letter to Judge Gross, Steve          3.25
                   Sass correspondence regarding preference action's; Review Retention
                   letter issues regarding conflicts and resignation ofBR from matter,
                   Several e-mails and conference with M Dantas.
07/09/10     LEM Continue to review Plan.                                                 1.50
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    Date        Tkpr                                Description                           Hours
07/09110       MNK Communicate with R. Reale regarding Norte! summary for Fiduciary         0.10
                      Committee purposes.
07/09/10       MNK Review Order extending Debtors' time to :file a Disclosure Statement     0.10
                      in the bankruptcy cases.
07/09/10       MNK Review Order to extend Plan exclusive periods for Norte! (CALA).         0.10
07112/10       MAD Address issues with L. Miller.                                           0.75
07/12/10       MNK Review Enterprise Sale Order regarding assumption and assignment         0.20
                      of additional contracts.
07/13/10        LEM Continue to review new plan document.                                   2.50
07/13/10       MAD Several calls with L. Miller and M. K.hambati; Follow-up to same.        1.25
07/13/10       l\1NK Review MEN Withdrawal Notice regarding certain contracts.              0.10
07/13/10      MNK Review supplemental OCP filing.                                           0.10
07/13/10       l\1NK Review Committee Joinder to Debtors' Motion regarding termination      0.10
                     of certain retiree and long-term disability plans.
07/13110       MNK Review Tenth Omnibus Objections to Claims.                              0.30
07/13/10      MNK Review and analyze Debtors' Eleventh Omnibus Objection to Claims.        0.40
07/13/10      MNK Review and analyze Debtors' Twelfth Omnibus objection to claims.         0.40
07/13/10      MNK Review and analyze UK Pension Regulator's Determination Notice           1.30
                     and Reasons of the Determination Panel.
07/14/10       LEM Review Norte! weekly call materials and analyze allocation issues.      2.25
07/14/10       LEM Review BR material; Telephone conference with M. Dantas.                1.00
07/14/10      MAD Attend to updates provided by M. Khambati.                               1.25
07/14/10      MNK Continue reviewing and analyzing UK Pension Regulator's                  1.40
                     Determination Notice and Reasons of the Determinations Panel (for
                     issuing the same).
07/14/10      MNK Review and analyze supplemental filing materials regarding Debtors'      0.90
                     motion to terminate Retirement and Long Term Disability Plans.
07/14/10      MNK Review Agenda of upcoming matters scheduled for hearing in the           0.30
                     bankruptcy cases.
07/15/10       LEM Participate in conference call and review/analyze submissions by        3.25
                     Committee professionals
07/15/10       LEM Various conferences with M. Dantas and review several e-mails and       1.25
                     documents.
07/16/10       LEM Review issues from Committee call and memorandums.                      2.50
07/16/10      l\1NK Review Debtors' objection to Embarq Management Claim.                  0.30
07/19/10      MNK Review Notice of Withdrawal of Debtors' Motion for Termination of        0.10
                     certain Retiree Plans.
07/20/10      LEM Review revenue allocation issues; Conference with M. Dantas.             1.75
07/21110      LEM Review UCC materials including focus on Allocation issues and UK         4.25
                     pension issues.
07/21/10      MAD Telephone call with L. Miller; Review materials.                         0.75
07/22/10      LEM Participate in Norte! conference call, follow-up call on Canadian        4.25
                     claim with Committee professionals; Meet with client to review
                     status of matter.
07/22/10      MAD Meeting with J. Heaney, L. Miller and M. Khambati regarding status.      1.50
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   Date     Tkpr                                Description                           Hours
07/22/10    MNK Participate on multiple conferences with Committee counsel              1.00
                  regarding weekly agenda and payment on 2026 bonds, including
                 discussions with L. Miller and client regarding same.
07/23/10    LEM Address Proceeds Allocation issues; Telephone conference with M.        2.50
                 Khambati; Review Canadian claims issues
07/23/10    MAD Review Nortel Pension issues.                                           0.75
07/23/10    MNK Review notice regarding hearing on Enterprise sale.                     0.10
07/23/10    MNK Review Order granting Debtors final waiver of requirements under        0.10
                 section 345(b ).
07/26/10    LEM Analyze/Address NNCC Notes distribution issues.                         1.75
07/26/10    MAD Follow-up on open issues; Conference calls with L. Miller.              1.50
07/26/10    MNK Conferences with Capstone regarding Nortel distributions and draft      1.10
                 and send e-mail memo to client regarding same.
07/27/10    MNK Review Notice of Rejection of contracts filed and served in the         0.10
                 bankruptcy cases.
07/28/10    LEM Review M&A materials and I.P. issues.                                   1.75
07/28/10    MNK Revi~w M&A update sent by Committee professionals.                      0.70
07/28/10    MNK Review and analyze Distribution Agreement Cancellation Agreement        0.90
                 presentation sent by Committee counsel.
07/29/10    LEM UCC conference call and follow-up with M. Khambati; Review              3.00
                 materials.
07/29/10    MNK Review P. Binning compensation summary prepared and sent by            0.20
                 Committee professionals.
07/29/10    MNK Review cash update provided by Capstone.                               0.90
07/29/10    MNK Communicate with J. Barrow and L. Miller regarding revised sale        0.10
                 distribution proceeds allocation projections.
07/29/10    MNK Participate in weekly Committee call.                                  0.80
07/30/10    MNK Review article on Determination Notice issued by UK Pension            0.20
                 Regulator.
07/30/10    MNK Review correspondence from F. Hodara regarding Flextronics'            0.10
                 resignation from the Committee and communicate with client
                 regarding sa:me.
08/02/10    LEM Analyze claims issues; Conference with M. Khambati regarding US        2.25
                 and canadian claims; Review e-mail to client.
08/03/10    MNK Multiple conferences and correspond with client (J. Heaney and R.      0.90
                 Rywkin), B. Kahn, and L. Miller regarding Canadian claims process.
08/03/10    MNK Review Agenda for upcoming hearing in the bankruptcy cases.            0.10
08/04/10    LEM Conference call with M. Khambati and UCC professionals to discuss      2.25
                 Cross border claims resolution process; Review documents.
08/04/10    MNK Conference and communicate with Committee counsel regarding            0.90
                 Canadian Claims Protocol and conference and communicate with L.
                 Miller, M. Dantas and client regarding same.
08/04/10    MNK Review IP address monetization presentation prepared by Capstone.      0.40
08/05/10    LEM UCC conference call; Review materials from Committee                   3.25
                 professionals, particularly allocation and IP address issues.
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   Date       Tkpr                              Desc.-iption                            Hours
08/05/10      MNK Participate on Nortel weekly Committee call and communicate with        1.00
                    L. Miller regardingupcoming meeting.
08/06/10      LEM Review e-mail to J. Heaney.                                             0.25
08/06110      MNK Draft and send e-mail memorandum to J. Heaney regarding Canadian        0.30
                    Claims Process status.
08/06/10      MNK Continue reviewing and analyzing Capstone Illustrative Proceeds         0.90
                    Allocation Update prepared for the Committee.
08/06/10      MNK Review three AIP results and payments summaries prepared by             1.10
                   Capstone.
08/06/10      MNK Review M&A Process update prepared and sent by Jefferies.               0.40
08/06/10      MNK Review MSS Passport liquidation analysis prepared and circulated by     0.70
                   Capstone.
08/09/10      LEM Review/Analyze joint Chapter 11 Plan.                                   3.50
08/09/10      MNK Review Certification regardingOmnibus Hearing Dates.                    0.10
08/09/10      MNK Review correspondence, recommendation and attachment from               0.30
                   Committee counsel regardingDebtors' retention of RLKS for
                   provision of document management services.
08/10/10      MAD Review Order from U.S. Magistrate regarding UK Pension                  1.25
                   Regulators; Review committee materials.
08/10/10      MNK Review Debtors' motion to engage RLKS Executive Solutions for          0.40
                   wind-down purposes.
08/10/10      MNK Review Ninth Supplemental Declaration of J. Bromley in support of      0.10
                   Cleary's retention by the Debtors.
08/11/10      LEM Analyze Chapter 11 plan and review intercompany claims and             3.75
                   allocation issues.
08/11/10      MNK Review expanded Norte( M&A update prepared and circulated by           1.20
                   Jefferies.
08/11110      MNK Review Norte I professionals fee chart provided by Committee           0.30
                   professionals.
08111110      MNK Review Norte! Cash Update provided by Capstone.                        0.80
08/12/10      LEM Conference phone call with Creditor Committee; Review committee        3.00
                   materials; Telephone conference with M. Khambati.
08/12/10      MNK Review Nortel Cash Update per information provided on weekly           0.40
                   Committee call.
08/12/10      MNK Participate in weekly Nortel Committee call.                           1.00
08/12/10      MNK Review Nortel Business Services actual to budget analysis provided     0.70
                   by Capstone.
08/13/10      LEM Prepare for August 19, 2010 meeting on allocation.                     3.25
08/16/10      LEM Prepare for August 19, 2010 meeting; Review Plan and Allocation        5.75
                   documents; Telephone conference with M. Khambati; E-mail J.
                   Heaney, change oftime organization from F. Hodara.
08/16/10      MNK Review and respond to correspondence from L. Miller, J. Heaney and     0.10
                   F. Hodara regarding upcoming Committee meeting.
08/16/10      MNK Review Notice of upcoming agenda for hearing in the bankruptcy         0.20
                   cases.
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   Date      Tkpr                               Description                              Hours
08116/10     MNK Review Committee correspondence and presentation on allocation            1.10
                   issues and communicate with J. Heaney and L. Miller regarding
                   same.
08/16/10     MNK Review Notice of rescheduled hearing in Nortel bankruptcy cases.          0.10
08/16110     MNK Review Thirty-Second Notice of Rejection· of contracts and/or leases.     0.10
08117/10     LEM Review allocation issues; Review Akin power point presentation.           2.25
08118/10     LEM Prepare for tomorrow's in person UCC meeting; Review documents            5.50
                  from Committee Counsel; Telephone conference with M. Khambati;
                  Review issues.
08118/10     MNK Review Amended Agenda for upcoming hearing.                               0.20
08/18110     MNK Review and respond to correspondence from L. Miller regarding             0.10
                  NRDA and follow-up with Committee counsel regarding same.
08/18/10     MNK  Review   and respond to correspondence from J. Ray regarding Law         2.10
                  Debenture claim [.1]; Review, analyze and research Law Debenture
                  claim and Indenture and legaJ support for the same [ 1. 8];
                  Communicate with client, M. Feig and L. Miller regarding same [.2].
08118/10     MNK Review, analyze and compare successive Proceeds Allocation                1.40
                  updates prepared and circulated by Capstone.
08/18110     MNK Review Nortel Master R&D Agreement sent by Committee counsel.             0.80
08/18110     MNK Review and analyze Term Sheet for Cross-Border Claims Protocol.           0.20
08118110     MNK Review US and Canadian Claims Update provided by Capstone.                0.40
08/18/10     MNK Review M&A Process Update prepared and sent by Jefferies.                 0.40
08/18/10     MNK Review Preliminary IPCo Valuation Ranges prepared by Capstone.            1.10
08/18110    ·MNK Review Corporate Group Budget analysis prepared by Capstone.              0.70
08/19/10     LEM Conference with M. Khambati; Review documents from U.C.C.                10.00
                  regarding Disclosure Statement, Chapter XI Plan, Allocation,
                  Intellectual Property; Attend in person meeting with UCC members
                  and professionals; Meet with J. Heaney of Law Debenture;
                  Conference with M. Khambati.
08119/10     MNK Travel to and from New York to attend in-person Committee                6.00
                  meeting.
08/19/10     MNK Attend and participate in meetings with Committee and, separately,       5.50
                  with client regarding Nortel status and open issues.
08/20110     LEM Review/Analyze Chapter XI plan and disclosure statement; Review          6.50
                  proceeds allocation issues.
08/20110     MNK Review Debtors' motion regarding treatment of SNMP claim.                0.20
08/20110     MNK Review Goal of Allocation Process prepared by US Debtors.                0.30
08/20/10     MNK Continue reviewing Nortel Master R&D Agreement.                          1.30
08/21110     MNK Review presentation from J. Ray regarding US/Canada estate               0.50
                  structure.
08/21110     MNK Review Plan Advisory Committee excerpt circulated by Committee           0.10
                  counsel.
08/21110     MNK Continue reviewing Preliminary IPCo Valuation Ranges prepared by         0.90
                  Capstone.
08/21/10     MNK Review Nortel materials on unliquidated (and potentially disputed)       0.30
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   Date       Tkpr                             Description                              Hours
                  claims.
08/21110     MNK Review intercompany and preference analysis prepared and                 0.20
                 distributed by Debtors.
08/23/10     MNK Review Order authorizing RLKS employment and retention.                  0.10
08/23/10     MNK Review various claims objection orders.                                  0.20
08/24/10     LEM Lengthily conference with M. Dantas; Review suggested list of            2.50
                 mediation and review background information on service in Nortel
                 matter.
08/24/10     MAD Review Committee materials; Telephone call with L. Miller.              1.25
08/24/10     MNK Review correspondence from Committee counsel regarding mediator         0.40
                 choices and review mediator bios provided by Committee counsel.
08/25/10     LEM Review Leonard Rosen biography, cross border protocol, Law              4.25
                 Debenture Claim and Plan Advisory Committee issues.
08/25/10     MAD Review meeting summary; Address open issues; Telephone calls             1.50
                 with L. Miller.
08/25/10     MNK Conference and communicate with B. Kahn and L. Miller regarding         0.20
                 additional recommendations regarding mediators for allocation
                 dispute.
08/25/10     MNK Review correspondence from M. Feig regarding Nortel2026 bonds           0.20
                 and communicate with M. Riela and M. Feig regarding same.
08/25/10     MNK Prepare and send Committee meeting open issues memo to L. Miller.       0.40
08/25/10     MNK Review real estate update prepared by Capstone.                         0.20
08/25/10     MNK Review Allocation summaries prepared and circulated by Capstone.        0.40
08/25/10     MNK Review Nortel cash update prepared by Capstone.                         0.50
08/26/10     LEM Attend UCC conference call; Review M. Khambati's memorandum.            1.50
08/26/10     MAD Attend to open issues.                                                  3.75
08/26/10     MNK Attend and participate in weekly Committee meeting.                     1.20
08/27/10     LEM Analyze consent right issue regarding Law Debenture bond claim          4.25
                 and settlement of all bond issue claims; Review CV's of proposed
                 mediators; Review M. Khambati's update of issues forM. Dantas.
08/27/10     MAD Telephone call with M. Khambati; Review update; Review                  1.25
                 committee meeting summary.
08/27110     MNK Review prior status memo and draft and send new status and issues e-    0.50
                 mail memo tci M. Dantas and L. Miller.
08/27/10     MNK Review Nortel preference analysis distributed by J. Ray.                0.90
08/27110     MNK Review correspondence and announcement regarding MSS Business           0.20
                 sale.
08/27/10     MNK Review correspondence and materials on mediators proposed by all        0.60
                 Nortel constituencies.
08/30/10     LEM Review Morris Nichols' Memoranda; conference with M. Khambat~           1.75
                 Analyze documents.
08/30/10     MAD Telephone call with M. Khambati regarding open issues raised in         1.25
                 UCC meeting; Review update; Telephone call with L. Miller.
08/30/10     MNK Review agenda of matters for upcoming hearing.                          0.10
08/30/10     MNK Conference with M. Dantas regarding status in case.                     0.10
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   Date      Tkpr                                l)escl"iption                        HoUt·s
08/30/10     MNK Review motion and sale documents regardingsale ofMSS Business.         2.70
08/31/10     LEM Review Memorandum regarding the CV's of proposed mediators             2.50
                   submitted by several parties; Perform private research on
                   possibilities; Conference with M. Khambati.
08/31110     MNK Review correspondence from B. Kahn regardingVerizon stipulation.       0.20
08/31110     MNK Review correspondence from B. Kahn regardingCDTI amended               0.20
                  settlement demand.
09/01110     LEM Review Morris Nicols Agenda/matter letter; Review UCC conference       1.50
                  materials.
09/01110     MNK Review correspondence from F. Hodara regarding update on               0.10
                  mediators.
09/01110     MNK Review draft Disclosure Statement prepared and circulated by           2.90
                  Debtors.
09/01110     MNK Review M&A Process update prepared by Jefferies.                       0.30
09/01/10     MNK Review NBS August outlook prepared and circulated by Capstone.         0.70
09/02/10     LEM Review UCC conference materials and participate in weekly              5.00
                  Committee call; Particularly analyze Cross Boarder Claims and
                  proceeds allocation; Review M. Riela of Latham's Cross Border
                  proposal comments; Telephone conference with M. Riela; Telephone
                  conference with J. Heaney of Law Debenture.
09/02110     MNK Review proposed MSS AIP for 2010 Q3 circulated by Capstone.            0.40
09/02/10     MNK Review Proposed second half 2010 Norte I Business Services AlP         0.60
                  circulated by Capstone.
09/02/10     MNK Review second half 2010 Corporate Group AlP circulated by              0.90
                  Capstone.
09/02110     MNK Review Notice of Amended Agenda for upcoming hearing.                 0.10
09/02/10     MNK Participate in weekly Nortel Committee call                           0.80
09/02/10     MNK Review and analyze Nortel Canadian and Cross-Border claims            1.50
                  materials and conferences with Committee and BNY counsel
                  regarding same.
09/02/10     MNK Conferences with L. Miller, J. Heaney and BNY counsel (M. Riela)      0.30
                  regarding Committee participation in bond claims allowance and
                  treatment process.
09/03/10     MNK Review multiple correspondence from R. Jacobs regarding               0.10
                  bondholder position on claims protocol.
09/07/10     MNK Review Thirteenth Omnibus Objection to claims filed in the Nortel     0.40
                  bankruptcy cases.
09/07/10     MNK Review claims settlement procedures motion filed and served in the    0.50
                  bankruptcy cases.
09/09/10     MNK Review Order Authorizing Debtors' entry into Stalking Horse Asset     1.80
                  Sale Agreement for MSS Business.
09/13/10     LEM Review materials for in person UCC committee meeting; Conference      8.75
                  with M. Khambati; Conference with J. Heaney of Law Debenture;
                  Attend UCC meeting at Akin; Review matc::rials from meeting;
                  Conference with M. Khambati.
09/13/10     MAD Review UCC materials.                                                 1.75
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   Date       Tkpr                                 Descr·iption                           Hom·s
09/13/10      MNK Travel to and from New York to attend Nortel Committee meeting.           6.00
09/13110      MNK Conference with L. Miller and attend Nortel Committee meeting at          4.50
                    Akin Gump offices in New Y ark.
09/14/10      LEM Review/Analyze materials on allocation of sale proceeds and Cross         4.25
                    Border Protocol (Canada/USA).
09114/10      MNK Review agenda for upcoming hearing.                                       0.10
09/15/10      LEM Review Nortel IP Retention Plan which includes employees in the           3.25
                   Norte] Special Incentive Plan; Review PBGC claim and enterprise
                    liability theory issues for creditor/proceeds.
09/15/10      MAD Telephone call with L. Miller regarding PBGC Claim; Review PBGC           2.75
                   Claim; Review and comment on memo to Client.
09/15/10      MNK Review Notice of Solicitation of bids for MSS Business.                   0.40
09/15/10      MNK Review Notice of Palisades thirteenth and final application for fees      0.20
                   and expenses and supplemental declarations filed in support of
                   Palisades retention.
09/15/10      MNK Review Notice of Debtors' assumption and assignment of certain           0.30
                   contracts as part ofMSS Business transaction.
09/15/10      MNK Conference with J. Heaney regarding PBGC claim [.3]; Review              0.60
                   PBGC claim and communicate with J. Heaney regarding same [.3]
09/16/10      MAD Telephone call with L. Miller; Review pricing information.               1.75
09/16/10      MNK Review amended agenda of matters for upcoming hearing.                   0.10
09/16/10      MNK Correspond and communicate with Dewey library, L. Miller, and J.         0.20
                   Heaney regarding Norte] Bond prices for Law Debenture notes.
09/16/10      MNK Review Verizon's motion for stay reliefto effect setoff.                 0.40
09/16/10      MNK Review correspondence and attachment from J. Hyland regarding IP         0.50
                   retention plan.
09/17/10      LEM Participate in conference call with UCC Committee; Conference with       3.00
                   M. Khambati regarding allocation issues; Review e-mail from D.
                   Batter of Akin regarding upcoming all hands allocation meeting;
                   Analyze issues.
09/17/10      MNK Participate on weekly Committee call.                                    1.10
09/17/10      MNK Review correspondence from D. Batter regarding upcoming                  0.10
                   allocation meeting.
09/17/10      MNK Review and respond to correspondence from J. Ray regarding Law.          0.20
                   Debenture allowed claim amount and OlD issue.
09/20/10      MAD Meeting with L. Miller regarding status of case; Follow-up to same.      1.50
09/21/10      LEM Review conflicting views of various allocation issues; Review prior      4.00
                   analysis of competing views.
09/21/10      MNK Review NNI allocation overview circulated by Committee counsel.          0.90
09/21/10      MNK Review and analyze Canadian allocation presentation circulated by        0.30
                   Committee counsel.
09/21/10      MNK Review and analyze EMEA allocation presentation circulated by            0.60
                   Committee counsel.
09/22/10      LEM Review e-mail from Akin regarding allocation meeting with                5.50
                   Canadian and EMEA representatives; Review detailed meeting
                   presentations by all 3 debtor entities; Conference with M. Khambati;
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   Date      Tkpr                               Descdption                               Hours
                  Review memorandum to Remo Reale of Law Debenture; Review
                  Agenda for UCC call on 9/23/10 and related attachments.
09/22/10     MAD Review and address status memo to cliient.                                1.25
09/22/10     MNK Review and analyze preliminary IP bid summary presented by                0.40
                  Capstone.
09/22110     MNK  Review  and analyze Nortel cash update presented by Capstone.            1.10
09/22/10     MNK Prepare and send status summary to Law Debenture.                         0.60
09/23/10     LEM Review analysis of allocation issues, participate in UCC Nortel call;     5.75
                  Analyze issues relating to allocation mediation; Conference with M.
                  Khambati.
09/23/10     MNK Participate on weekly Committee call.                                    1.70
09/24110     MAD Review UCC materials.                                                    0.50
09/24/10     MNK Review Committee correspondence regarding Pluto sale.                    0.10
09/24/10     MNK Review supplement to list of ordinary course professionals filed and     0.10
                 served in the bankruptcy cases.
09/24/10     MNK Review   Debtors Motion regarding destruction of business records         1.10
                 filed and served in the bankruptcy cases.
09/24110     MNK Review supplemental Order granting Tenth Omnibus Objection to            0.10
                 Claims.
09/24/10     MNK Review Order approving settlement procedures for certain prepetition     0.20
                 claims.
09/24/10     MNK Review Debtors' Fourteenth Omnibus Objection to Claims filed and          1.20
                 served in the bankruptcy cases.
09/27/10     MAD Address allocation questions.                                            0.75
09/28/10     LEM Review various asset allocation issues.                                  1.75
09/28/10     MAD Review UCC materials.                                                    0.75
09/28/10     MNK Review Notice of Agenda for upcoming hearing.                            0.20
09/29/10     LEM Analyze alternatives to mediation efforts if unable to reach             2.25
                 agreement with/other debtor, outline issues.
09/29/10     MAD Review materials.                                                        1.00
09/30/10     LEM Review UCC's conference materials; Participate in UCC conference         3.25
                 call; Conference with M. Dantas, outline issues associated with
                 alternative to mediation.
09/30/10     MAD Meeting with L. Miller regarding UCC call and open issues; Review        2.25
                 UCC materials.
09/30/10     MNK Review amended agenda for upcoming hearing.                              0.20
09/30/10     MNK Review notice of rescheduled hearing date.                               0.10
09/30/10     MNK Review Debtors Motion seeking approval of stipulation resolving          0.40
                 Demel Claim.
09/30/10     MNK Participate in weekly Committee call.                                    1.00
09/30/10     MNK Review M&A Update provided by Jefferies.                                 0.90
09/30/10     MNK Review Akin Gump memo on mediation.                                      0.20
09/30/10     MNK Review Notice of Successful Bid for MSS Business filed and served        0.10
                 in the bankruptcy cases.
10/01110     MAD Review background materials for allocation issues.                       3.50
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   Date      Tkp1·                                Description                            Hom·s
10/01/10     MNK Review correspondence from F. Hodara regardingstatus of upcoming          0.10
                    Committee calls.
10/04/10     LEM Review and comment on Cleary/Akin Draft Mediation Brief on                5.50
                    allocations of sales proceeds; Do research on various allocation
                    issues; Also review various other debtor motions; Transfer of NBS
                    US employees to a third party staffing company.
10/04110     MNK Review and analyze draft allocation mediation statement outline sent      0.40
                    by Committee counsel.
10/04/10     MNK Review correspondence from B. Kahn regarding Nortel document              0.10
                    retention motion summary.
10/04/10     MNK Review Capstone report on NBS employee transfer.                          0.30
10/05/10     LEM Conference with M. Dantas regarding various issues and analyze the        5.50
                   Draft Outline of Mediation position Brief on Allocation issues;
                   Analyze Mediation possible settlement issues.
10/06/10     LEM Review Committee documents by Cleary and Capstone for UCC call;           3.75
                   Participate in UCC call; Focus on intercompany allocation issues of
                   sales proceeds and intellectual property amortization.
10/06/10     MAD Review materials.                                                         1.75
10/06/10     MNK Review and analyze outline of Cleary Allocation brief.                    0.40
10/06/10     MNK Review Carling sales update prepared and circulated by Capstone.          0.30
10/06/10     MNK Review Nortel cash forecast prepared and circulated by Capstone.          0.50
10/06/10     MNK Attend and participate in weekly Committee meeting.                       1.20
10/07/10     LEM Consider mediation process/compromise and trustee duties.                 2.00
10/07/10     MAD Meeting with J. Heaney and prepare for same.                              3.00
10/07/10     MNK Conference with L. Miller regarding settlement issues for Law             0.30
                   Debenture.
10/07/10     MNK Review Order granting motion to shorten notice regarding IBM             0.20
                   merger.
10/07/10     MNK Review Notice regarding Omnibus hearing dates.                           0.10
10/07/10     MNK Review materials prepared by Capstone on APAC/CALA cash                  0.50
                   repatriation and legal entity rationalization.
10/07/10     MNK Review US and Canadian claims update prepared and circulated by          0.50
                   Capstone.
10/07/10     MNK Review Notice of withdrawal of Debtors' assumption and assignment        0.10
                   notices regarding MSS sale.
10/07/10     MNK Review supplemental order regarding Debtors' Twelfth Omnibus             0.10
                   Objection to Claims.
10/07/10     MNK Review Order approving Palisades Capital's final application for fees    0.10
                   and expenses.
10/07/10     MNK Review Order granting Debtors' Thirteenth Omnibus Objection to           0.10
                   claims.
10/08/10     MAD   Review   M. Khambati memorandum on allocation and contribution.        2.50
10/08/10     MNK Review correspondence and attachment from B. Braverman                   0.10
                   regarding Nortel bond prices.
10/08/10     MNK Review and respond to correspondence and article from L. Miller          0.20
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   Date      Tkpr                               Description                               Hou1·s
                   regarding mediation issues.
10/08/10     MNK Communicate with L. Miller regarding mediation issues and analyze          2.80
                   and draft memo to file reflecting mediation-related issues for Law
                   Debenture.
10/08/10     MNK Review multiple correspondence throughout afternoon from F.                0.20
                   Hodara, S. Kelly and others regarding UK pension party objections to
                   motion to appoint mediator.
10/10/10     MAD Review objection of UK Pension Parties.                                    1.75
10/11/10     LEM Review M. Khambati memorandum and filed motions to appoint a               4.25
                   mediator and objections by UK pension entities and lengthily
                   conference call with M. Dantas and M. Khambati regarding possible
                   settlement through mediation.
10/11110     MAD Telephone call with L. Miller and M. Khambati regarding open               2.50
                   issues; Follow-up to same.
10/11110     MNK Review updated Omnibus Hearing Order filed and served in the               0.10
                   bankruptcy cases.
10/11/10     MNK Participate in conference with L. Miller and M. Dantas to discuss          1.00
                   mediation issues for Law Debenture as indenture trustee and
                   committee member.
10/11110     MNK Review MSS Sale Order filed and served in the bankruptcy cases.            2.70
10/12110     LEM · Continue to review/analyze issues associated with allocation,            7.50
                   mediation and compromise; Review possible court protections.
10/12/10     MAD Attend to allocation question raised yesterday's call.                     2.75
10/12/10     MNK Review agenda for upcoming hearing in the bankruptcy cases.                0.10
10/12110     MNK Review Order approving A vaya escrow stipulation.                          0.40
10/13/10     LEM Review Ad Hoc Bondholder Committee position on mediation and               2.50
                   alternatives if mediation not successful in November meetings.
                   Review litigation/jurisdiction issues.
10/13/10     MNK Review Amended Agenda of matters for upcoming hearing.                     0.10
10/13/10     MNK Review multiple correspondence from Committee counsel and                  0.10
                   members regarding UK Pension parties involvement in the mediation
                   process.
10/13/10     MNK Review revised and further amended agenda for upcoming hearing.           0.20
10/13110     MNK Review Order Shortening Notice regarding Debtors' motion seeking          0.10
                  to appoint mediator.
10/14110     LEM Review e-mails regarding adjournment ofMediation Retention                 1.00
                   Motion and possible Cleary and Ogilvy conflict issues.
10114110     MNK Review statement of Ad Hoc Bondholders in support of engagement           0.10
                  ofHon. Phillips for limited mediation.
10114110     MNK Review UK Pension Claimants objection to Debtors' motion                  0.30
                  regarding appointment of mediator.
10/14110     MNK Review and send Norte! engagement letter to J. Heaney.                    0.10
10114110     MNK Review Supplemental Declaration ofM. Blyth in support of                  0.20
                  Linklaters application.
10114/10     MNK Review Debtors' assumption and assignment request regarding               0.10
                  CVAS contracts.
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   Date       Tkpr                               Description                            Hours
10/15/10      MAD Attend to M. Khambati e-mails regarding issues.                         1.75
10/15/10      MNK Multiple conferences and correspondence with J. Heaney, J.              1.40
                    Macinnis, G. Uzzi, L. Miller, and M. Dantas regarding Nortel and
                    holder issues.
10/15/10      MNK Review new Norte! bond prices posted by B. Braverman.                   0.10
10/15/10      MNK Review mediation status correspondence from F. Hodara.                  0.10
10/15/10      MNK Review fifteenth supplement to list of OCPs filed and served in the     0.10
                    bankruptcy cases.
10/15/10      MNK Review limited objection of ACS Cable Systems to Debtors'               0.20
                   document destruction motion.
10/16/10      MNK Review Indenture provisions and review and respond to                   0.40
                   correspondence from L. Miller regarding noteholder inquiries.
10/18/10      LEM Review several e-mails memorandum; Long conferen;e with M.              5.25
                   Dantas and M. Khambati regarding evaluation and protection of Law
                   Debenture bond rights; Review Nortel Holder Notice; Review Delta
                   Airline opinions on claim settlement by Trustee; Review bankruptcy
                   issues raised by Deutsche Bank and White & Case.
10/18/10      MAD Telephone calls with L. Miller; Review materials; Telephone call       2.25
                   with L. Miller and M. Khambati.
10/18/10      MNK Conference with L. Miller and M. Dantas regarding Nortel allocation     1.30
                   and noteholder issues.
10/18/10      MNK Review and analyze Debtors' fifteenth omnibus objection to claims.     0.70
10/19/10      LEM Prepare for Nortel UCC call.                                           1.00
10/19/10      MAD Attend to issues raised by Holder; Telephone calls with L. Miller.     2.25
10/19/10      MNK Review correspondence from B. Kahn regarding upcoming Nortel           0.10
                   call.
10/20/10      LEM Prepare for and participate in weekly committee call; Review           3.00
                   memorandum on mediation matters and first Notice to Holders;
                   Review/Analyze Plan B litigation options.
10/20/10      MAD Address mediation issues.                                              1.00
10/20/10      MNK Attend and participate in weekly Committee call.                       1.30
10/20/10      MNK Research, review and analyze case law and statutory provisions in      5.20
                   working on issues raised by DB Group.
10/21110      MAD Telephone call with L. Miller and address issues.                      2.75
10/21110      MNK Continue reviewing and analyzing case law and statutory provisions;    6.20
                   Draft memo to working group regarding Bondholder issues.
10/21110      MNK Review correspondence from B. Kahn regarding status ofNortel           0.10
                   mediation statements.
10/21110      MP Discuss ERISA research with M. Khambati; Review article.                0.75
10/22/10      LEM Review M. Khambati's memorandum on DB issues; Review statutes          2.50
                   and cases; Review of US Debtors statement.
10/22/10      MNK Continue reviewing and revising Nortel memo regarding bondholder       7.70
                   concerns and send to working group for review and consideration.
10/23/10      MNK Review notice of rescheduled November hearing date.                    0.10
10/23/10      MNK Review draft (US) mediation brief and list of exhibits.                2.30
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    Date     Tkp1·                               Descdption                                  Hours
10/24110     LEM Review mediation statement memorandum of US Debtor and the                    5.25
                   UCC and the financial exhibit to the statement; Also review ofM.
                   Khambati's Bondholder issues.
10/24/10     MNK Review draft allocation exhibit sent by B. Kahn.                              2.30
10/24/10     MNK Review correspondence from D. Botter regarding status of comments             0.10
                   to mediation statement.
10/25110     LEM Review recent redlined version of mediation statement; Participation          5.50
                   in UCC conference call to review mediation statement and Chillmark
                   fmancial exhibit; Discuss upcoming mediator retention motion and
                   possible Cleary conflict; Extensive review of M. Khambati's
                   Bondholder issues memorandum; E-mails.
10/25/10     MAD Telephone call with M. Khambati; Review mediation brief;                      3.75
                   Telephone calls with L. Miller; Review Allocation Statement.
10/25/10     MNK Participate in committee call regarding mediation statements.                 0.60
10/25/10     MNK Communicate with Canadian Monitor and counsel for Monitor, J.                 0.30
                   Carfignini and J. Pasquariello, regarding Law Debenture Canadian
                   claim.
10/25110     MNK Review and analyze draft UCC comti1ents to US mediation brief.                0.90
10/25/10     MNK Review agenda for upcoming hearing.                                           0.10
10/25110     MNK Review application to retain Benesch Friedlander as special litigation        0.40
                   counsel.
10/26110     LEM Review US, Canadian and EMEA mediation statements, related                    8.00
                   financial documents and exhibit lists; Conference with M. Khambati
                   and continued review of issues raised by Bondholder (DB).
10/26/10     MNK Review Order approving ffiM-related merger consents and                       0.40
                   indemnification agreements.
10/26/10     MNK Work on second notice to holders of2026 bonds.                               1.40
10/26/10     MNK Review amended agenda for upcoming hearing.                                  0.10
10/26/10     MNK Review Order approving Stipulation regarding E. Demel claim.                 0.10
10/26/10     MNK Review Fourteenth Omnibus claims objection and Order granting                0.30
                   relief requested in same.
10/26/10     MNK Conference with L. Miller to discuss bondholder issues.                      0.70
10/27/10     LEM Long conference call with M. Dantas and M. Khambati, regarding               5.50
                   PBGC/DB issues/allocation issues; Review mediation statements and
                   selected exhibits from EMEA and Canadian debtors.
10/27/10     MAD   Review   and comment on Notice to Holders; Telephone call with L.          3.25
                   Miller; Review related materials.
10/27/10     MNK Review second amended agenda of matters for upcoming hearing.                0.10
10/27110     MNK Conference with L. Miller and M. Dantas regarding open issues.               0.90
10/27/10     MNK Continue drafting, reviewing and revising Second Notice to holders           1.60
                   and send draft to working group for review and consideration.
10/28/10     LEM Review submission from (1) UK pension Trustee, (2) Pension                   4.75
                   Protection Fund and (3) Directors of non filed entities; Participate in
                   UCC Committee call, regarding proceeds allocation and M&A
                   update; Review documents.
10/28/10     MAD Review pleadings and e-mails regarding arbitration; Telephone calls          4.25
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   Date       Tkp1·                             Description                              Hours
                   with L. Miller; Review memorandum on contnbution issues.
10/28/10      MNK Participate on weekly committee conference call.                         0.90
10/28/10      MNK Review and respond to comments from M. Dantas regarding Holder           0.20
                   Notice and revise the same.
10/28/10      MNK Review, analyze, and draft waterfalVdistribution section of              3.60
                   bondholder issues memo.
10/28/10      MNK Review cash update prepared and circulated by Capstone.                  0.80
10/28/10      MNK Review summary of Benesch Freidlander retention sent by B. Kahn.         0.10
10/29/10      LEM Analyze Allocation issues and preliminary review ofM. Khambati's         2.00
                   ERISA/contribution issues.
10/29/10      MAD Review Indenture and Notice; Review Memorandum prepared by M.            3.75
                  Khambati.
10/29/10      MNK Continue working on distribution analysis as part of memo                5.80
                   addressing bondholder concerns and send to L. Miller and M. Dantas
                   for review and consideration.
11/01110      LEM Review/comment on second Nortel holder notice; Analyze M.                8.00
                  Khambati's memorandum on ERISA/contribution/issue resolution;
                  Lengthy conference call with M. Dantas, M. K.hambati and M.
                   Steinman regarding ERISA related issues; Organize meeting with J.
                  Heaney of Law Debenture; Analyze DB, PBGC, settlement issues;
                  Research on PBGC Nortel issues; Review e-mail attachment
                  regarding PBGC web posting.
11/01/10      MAD Telephone call with M. Khambati and L. Miller to discuss strategy;      4.75
                  Review materials; Telephone call with M. Steinman; Review ERISA
                  Article; Review and comment on Notice.
11/01/10      MNK Conference with working group regarding various bankruptcy-related      2.00
                  issues.
11101/10      MNK Review, revise and send second Notice to holders to working group       0.10
                  for review and consideration.
11/01/10      MNK Review correspondence from L. Miller regarding PBGC claim.              0.10
11/01110      MNK Review, analyze and respond to multiple correspondence from M.          1.20
                  Steinman regarding PBGC claims in Norte! cases and communicate
                  with working group regarding same.
11101/10      MNK Review Order appointing mediator for sale proceeds allocation           0.10
                  disputes.
11/01/10      MNS Calls/e-mails regarding PBGC issue; Research regarding same.            2.50
11/01/10      MP Discuss assignment with M. Steinman; Review research.                    0.90
11/02/10      LEM Review/M. Khambati's memorandum related ERISA/contribution              6.25
                  issues; Review ERISA article; Review related issues and prepare for
                  UCC call on November 3, 2010.
11/02/10      MAD Telephone calls and e-mails with L. Miller and M. Khambati              3.75
                  regarding allocation issues and preparation for meeting with client;
                  Review related materials.
11/02/10      MNS E-mails regarding PBGC issues.                                          0.25
11/02/10      MP Conduct research on case law regarding PBGC liability.                   3.40
11/02/10       SM Research regarding 1990 Lone Star Steel v Lone Star Tech case for       0.50
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   Date      Tkrw                               Description                             Hour·s
                 M. Peterson.
11/03/10     LEM Review US Debtors reply mediation statement and Chillmark                5.50
                 financial exhibit; Participate in UCC call; Prepare for meeting with
                 client; M. Dantas, M. Khambati and P. Ivanick on November 4,
                 2010.
11/03/10     MAD Telephone call with M. Steinman and L. Miller regarding                  3.75
                 contribution issues; Post call with L. Miller; Review related
                 materials.
11103/10     MNK Travel to New York to meet with client and working group regarding       4.00
                 pending issues.
11/03/10      MP Conduct research; Discuss research with M. Steinman; Call with M.        4.40
                 Steinman, L. Miller and M. Dantas regarding research; Discuss
                 assignment with R. Heszkel.
11103/10      RH Research regarding the right of contribution for PBGC liability.         3.10
11104/10     LEM Prepare for conference with J. Heaney, M. Dantas and M. Khambati         6.75
                 (separately and together); Review POC's, memorandum and various
                 legal theories involving allocation, settlement, ERISA and joint and
                 several liability.
11104/10     MAD Prepare for and participate in meeting with J. Heaney to discuss         3.75
                 issues; Follow-up to same.
11/04/10     MNK Multiple conferences with client and working group regarding             4.00
                 various issues in bankruptcy cases.
11104/10     MNK Travel from New York back to Chicago from attending client and           5.00
                 working group meetings.
11104/10     MNS E-mails  regarding PBGC liability issues.                                0.25
11104/10      RH Research regarding the right of contribution for PBGC liability.         3.40
11104/10      SB Conduct search for Amicus briefs filed by Pension Benefit Guaranty       0.50
                 Corporation in case 3:89-cv-2729 in the Northern District ofTexas
                 for Melissa Patterson per N. Braverman.
11104/10      SM Research regarding Blue Books from Enrolled Actuaries Meetings           0.50
                 for R. Heszkel.
11105/10     LEM Review multiple reply mediation statements by Debtor; US, Canada,        5.75
                 EMEA and related parties; Review ERISA issues; Conference with
                 M. Dantas.
11105/10     MAD Attend to Carling Sale Update; Review Mediation Reply Briefs.           3.25
11105/10     MNK Review correspondence from J. Heaney and L. Miller regarding            0.10
                 Committee joinder on Carling Facility sale.
11105/10     MNK Review supplemental declaration of D. Abbott in support ofM.            0.10
                 Nichols retention.
11105/10     MNK Review Notice of withdrawal of contracts for assignment regarding       0.10
                 Enterprise sale.
11106/10     MNK Review EMEA Mediation position paper.                                   2.10
11106/10     MNK Review Monitor's mediation brief.                                       1.80
11106/10     MNK Review CCC mediation brief.                                             0.70
11/06/10     MNK Review Chilmark presentation regarding allocation.                      2.90
11/07110     MNK Review NNI final mediation brief.                                       1.10
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    Date      Tkpr                              Description                              Hours
11/07/10      MNK Review mediation statement made by the Ad Hoc bondholders group.         0.10
ll/08/10      LEM Review memos and analyze settlement issues associated with               8.00
                   compromise of US claims versus Canadian and EMEA debtors;
                   Review case law and rules of review reply paper for all parties.
11108/10      MNK Review Notice of Amended Agenda for upcoming hearing.                    0.10
11108/10      MNK Review Sixth Order allowing interim professionals compensation and       0.20
                   exhibits to the same.
11108/10      MNK Review Notice of Withdrawal regarding sale of Carling Facility filed     0.10
                   by Monitor.
11108/10      MNK Review assumption and assignment notice regardingsale ofLP               0.20
                   interests.
11108/10      MNK Work on memorandum regarding Law Debenture exposure issues               4.50
                   related to mediation.
11109110      LEM Review reply papers filed by US; Canadian and EMEA Estates;              7.50
                   Analyze various settlement positions.
11109/10      MAD Address allocation issues; Telephone calls with L. Miller and M.         4.75
                   Khambati; Review materials and indenture.
11109/10      MNK Review Debtors' application to retain Torys LLP as special Canadian      0.50
                   counsel in the bankruptcy cases.
11/09/10      MNK Review Order granting Debtors' Fifteenth Omnibus Objection to            0.10
                   Claims.
11/09/10      MNK Review Order authorizing retention ofBenesch Friedlander as special     0.10
                   litigation counsel.
11109/10      MNK Review Supplemental Declaration of J. Bromley regarding retention,      0.10
                  disclosing prior Canadian work and conflicts waiver.
11109/10      MNK Review supplement to OCP list.                                          0.10
11109/10      MNK Review and respond to correspondence from L. Miller regarding           0.10
                  composition of Ad Hoc Committee.
11109/10      MNK Review, analyze and draft memo regarding Law Debenture exposure         3.80
                  issues.
11/10/10      LEM UCC call; Review related relevant documents; Conference with M.         4.25
                  Dantas; Review mediation position papers of various parties.
11/10/10      MAD Telephone calls with L. Miller and M. Khambati regarding                4.25
                  committee calls; Address allocation issues; Telephone call with M.
                  Steinman.
11110/10      MNK Participate in weekly Committee conference call.                        0.90
11110/10      MNK Conference with L. Miller regarding status and strategy in the          0.50
                  bankruptcy cases.
11110/10      MNK Continue reviewing and analyzing case law and statutory materials       4.50
                  governing committee liability and review and revise memorandum
                  describing the same.
11111110      LEM Review PBGC's Lone Star brief concerning contribution with              1.75
                  reference to controlled group and other memos.
11/11110      MAD Review Lone Star Case; Review materials from M. Peterson; Attend        4.25
                  to preparation for meeting with client; Review memorandum
                  prepared by M. Khambati and comment on same.
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   Date       Tkpr                               Description                            Hours
11/11/10      MNK Continue researching and reviewing case law and statutory materials     6.80
                    and drafting memorandum regarding trustee/committee member
                    exposure issues; Send draft to working group for review and
                   consideration.
I 1/11/10     MNK Review Debtors' schedules and miscellaneous matters and prepare         1.90
                   for upcoming meeting on Norte} issues.
11111/10      MNK Review MSS (Passport) AlP statement submitted by Capstone.              0.30
11/11/10      MNS Review Lonestar brief.                                                  0.25
11111110       MP Review PBGC brief and discuss with M. Steinman.                         1.60
11112/10       BB  Search for Norte! Networks Capital Corp. and Norte} Networks           0.10
                   Limited notes offering in 1996. (M. Dantas)
11/12/10      LEM Several meetings with J. Heaney, M. Dantas, M. Khambati. P.             7.75
                   Ivanick and T. Karcher; Review prospectus and registration
                   statement for NNCC bonds; Review position of mediation
                   participants.
11/12110      MAD Lengthy meetings with L. Miller and M. Khambati; Participate on         7.50
                   committee call; Office conference with P. Ivanick and T. Karcher;
                   Office conference with M. Steinman; Attend to strategy.
11/12/10      MNK Review Debtors' Notice of assumption and assignment of certain          0.10
                   contracts regarding MEN sale.
11/12/10      MNK Travel to New York for status and strategy meetings with bankruptcy     2.50
                   group.
11112/10      MNK Travel from New York after attending Nortel bankruptcy strategy         3.00
                   meetings.
11112/10      MNK Attend and participate in multiple status and strategy meetings         3.00
                   regarding Norte} bankruptcy cases and issues.
11/12/10      MNK Participate in Committee call on allocation issues.                     0.50
11/12/10      MNS Meeting with M. Dantas, L. Miller, M. Khambati, P. Ivanick, T.          1.50
                   Karcher, M. Peterson regarding PBGC and allocation issues.
11/12/10       MP Conduct research; Meeting with M. Dantas, M. Steinman, P. Ivanick,     2.00
                   T. Karcher and M. Khambati.
11/12/10      PAl Prep for and attend internal meeting with M Dantas, L. Miller, M.       1.00
                   Khambati. M. Steinman and T. Karcher regarding settlement and
                   allocation issues and regarding PBGC issues.
11/13/10      MNK Review UK Pension Parties mediation submission against Nortel           1.40
                   Canada.
11113/10      MNK Review UK Pension Parties mediation statement against Nortel US        0.80
                   andCALA.
11/13/10      MNK Review mediation submissions on behalf of Fourth Estate.               2.20
11/14/10      LEM Calls with D&L team and UCC regarding update on mediation and          2.50
                   analysis of various estates positions.
11/14110      MAD Telephone call with L. Miiler and M. Khambati regarding arbitration    3.50
                   status; Review materials.
11/14/10      MNK Review correspondence from F. Hodara regarding allocation status.      0.10
11/14110      MNK Participate on Committee call regarding allocation related issues.     0.30
11/14/10      MNK Participate in conference with working group regarding status and      0.30
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   Date       Tkpr·                            Description                              Hour·s
                  strategy on bankruptcy and allocation-related issues.
11114110     MNK Continue reviewing mediation submissions on behalf of Fourth             1.70
                 Estate.
11114/10     MNK Review US Debtors and Ad Hoc Bondholders reply papers.                   3.20
11114/10     MNK Review Canadian Monitor and CCC mediation Reply papers.                  2.20
11115/10     LEM UCC Nortel call regarding mediation update; Review indenture             4.75
                 regarding holder direction and indemnification; Review DB/White &
                 Case ideas/position; Review Akin e-mails.
11115110     MAD Attend to allocation issues; E-mails with L. Miller.                     1.25
11115/10     MNK Multiple conferences with J. Heaney and L. Miller regarding              0.40
                 noteholder direction issues.
11115110     MNK Participate on Committee call regarding mediation status.                0.30
11/15/10     MNK Review Trust Indenture provisions and draft and send                     0.50
                 correspondence describing the same to working group.
11115/10     MNK Conference and communicate with M. Dantas regarding trustee              0.10
                 administrative claims issue.
11115/10     MNK Review Tory's retention summary sent by B. Kahn.                         0.10
11115/10     MNK Review correspondence from D. Batter regarding allocation status.        0.10
11115110     MNK Review Debtors' motion seeking approval of side agreement                1.10
                 regarding Lazard fees from escrowed sums.
11/15/10     MNK Review contracts assumption notice regarding CVAS sale.                  0.10
11115/10     MNK Review EMEA Reply papers.                                                0.80
11115/10     MNK Review Fourth Estate Reply letter.                                       0.10
11115/10     MNK Review UK Pension Parties Reply brief.                                   1.30
11116/10     LEM UCC Norte] call; D&L internal analysis call; Review multiple             3.75
                 allocation issues concerning, USA, Canadian and EMEA.
11116/10     MAD Review e-mail from M. Peterson; Review additional Lone Star              4.75
                 materials; Telephone calls with L. Miller; Address DB issues;
                 Telephone call with M. Steinman; Review materials.
11/16/10     MNK Participate in Committee conference regarding allocation issues.         0.80
11116/10     MNK Conference with working group regarding Trust Indenture issues.          0.30
11/16/10     MNK Review Order and Stipulation concerning participation of Pension         0.20
                 Regulator in mediation.
11/16/10     MNK Review PBGC complaint against Asahi Tee Corporation sent by M.          0.30
                 Steinman.
11116/10      MP Review e-mail from M. Steinman regarding PBGC complaint                 0.25
11117/10     LEM Review NYTs PBGC article on it's collection tactics; Update client      3.75
                 on DB call; Review Akin E-mails and prepare response; Telephone
                 call with J. Heaney; Telephone call with M. Khambati.
11/17/10     MAD Review and address F. Hodara's e-mail on allocation; Telephone call     3.50
                 with M. Khambati.
11/17/10     MNK Conferences with J. Heaney and L. Miller regarding status and           0.30
                 strategy in noteholder communications.
11/17/10     MNK Multiple  conferences and communicate with M. Peterson regarding        1.40
                 bankruptcy court searches for Lone Star; Conduct online searches for
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   Date        Tkpr                                 Dt•scdption                              Hom·s
                      Lone Star materials and multiple conferences with Bankruptcy
                      Clerk's office (Dallas) and National Archives regarding materials.
11117/10       MNK    Multiple conferences with J. Uzzi and working group regarding            1.00
                      status and strategy on bankruptcy issues.
11/17/10       MNK    Review Lone Star restructuring article (March 26, 2991) sent by M.       0.10
                      Peterson.
11117/10       MNK    Review correspondence from M. Steinman regarding PBGC                    0.10
                      collection efforts.
11117/10       MP     Review court filings; Discuss with M. Steinman and M. K.hambati;         2.50
                      Discuss case filings with library; Search for case law.
I 1118/10      LEM    Review legal theories; Review Chemtura article on                        3.25
                      negotiation/resolution of UK pension liabilities; Conference with M.
                      Dantas regarding macro asset division and USA interse distribution's
                      under various legal/factual theories.
11118110      MAD     Meeting with L. Miller and M. Khambati regarding meeting with           3.75
                      Capstone; Review Capstone analysis; Meeting with J. Heaney, L.
                      Miller and M. Khambati.
11/18/10      MNK     Conference with L. Miller regarding status and strategy based on        0.80
                      noteholder concerns.
11/18110      MNK     Review NNCC Notes prospectus sent by B. Braverman.                      0.30
11118110      MNK     Review Chemtura pensions article sent by L. Miller.                     0.10
11119/10       LEM    Conference with M. Khambati; Telephone call with J. Uzzi of White       4.25
                      & Case regarding Deutsche Bank issues; Report to J. Heaney of Law
                      Debenture regarding DB discussion; Review Lone Star case issues;
                      Review legal theories regarding NNI, NNCC; Contribution; Joint and
                      Several and priority claim.
11119110      MNK     Conferences and communicate with L. Miller and J. Uzzi regarding        0.60
                      potential noteholder remedies.
11/19/10      MNK     Review supplemental declarations filed by Morris Nichols and            0.10
                      Huron.
11/19/10       MP     Conduct research.                                                       0.20
11/20/10      MNK.    Review Agenda for upcoming hearing.                                     0.20
11122/10       LEM    Review documents/charts; Lengthy meeting with M. Khambati;              4.50
                      Telephone call with M. Dantas; Meet with J. Heaney; Meet with
                      Akin and Capstone at Akin; Conference with J. Heaney and M.
                      Khambati.
11122/10      MAD     Meeting with L. Miller and M. Khambati; Meeting with J. Heaney, L.      4.25
                      Miller and M. Khambati regarding allocation and PBGC Claim;
                      Review materials.
11/22/10      MNK     Travel to New York to attend meetings with Committee professionals      2.50
                      regarding Law Debenture allocation.
11122/10      MNK     Travel from New York after attending Committee meetings.                3.50
11122/10      MNK     Participate in multiple conferences with client and Norte! working      3.00
                      group regarding issues, status and strategies.
11/22/10      MNK     Participate in meeting with Committee professionals regarding Law       2.00
                      Debenture allocation issues.
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   Date       Tkpt·                                Description                          Hours
11/23/10      LEM Participate in UCC weekly call; Review Escrow Agreement review          4.50
                     other analysis/forecasts; Review legal/factual analysis; Regarding
                     2024 NNCC bond recovery.
11123/10      MAD Telephone calls with M. Khambati; Telephone call with L. Miller and     3.25
                     M. Khambati; Telephone call with M. Steinman; Address allocation
                     issues; Review materials.
11/23/10      MNK Participate in weekly Committee call.                                   1.20
11/23/10      MNK Review Nortel cash forecasts circulated by Capstone.                    0.40
11123/10      MNK Review Amended Notice of Agenda of upcoming hearing.                    0.20
11124/10      LEM Review case law and related materials for NNCC bonds recovery           3.75
                     under various scenarios.
11124/10      MNK Review Genband stay relief motion and related attachments.              0.80
11124/10      MNK Review multiple Debtors' motions for order approving claims             0.50
                    stipulations for certain claimants.
11124/10      MNK Review Debtors' motion seeking to enforce Court Order approving         0.90
                    sale ofVOIP assets to Genband and separate motion to file under
                    seal.
11126/10      MNK Review Notice of Withdrawal of objection to Claim No. 5896.            0.10
11/26/10      MNK Review filing by Debtors regarding revised exhibits to Lazard fees     0.20
                    motion.
11/26110      MNK Review Notice of withdrawal of Debtors' motion regarding dispute       0.10
                    with Avaya over Enterprise sale escrowed funds.
11/26/10      MNK Review 12th Supplemental Declaration of J. Bromley with respect to     0.10
                    Cleary retention.
11127/10      MNK Review Notice of(STARTech's) exercise of right of first refusal with   0.10
                    respect to sale of certain limited partnership interests.
11128110      MNK Review memorandum regarding sale of Carling facility.                  0.20
11/28110      MNK Review correspondence from J. Hyland regarding meeting with the        0.10
                    Debtors.
11/28110      MNK Review correspondence from B. Kahn regarding Carling facility sale     0.10
                    update.
11/29110      LEM Review memorandum and authority in preparation for meeting with        6.50
                    Debtor; UCC counsel and Ad Hoc Comm.; Long conference with M.
                    Dantas; Various e-mails and phone calls.
11129!10      MAD Meeting with L. Miller and follow-up to same; Address allocation       4.75
                    issues and Ad Hoc Issues.
11/29/10      MNK Conference with L. Miller regarding status and strategy.               0.30
11129/10       MP Review docket.                                                         0.50
11130/10      LEM Prepare for meeting with Ad Hoc Comm., review                          6.00
                    documents/memos/briefs; Review authorities; Various e-m ails and
                    phone calls.
11/30/10      MAD Prepare for meeting with client and Ad Hoc Group; Review PBGC          5.25
                    materials from M. Steinman.
11/30!10      MNK Review Order authorizing retention ofTorys LLP as US Debtors'          0.10
                    Canadian counsel.
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   Hate      Tkpt·                               Description                                  Hout·s
11130/10     MNK Review First Supplement to Order granting Thirteenth Omnibus                   0.10
                   Objection to Claims.
11/30/10     MNK Review Order authorizing sale of limited partnership and LLC                   0.40
                   interests.
11130/10     MNK Review First Supplemental Order granting Debtors' Fifteenth                    0.10
                   Omnibus claims objections.
11130/10     MNK Review Order authorizing Debtors to enter into Lazard Side                     0.10
                   Agreement.
11/30/10     MNK Review Debtors' Motion to retain Addrex, Inc. as broker for sale of            0.30
                   Internet protocol numbers.
11/30/10     MNK Review Nortel bond prices update sent by B. Braverman and respond              0.10
                   to correspondence from her regarding san:te.
12/01/10     LEM Review documents and outline issues; Prepare for meeting with M.               7.50
                   Khambati and M. Dantas; Subsequently meet with J. Heaney and M.
                   Dantas; Meet with Akin UCC; Meet with Ad Hoc bondholder
                   committee and their legal and fmancial advisors; Meet with Akin to
                   discuss status and with client to discuss status/process; Participate in
                   UCC weekly update call.
12/01110     MAD Meeting with M. Khambati and L. Miller; Meeting with J. Heaney, L.             3.75
                   Miller and M. Khambati and prepare for same; Post meeting with L.
                   Miller.
12/01/10     MNK Travel to New York to attend meetings with UCC and professionals               3.00
                   for Ad Hoc holders regarding 2026 distribution issues and strategies
                   [w/o 1.0 for delays].
12/01/10     MNK Participate in weekly Committee meeting.                                       0.60
12/01110     MNK Participate in conferences with client and working group regarding             2.00
                   2026 Notes distribution issues.
12/01/10     MNK Participate in multiple conferences with counsel and advisors for Ad          2.50
                   Hoc bondholders, Committee and working group regarding 2026
                   Noteholder issues and recoveries in these bankruptcy cases.
12/01110     MNK Travel from New York back to Chicago after attending strategy                 3.00
                   meetings [w/o 2.5].
12/02/10     LEM Conference with J. Borow; Telephone conference with M. Khambati;              3.50
                   Review materials from 12/1 OCO/Ad Hoc meetings; E-mails; Review
                   PBGC issues.
12/02/10     MAD Follow-up regarding PBGC claims.                                              1.25
12/02/10     MNK Multiple conferences and communicate with J. Borow, L. Miller and             0.40
                   D. Batter regarding 2026 Notes issues.
12/02/10     MNK Analyze and prepare Norte! litigation budget.                                 4.50
12/02/10     MNK Review Agenda of matters for upcoming hearing.                                0.10
12/02/10     MNK Review Notice of Agenda for upcoming hearing.                                 0.10
12/03110     LEM Review/comment on proposed negotiation/litigation budget;                     4.50
                   Consider/analyze strategies to increase 2026 bonds recovery.
12/03110     MAD Review proposed budget memo; Attend to open matters.                          1.75
12/03/10     MNK Continue reviewing, analyzing and preparing litigation budget for             5.50
                   Norte! and forward to working group for review and consideration.
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   Date       Tkpr                                 Description                            Hours
12/03110       MP Review docket.                                                            0.40
12/05/10      MNK Review waterfall information submitted by Capstone and analyze            1.80
                    alternative distribution theories.
12/06/10      LEM Review proposed future budget in depth; Consider alternative              3.00
                    strategies to minimize/defeat PBGC claim.
12/06/10      MNK Review Notice of Withdrawal of Debtors' motion regardingtax               0.10
                    liabilities.
12/06/10      MNK Review Amended Agenda of matters for upcoming hearing.                    0.10
12/06/10      MNK Review Agenda of matters for upcoming hearing.                            0.10
12/06/10      MNK Continue reviewing and analyzing recovery options for holders of          4.50
                   2026 Notes.
12/06/10       MP Review docket; Call with M. Khambati regarding docket.                    0.70
12/07/10      LEM Review retention application of Addrex regarding the sale of Internet     3.25
                   Protocol numbers; Continue to review PBGC/Joint and several
                    issues.
12/07/10      MNK Review docket for East Texas Steel Facilities case and note relevant      1.80
                   documents for potential use in this case.
12/07/10      MNK Review Agenda for matters scheduled for hearing on December 81h.          0.10
12/07110      MNK Continue researching, reviewing and analyzing distribution options        4.90
                   for 2026 Notes.
12/07/10      MNK Review Committee summary on retention of Addrex as broker for the         0.20
                   sale of the Internet protocol numbers.
12/07/10       MP Review docket; Discuss matter with M. Khambati; Calls with library       2.40
                   regarding document requests.
12/08110      MNK Continue reviewing and analyzing Law Debenture options in                3.80
                   furtherance of increased distributions to 2026 Notes.
12/08/10      MNK Review Notice of cancellation for upcoming hearing.                      0.10
12/08/10      MNK Review Debtors' letter to EMEA regardingfunds at hand.                   0.10
12/08/10      MNK Review headcount analysis prepared and circulated by Capstone.           0.40
12/08110      MNK Review cash forecast prepared and circulated by Capstone.                0.70
12/09/10      LEM Review materials for UCC call and participate in call; Telephone         8.25
                   conference with M. Dantas; Conference with M. Khambati;
                   Conference with Capstone and Akin teams regarding 2026 bond
                   recoveries; Joint and several issues; PBGC and ERISA issues;
                   Conference with M. Khambati.
12/09110      MAD Address ongoing allocation issues and meeting with L. Miller.            2.25
12/09/10      MNK Travel to New York to attend meeting with Committee professionals        3.00
                   regarding 2026 distributions.
12/09/10      MNK Participate on weekly Committee call.                                    1.00
12/09/10      MNK Participate in multiple conferences with working group and               4.50
                   Committee professionals regarding 2026 distributions and options.
12/09/10      MNK Travel to Chicago after attending meetings with working group and        3.50
                   Committee professionals.
12/10/10      LEM Consider issues discussed at yesterday's meeting with Capstone and       3.75
                   Akin teams; Review allocations issues; Analyze Capstone charts;
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   Date       Tkpr                                  Description                            Hou1·s
                      Telephone conference with M. Dantas.
12/13110      LEM     Telephone conference with M. Dantas regarding PBGC issues;             2.50
                      Analyze PBGC and joint and several issues for 2026 bond-related
                      issues.
12/13/10      MAD     Several telephone calls with L. Miller regarding strategy; Review      2.00
                     materials.
12/13/10      MNK    Review multiple Orders and attachments approving claims resolution      0.40
                     stipulations.
12/13/10     MNK     Review Committee Joinder regarding Genband purchase price               0.30
                     dispute.
12/13/10     MNK     Review Supplemental Declaration of J. Regan in support of special       0.10
                     counsel retention.
12/14110      LEM    Review Morris Nichols's e-mail regarding agenda of court matters;       1.25
                     Telephone conference with M. Dantas; Consider general funding
                     issues.
12114/10      MNK    Draft memorandum on piercing the corporate veil and substantive         3.90
                     consolidation remedies.
12/14/10     MNK     Review Agenda for matters scheduled for upcoming hearing.               0.10
12/15/10     LEM     Analyze major UK pension case decision; Review Huron avoidance          4.50
                     action summary by Capstone; Participate in UCC call; Review
                     Ottawa news article regarding Canadian pensions; Consider proceeds
                     allocation issues (EMEA, Canad~ USA); UK pension issues; I.P.
                     update (bidding update).
12/15/10     MAD     Prepare for and participate on committee call; Post call conference     2.00
                     with L. Miller.
12/15110     MNK     Participate on weekly Committee conference call.                        1.20
12/15/10     MNK     Continue researching and reviewing case law on 2026 recovery            3.20
                     issues and drafting memorandum regarding same.
12/15/10     MNK     Review Amended Agenda for matters scheduled for hearing.                0.10
12/16110     MAD     Attend to ongoing allocation issues.                                    1.50
12116110       MP    Review documents received in connection with research.                  1.40
12/17110      LEM    Review periodic Nortel update for Law Debenture; Review/analyze         2.25
                     IRS tax deferral issues.
12/17/10     MAD     Call with L. Miller.                                                    0.50
12/17110     MNK     Prepare and send case status update addressed to R. Reale at Law        0.20
                     Debenture to working group for review and consideration.
12/17110     MNK     Review e-mail correspondence from B. Kahn regarding tax                 0.10
                     determination status.
12/20/10     MAD     Review of memorandum on piercing corporate; Veil and substantive        1.25
                     consolidation.
12/21110      LEM    Review/Analyze Memorandum on Piercing the Corporate Veil and           3.75
                     Substantive Consolidation; Conference with M. Dantas; Review case
                     law.
12/22/10      LEM    Continue analysis of Corporate Veil and Substantive Consolidate        4.50
                     issues as well as joint and several implication.
12/22/10     MNK     Review and analyze Debtors' Sixteenth and Seventeenth Omnibus          0.50
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   Date       Tkpr                                 Description                              Hours
                      claims objections.
12/23/10      LEM     Participate in UCC weekly call; Review UCC exhibits; Telephone          2.50
                      conference with M. Khambati; Consider IP monetization issues;
                      Review sub-Committee issues; Review case law.
12/23110      MNK     Participate on weekly Nortel Committee call.                            1.10
12/28/10      LEM    Consider PBGC Joint and several claim issues; Review relevant            2.75
                      statutes.
12/29/10      LEM     Review memorandwn from M. Bienenstock; Telephone conference             2.25
                      with M. Dantas and M. Khambati. Review PBGC, Jt. and Several
                      issues
12/29/10      MAD    Attend to bondholder inquiries; Calls with L. Miller and M.              1.75
                     Khambati.
12/30/10      LEM    Prepare for several meetings on January 3rd with M. Bienenstock, T.      5.50
                     Karcher and P. Ivanick and M. Dantas; Review issues; Memoranda
                     and e-mails; Prepare outline of issues.
01101111      MNK    Review article on Nortel pensioners.                                    0.20
01103111      LEM    Review memorandwns/e-mails/Capstone Reports; Outline history            8.50
                     and analysis ofNortel filing; Several telephone and in person
                     conferences with M. Dantas, M. Khambati, P. Ivanick, T. Karcher,
                     M. Bienenstock; Discuss/analyze multiple issues.
01103/11      MAD    Prepare for an meet with P. Ivanick regarding strategy; Meeting with    3.00
                     M. Bienstock, T. Karcher, L. Miller and P. Ivanick.
01/03/11      MNK    Review Order Approving Retention of Addrex for Debtors' Internet        0.10
                     protocol numbers.
01103/11      MNK    Review 57th Report of Canadian Monitor (distributions to                0.40
                     employees) filed and served in the bankruptcy cases.
01103/11      MNK    Review Debtors' motion seeking extension of time for IRS to             0.20
                     complete examination.
01/03/11      MNK    Review Debtors' motion seeking approval of stipulation with U.S.        0.80
                     Bank regarding turnover of property.
01/03111      MNK    Review Debtors' motion seeking authority to pay certain wind-down       0.50
                     expenses.
01103/11      MNK    Review Order allowing professionals fees filed and served in the        0.30
                     bankruptcy cases.
01/03/11      MNK    Review Notice of Agenda for upcoming hearing.                           0.10
01103/11      PAl    Conference with M. Dantas regarding background; Meeting with M.         1.50
                     Dantas, L. Miller and T. Karcher and M. Bienenstock regarding
                     issues, etc.
01/03/11      TQK    Confer with M. Khambati and review e-mail related to request            0.80
                     regarding closing materials for indenture.
01/04/11      LEM    Analyze possible sources of increasing 2026 bond recoveries.            5.75
01104/11      MAD    Attend to open issues.                                                  1.25
01/05111      MAD    Attend to e-mails.                                                      0.50
01105/11      MNK    Review 58th Report of Monitor filed and served in the bankruptcy        0.40
                     cases.
01105/11      MNK    Review Notice of Supplement to list of OCPs filed and served in the     0.10
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   Date       Tkpt·                             Des<Tiption                              Hours
                   bankruptcy cases.
01/05/11     MNK Review and analyze Capstone APA CICALA Cash Repatriation                  0.40
                   Report.
01/05/11     MNK Review and analyze Capstone cash forecast.                                0.80
01106/11     LEM Participate in Nortel weekly UCC call; Analyze/consider intellectual      4.25
                   property monetization issues and proceeds allocations matter; Also
                  analyze PBGC/Joint and several issues.
01106/11     MAD Attend to open issues and e-mail correspondence.                          1.25
01/06/11     MNK Multiple conferences with T. Karcher and L. Miller regarding              1.30
                  documents needed from Debtors; Draft demand letter; Communicate
                  with Committee counsel regarding document request; Review and
                  revise draft demand letter per comments from T. Karcher.
01/06/11     MNK Participate in weekly Committee call.                                    1.50
01/06/11     MNK Review and analyze EMEA Chapter 15 recognition order circulated          0.20
                  by B. Kahn.
01/06/11      PAl Foiiow-up with T. Karcher regarding Support Agreement; E-mails          0.25
                  regarding same.
01/06/11     TQK Attend to Letter request for documents in Nortel. Discussion with M.      1.50
                  Khambati.
01107/11     LEM Review EMEA's Chapter 15 proposed order with Markups.                    1.50
01110/11     MNK Review Notice of Agenda for matters scheduled for upcoming               0.20
                  hearing.
01111/11     LEM Review PBGC claim assertion and related ERISA issues.                    3.25
01111111     MNK Review Notice of Amended Agenda for upcoming hearing.                    0.20
01111111     MNK Conference with P. Fitzgerald from Gleacher & Co. regarding PBGC         0.30
                  claim.
01111111     MNK Review Capstone Claims update.                                           0.40
01112/11     LEM Review materials from Capstone; Participate in UCC weekly cal~           3.50
                  Consider PBGC claim and joint & Several issues.
01112/11     MNK  Review   Second Amended Agenda of matters for upcoming hearing.         0.10
01/12/11     MNK Attend Weekly Committee Conference call.                                 0.80
01/12/11     MNK Communicate with J. Bromley and K. Hailey regarding document             0.20
                  production request and status.
01113/11     MNK Conferences with L. Miller regardingstatus and strategy.                 0.50
01113/11     MNK Multiple conferences with T. Karcher regardingstatus of disclosure of    0.40
                  bond transcript from the Debtors.
01113/11     TQK Follow-up regarding Norte! claim and support agreement.                  1.20
01114/11     MNK Review and respond to correspondence from L. Miller regarding            0.70
                  board meeting outlines; Review and forward prior e-mail
                  correspondence to L. Miller; Review UK Pension FSD materials;
                  Conference and communicate with L. Miller regarding same.
01114/11     MNK Review bond transcript index sent by K. Hailey and multiple              0.40
                  correspondence and conference with her and working group
                  regarding same and missing documents.
01114111     MNK Review article from L. Miller on Nortel Canada accounting charge.        0.10
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   Date       Tkpr                               Desct·iption                           Hours
01114111      TQK Follow-up regarding documents in connection with Support                0.80
                    Agreement
01117/11      MNK Review and respond to correspondence from K. Hailey regarding           0.20
                    status of document production.
01117/11      MNK Review Order authorizing Debtors to fund wind-down costs.               0.20
01118/11      MNK Review Order extending time for IRS to complete examination.            0.10
01/18/11      MNK Review Order approving stipulation resolving certain claims.            0.10
01118/11      MNK Review Order approving stipulation regarding claim filed by BSI         0.10
                    Sub.
01118/11      MNK Review Nortel motion for stay relief against Automotive Rentals.        0.40
01118/11      MNK Review Motion seeking to establish deadlines for responsive             0.20
                   pleadings filed by foreign defendants.
01/18/11      MNK Review Monitor's Supplemental Report filed and served in the            0.90
                   bankruptcy cases.
01119/11      MNK Research and review case law and analyze third party claims in          4.50
                   bankruptcy and draft memorandum regarding same.
01/19/11      MNK Review correspondence from L. Miller regarding Law Debenture            0.10
                   conflicts for UK Pension trustee role.
01119/11      MNK Review and respond to correspondence from L. Miller                     0.10
                   regardingstatus of Debtors' document production.
01119/11      MNK Correspond with K. Hailey regardingstatus of Debtors' document          0.10
                   production.
01120/11      LEM Meeting with UCC, review materials.                                     2.00
01120/11      MNK Participate in weekly Nortel Committee meeting.                         0.80
01120/11      MNK Review Capstone estate assets and claims report.                        0.70
01120/11      MNK Review Capstone Nortel extended cash forecast.                          0.60
01120/11      TQK Review support agreement                                                0.50
01/24/11      MNK Review 2019 Statement filed by Pepper Hamilton.                         0.10
01/24/11      MNK Review TAB waiver request sent by T. Montgomery.                        0.10
01125/11      MNK Review and respond to correspondence from L. Miller                     0.10
                   regardingstatus.
01/25/11      MNK Review Omnibus Hearing Dates Certification and Order filed and          0.10
                   served in the bankruptcy cases.
01/25/11      MNK Review Notice of upcoming hearing.                                      0.20
01/25/11      MNK Communicate with K. Hailey regarding status of document                 0.10
                   disclosures.
01/26/11      MNK Review Debtors' Application for expanded employment of Mercer           0.40
                   filed and served in the bankruptcy cases.
01/26/11      MNK Review Nortel Bond Pricing analysis prepared and sent by Jefferies.     0.50
01126/11      MNK Review materials on Passport AlP prepared and circulated by             0.40
                   Capstone.
01126111      MNK Review Amended Agenda of matters going forward at next omnibus         0.10
                   hearing.
01127111      LEM Meeting with UCC, review materials.                                    2.00
01127/11      MAD Attend to open matter.                                                 3.25
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   Date      Tkpr                              Description                                Hours
01/27/11     MNK Communicate with L. Miller, D. Botter, K. Hailey and J. Bromley            0.40
                   regarding document production.
01127/11     MNK Participate in weekly Committee call.                                      0.70
01127/11     MNK Review ARl Response to Debtors' stay enforcement papers.                   0.40
01127/11     MNK Research, review and analyze case law and legal support for NNCC           1.50
                   claim against NNI.
01/28/11     MNK Multiple conferences and communicate with T. Karcher, L. Miller, B.        1.50
                   Kahn, D. Botter and F. Hodara regarding issues and concerns relating
                   to Support Agreement and Law Debenture recoveries in the cases.
01/28/11     MNK Review Amended Agenda for matt~ on upcoming hearing.                       0.20
01/31/11     GMW Advice regarding Nortel support agreement.                                 0.70
01/31/11     LEM Review e-mails and distribution issues; Telephone conference with          4.25
                   Maria Dantas; Telephone conference with M. Khambati; E-mails
                  with G. Williams regarding Support Agreement.
01131111     MAD Telephone call with L. Miller regarding open issues; E-mail                3.25
                  correspondence regarding Support Agreement; Review materials.
01131111     MNK Review Second Amended Agenda for upcoming hearing.                         0.20
01/31/11     MNK Multiple conferences and correspondence with L. Miller and G.              1.30
                  Williams regarding Support Agreement and Law Debenture
                  recoveries.
02/01/11     LEM Review Support Agreement related issues; PBGC, Joint & Several             3.75
                  and ERISA issues; Review Mercer retention issue.
02/01/11     MNK Review Order granting Seventeenth Omnibus Objection to Claims.            0.10
02/01/11     MNK Review correspondence from B. Kahn regarding Mercer                       0.20
                  supplemental retention application.
02/02/11     LEM Review various closing/Support Agreement documents; Prepare for           3.25
                  UCC call; Review materials.
02/02111     MNK Conferences with B. Kahn regarding Support Agreement issues.              1.10
02/03/11     LEM Discuss letter regarding closing binder with Cleary and Khambati;         4.25
                  Participate in UCC call and review documents attachments;
                  Telephone conference with M. Dantas; Review Support Agreement
                  issues; Conference with Akin & Jefferies regarding Support
                  Agreement.
02/03/11     MNK Participate in weekly Committee caB.                                      1.10
02/03/11     MNK Conference with L. Miller regarding status and strategy in Norte!.        0.40
02/03/11     MNK Communicate with K. Hailey and Akin regarding status of bond              0.30
                  transcript disclosure.
02/03/11     MNK Review and respond to correspondence from B. Kahn regarding               0.10
                  Support Agreement issues.
02/03/11     MNK Review proposed NBS (second half) AlP prepared and sent by                0.40
                  Capstone.
02/03/11     MNK Review preference update prepared and sent by Capstone.                   0.30
02/03/11     MNK Review Norte! cash forecast prepared and circulated by Capstone.          0.60
02/04/11     LEM E-mails regarding meetings with Akin (Hodara) and Jefferies;              1.75
                  Telephone conference with M. Dantas; Review documents.
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    Date     Tkpr                               Description                             Hom·s
02/04111     MNK Review update on bond prices.                                            0.10
02/04111     MNK Review Sprint Nextel motion to compel payment of administrative          0.30
                   claim.
02/04111     MNK Review and respond to correspondence from L. Miller regarding            0.10
                   2026 Notes recovery issues.
02/04/11     MNK Draft, revise, finalize and send correspondence to counsel for US        1.30
                  Debtors regarding status of 2026 Notes document disclosure.
02/07/11     LEM Review and comments M. Khambati memorandum to J. Heaney                  6.00
                  regarding Support Agreement; Conference with M. Dantas;
                  Preliminary Review of Closing Binder for 2026 bonds.
02/07/11     MNK Review Order granting Sixteenth Omnibus Objection to Claims.             0.10
02/07/11     MNK Review Notice of withdrawal of Thirteenth Omnibus Objection to           0.10
                  Claims with respect to Claim No. 6063.
02/07111     MNK Review article regarding treatment of Norte) deferred compensation       0.50
                  plan and papers filed and served by the Debtors in support of their
                  turnover motion regarding Plan assets.
02/07/11     MNK Review and analyze Debtors' Eighteenth Omnibus Objection to              0.50
                  Claims.
02/07/11     MNK Draft and send memorandum addressed to client regarding Support          2.90
                  Agreement.
02/07/11     MNK Review EMEA claims and recovery analysis prepared and circulated         0.70
                  by Capstone.
02/08/11     LEM Prepare for meeting with m~or 2026 holder; J. McGinnis of                5.50
                  Deutsche Bank; J. Ray (CRO), Cleary attorneys with M. Bienenstock
                  and M. Dantas; Review 2026 Closing Binders.
02/08/11     MAD Telephone ca1ls with L. Miller, Prepare for Norte] meeting with J.       2.75
                  Ray, M. Beinestock and J. McGinnis ofDeutsche Bank.
02/08111     MNK Review and revise memo to client regarding Support Agreement and         0.40
                  communicate with L. Miller regarding same.
02/08/11     MNK Review and respond to correspondence from L. Miller regarding            0.30
                  bond prices.
02/08/11     MNK Review Schedule for upcoming hearing.                                    0.10
02/08/11     MNK Review EMEA Term Sheet Appendices (reflecting recoveries in              0.80
                  EMEA and Canada) prepared and circulated by Capstone.
02/08111     TQK Attend to issues related to NorteI bankruptcy.                          0.50
02/09111     LEM Participate in UCC call; Review materials; Prepare for and meet at      6.00
                  Cleary with M. Bienestock, J. McGinnis, J. Ray, J. Bromley
                  regarding 2026 bonds; Regarding Valuation in Market and related
                  legal issues.
02/09/11     MAD Prepare for and attend meeting with Debtors.                            4.25
02/09111     MNK Conference with L. Miller regarding status and strategy.                0.50
02/09/11     MNK Participate in weekly Committee call.                                   0.90
02/09/11     MNK Review Notice of Amended Agenda of matters for upcoming                 0.20
                  hearing.
02/09/11     MNK Review supplemental declaration of J. Ray regarding director            0.10
                  replacements.
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    Date      Tkpr                               Descdption                               Hom·s
02/09/11      MNK Review and analyze articles regarding Beal v. Sommer and keep well        0.30
                    agreements sent by M. Dantas.
02/09/11      MNK Review and analyze article from M. Dantas regarding private equity        1.20
                    firms as borrowers and credit support providers and research and
                    review creditor enforcement of keep well agreements.
02/09/11      MNK Review and analyze EMEA Settlement term sheet prepared and                0.40
                    circulated by Capstone.
02/10/11       AS (Nortel) Review e-mail from M. Bienenstock and B. Murphy                  0.40
                    regarding Nortel research regarding enforceability of a support
                   agreement claim by a subsidiary in parent's bankruptcy. Review
                   support agreement.
02/10/11      BJM Review and reply to M. Bienenstock e-mail regarding solvency              0.10
                   agreement.
02/10/11      LEM Respond to issues raised by Jim McGinnis of Deutsche Bank; E-             3.50
                   mails; Telephone conference with M. Khambati; Respond to
                   additional Deutsche Bank e-mails issues; Address intercompany bar
                   date issue.
02/10/11      MNK Multiple correspondence and conferences with L. Miller and working        1.50
                   group regarding status and strategy.
02111111       AS (Nortel) Research regarding whether support agreement is a financial      2.30
                   accommodation contract.
02/11111       AS (Nortel) Research regarding whether support agreement claim is a          2.50
                   contingent claim for reimbursement or contribution under sec. 502(e)
                   ofthe Bankruptcy Code.
02/11/11       AS (Nortel) Research regarding subordination of non-contingent               0.50
                   contribution and reimbursement claims under section 509(c) ofthe
                   Bankruptcy Code.
02/11/11      AS (Nortel) Draft e-mail memo to B. Murphy regarding potential                1.20
                   treatment ofNorTel support agreement claim.
02/11111      AS (Nortel) Review Nortel bankruptcy pleadings.                              0.70
02/11111      BJM Analyze issues regarding enforcement risk.                               0.30
02111111      BJM Research regarding claim disallowance.                                   0.30
02/11/11      BJM Confer with A. Strygin regarding enforcement risk.                       0.20
02/11111      MNK Review Nortel current and historic bond pricing information and          0.40
                   conferences and communicate with B. Braverman and L. Miller
                   regarding same.
02/13111      BJM Review analysis.                                                         0.70
02114/11      AS (Nortel) Attention to e-mail to B. Murphy regarding Norte! support        2.60
                   agreement claim. (0.1); Meet with B. Murphy regarding same (0.2);
                   Revise e-mail memo to add discussion of equitable subordination
                   (0.5); and substantive consolidation (0.5); Phone call with B.
                   Murphy regarding treatment of capital or equity contribution
                   agreements as "fmancial accommodation contracts." (0.1); and
                   research same (0.5); Revise e-mail memo to B. Murphy regarding
                   Nortel support agreement claim per additional research and B.
                   Murphy's comments. (0.7)
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   Date      Tkpr                               Description                              Hours
02114/11      AS (Nortel) Draft detailed formal memorandum regarding Nortel support        1.50
                   agreement claim.
02/14/11     BJM Confer with A. Strygin regarding capital contribution agreement.          0.20
02/14/11     BJM Analyze capital contribution agreement.                                   0.20
02/14/11     BJM Telephone conference with M. Dantas regarding advice to client.           0.30
02/14/11     BJM Conference with A. Strygin regarding advice to client.                    0.20
02/14/11     LEM Participate in UCC call; Review materials, several e-mails; Review        6.25
                  closing binder issues; Review documents in binder prepare for
                  F ebruacy 11 meeting with J. Heaney of Law Debenture.
02/14111     MNK Participate on Committee call regarding sale of IP assets.                0.90
02114/11     MNK Review multiple correspondence from L. Miller, J. Heaney and M.           0.10
                  Dantas regarding Nortel documents and recovery discussion.
02115111      AS (Nortel) Additional research in connection with Nortel Memorandum         2.00
                  regarding claims for reimbursement or contribution.
02115/11      AS (Nortel) Continue drafting and finalizing Nortel Memorandum               3.50
                  regarding NorTel support agreement claim.
02115111     LEM Review documents in Closing Binder, E-mails.                             5.75
02/15/11     MNK Multiple conferences with non-NNCC holders regarding status in the       0.50
                  bankruptcy cases.
02/15/11     MNK Review multiple correspondence from Committee counsel, L. Miller,        0.10
                  and J. Heaney regarding upcoming conferences.
02116/11     LEM  Prepare  for and meet with J. Heaney and M. Dantas to discuss the       5.50
                  current status of 2026 bond distributions; Review closing binder and
                  related documents.
02/16/11     MAD Meeting with J. Heaney; Follow-up to same.                               3.00
02/16/11     MNK Conference with L. Miller regarding status and strategy in the           0.30
                  bankruptcy cases.
02/16/11     MNK  Review   Order regarding late filed claim entered by the Court.         0.10
02116/11     MNK Review supplemental declaration of D. Abbott in support of               0.10
                  retention.
02117/11     LEM Review/analyze the Support Agreement; PBGC claim, joint and              4.75
                  several issues; Telephone conference with M. Dantas.
02/17/11     MAD Attend to Support Agreement issues; Attend to Support                    3.00
                  Agreement/Keepwell Agreement research.
02/18111      AS (Nortel) Review Norte! memo regarding support agreement claim per        1.50
                  B. Murphy's comments.
02/18/11     BJM Revise memorandum regarding claim analysis.                              0.90
02/18111     LEM Continue Support Agreement analysis; Review Closing Binder issues        4.50
                  and PBGC issues.
02/18/11     MNK Review latest bond prices.                                               0.10
02/18/11     MNK Review Notice of matters scheduled for upcoming hearing.                 0.20
02/21111     BJM Edit Nortel memorandum.                                                  0.20
02/21/11     BJM Research disallowance standards.                                         1.20
02/22/11     AS (Nortel) Review cases provided by B. Murphy regarding criteria for        0.50
                  determining whether a claim is for reimbursement or contribution.
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    Date     Tkp1·                                Description                              llotn·s
02/22/11     AS      (Nortel) Discuss Nortel Memorandum with B. Murphy.                       0.10
02/22/11     AS      (Nortel) Edit Nortel Memorandum per B. Murphy's comments.                1.00
02/22/11     BJM     Confer with A. Strygin regarding memorandum to file.                     0.20
02/22111     LEM     Review/Analyze Ben Murphy's analysis of Support Agreement                2.75
                     issues; E-mails to various people; Review documents.
02/22/11     MAD     Address issues regarding support agreement; Calls with L. Miller;       4.75
                     Continued research.
02/22/11     MNK     Review and analyze Debtors' motion regarding Amended and                0.50
                     Restated MSS Side Agreement.
02/22/11     MNK     Review Order approving Stipulation between NNI and ARI.                 0.20
02/22111     MNK     Review notice of service of discovery (Interrogatories) by the Ad       0.10
                     Hoc Group of Beneficiaries upon the Debtors.
02/22/11     MNK     Review and analyze Debtors' motion and Stipulation resolving ACS        0.40
                     claims.
02/22/11     MNK     Review Notice of Eighteenth Supplement to OCP list.                     0.10
02/22/11     MNK     Review Debtors' Application to employ E&Y for tax-related services.     0.40
02/23/11     AS      (Nortel) Conference with B. Murphy regarding follow-up research on      0.10
                     keep-well and similar agreements in bankruptcy.
02/23/11     BJM     Telephone conference with M. Dantas and L. Miller regarding make        0.30
                     well analysis.
02/23/11     BJM     Telephone conference with A. Strygin regarding additional research.     0.20
02/23/11     LEM     Analyze Murphy's Support Agreement memorandum in detail;                4.50
                     Conference with M. Dantas; Telephone calls with J. McGinnis of
                     Deutsche Bank.
02/23/11     MAD     Address support agreement questions; Telephone call with L. Miller.     2.75
02/23/11     MNK     Review Project Iceberg (IP Sale) activity report prepared and           0.20
                     circulated by Jefferies.
02/23111    MNK      Review Corporate Group AlP Results prepared and circulated by           0.70
                     Capstone.
02/23/11    MNK      Review 2011 NBS Retention Plans prepared and circulated by              0.60
                     Capstone.
02/23/ll    MNK      Review Nortel Cash Forecast prepared and circulated by Capstone.        1.10
02/24/11    AS       (Nortel) Research regarding treatment of keep-well agreements in        3.00
                     bankruptcy (2.7) Draft e-mail to B. Murphy regarding same. (0.3)
02/24/11     DPB     Conference with M. Dantas and research regarding Support                2.00
                     Agreement, etc.
02/24111    GMW      Telephone conference M. Dantas regarding support agreement.            0.30
02/24/11    LEM      Telephone calls to J. McGinnis of Deutsche Bank; Participate in        6.00
                     UCC call and analyze materials, focus on proceeds allocation and IP
                     issues; Review Support Agreement issues; Review closing binder and
                     documents; Telephone calls with G. Williams and M. Dantas.
02/24/11    MAD      Telephone calls with G. Williams and L. Miller regarding               4.25
                     enforceability of support/Keepwell Agreements; Office conferences
                     with D. Bicks regarding Keepwell Agreements; Review precedent;
                     Attend to research.
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   Date       Tkpr                               Description                              llom·s
02/24/11      MNK Participate in weekly Nortel Committee calL                                1.40
02/24/11      MNK Conference with L. Miller and M. Dantas regarding status and               0.30
                    strategy in the bankruptcy cases.
02/24/11      RSR Consult M. Dantas; Research.                                              0.50
02/25/11       BB Search regarding keep well agreements and whether enforceable by          1.50
                   finance company's bankruptcy trustee against its parent. (M. Dantas)
02/25/11      DPB Conference call with J. Seiler and communications with M. Dantas          1.00
                   and B. Braverman regarding Support Agreement.
02/25/11      LEM Review Support Agreement issues; Review documents; Review                 4.25
                   recent UK pension decision; E-mail on US/Canada allocation issues;
                   E-mails with M. Dantas and D. Bicks.
02/25/11      MAD Review research on status of Support Agreements; Review and               2.75
                   analyze research memo prepared by bankruptcy group.
02/25/11      MNK Review and respond to multiple correspondence from L. Miller              0.30
                   regarding allocation and pension issues.
02/25/11      MNK  Review   and analyze UK High Court Pension Decision on Nortel            2.30
                   Plan.
02/25/11      MNK Review Notice of Agenda of matters for upcoming hearing.                  0.10
02/25/11      MNK Review latest bond prices.                                                0.10
02/25/11      MNK Review Debtors' motion papers seeking approval of settlement              0.40
                   agreement with Jabil.
02/25/11      MNK Review and analyze EMEA recovery analysis prepared by Capstone            0.30
                   in light ofUK decision.
02/28/11       BB Search to determine ifKleinwort Benson Ltd v. Malaysia Mining             0.30
                   Corp has been cited by any U.S. Courts; Search of Restatement of
                   Contracts for discussion of keep well agreements; Search for two law
                   review articles. (M. Dantas)
02/28/11      LEM Telephone calls and e-mails with M. Dantas; Review memoranda e-           4.25
                   mails and attachments relating to the Support Agreement; Review
                   law review articles- Yale and Baylor.
02/28/11      MAD Several meetings with D. Bicks regarding enforceability ofKeepwell        4.75
                   Agreements; Telephone call with B. Goodstein regarding Keepwells;
                   Review opinions; Telephone calls with L. Miller; Conduct research
                   on comfort letters.
02/28/11      MNK Review summary and recommendation on CBRE retention motion                0.20
                   sent by Akin.
02/28/11      MNK Review Order approving amended and restated MSS Side Agreement            0.10
                   filed and served in the bankruptcy cases.
02/28/11      MNK Review various orders filed and served in the bankruptcy cases            0.20
                   concerning the Debtors' ftling of settlement agreements.
03/01/11      LEM Review materials, articles, opinions, papers, law review articles;       4.75
                   Conference with M. Dantas; Review case Law.
03/01/11      MAD Attend to issues.                                                        2.75
03/01111      MNK Review Form 8K, Underwriting Agreement and Notes produced by             1.20
                   Debtors relating to 2026 Notes.
03/01/11      MNK Review correspondence to and from the SEC regarding 2026 Notes           0.30
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   Date      Tkpr                              Descr·iption                             Hom·s
                  produced by the Debtors.
03/01/11     MNK Review Yale Journal Article on comfort letters sent by L. Miller.        1.30
03/01111    :MNK Review SEC Registration Statement for 2026 Notes and supporting          1.90
                  exhibits.
03/01/11    MNK Review and analyze memoranda and support materials for Keep Well          2.60
                 Agreements sent by L. Miller and communicate with him regarding
                 same.
03/02/11     LEM Review attachments to VCC conference call memorandum; Long               6.00
                 VCC call, followed by telephone call with M. Dantas, followed by
                 conference with M. Khambati follow-up on Support Agreement
                 issue; Review case law.
03/02/11    MAD Attend to open issues.                                                   2.00
03/02/11    MNK Review and analyze SEC Registration Statement for 2026 Notes.            1.20
03/02/11    :MNK Review Prospectus and supplement provided by Debtors to determine       0.20
                 if any material differences.
03/02/11    MNK  Participate on weekly Norte) Committee call.                            1.50
03/02111    MNK Conference with L. Miller regarding status and strategy with respect     0.30
                 to the PPF claim(s).
03/03/11     AS Review e-mail from M. Dantas regarding keep-well agreements as           2.20
                 agreements for a "financial accommodation." Review article
                 provided by M. Dantas regarding same. Read cases in the article.
                 Research regarding same. Draft e-mail to M. Dantas and B. Murphy
                 regarding sarne.
03/03/11     BJM Review A. Strygin regarding financial accommodation research            0.20
                 support agreement.
03/03111     BJM E-mail M. Dantas regarding financial accommodation with respect to      0.20
                 support agreement.
03/03/11    LEM Conference with J. Heaney of Law Debenture; Conference with M.           7.00
                 Khambati; Conference with D. Bicks; Review J. Macinnis Deutsche
                 Bank e-mail and attached article, review case law; Review A. Strygin
                 e-mail and Bariking Law Journal Article; Review S&P materials.
03/03/11    MAD Telephone calls and e-mails with L. Miller and D. Bicks regarding        2.50
                 Keep Well Agreements; Attend to issues.
03/04/11    DPB Review of S&P reports, etc.                                              0.50
03/04/11    LEM Review authorities on Support Agreements and various articles on         2.75
                 same.
03/04/11    MNK Review and analyze Yale Journal on enforceability of comfort letters.    0.50
03/04/11    MNK Review various closing documents, including closing memorandum,          0.70
                 bylaws, and Board consent regarding 2026 Notes.
03/04/11    MNK Review various NNL corporate documents issued relating to the            0.90
                 2026 Notes.
03/04/11    MNK Continue reviewing and analyzing UK High Court decision on               2.90
                 pension priority issues.
03/04/11    MNK Review Fifty-Ninth Report of the Canadian Monitor regarding cash         i.40
                 and claims.
03/05/11    MNK Review and analyze various opinion letters issued by NNL, Cleary,        0.50
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    Date      Tkp1·                             Desc1·iption                             Hours
                   and Deloitte regarding 2026 Notes.
03/05/11      MNK Review Board meeting minutes regarding issuance ofNNCC debt.             0.30
03/05/11      MNK Review miscellaneous correspondence and closing documents                0.60
                   relating to issuance of 2026 Notes.
03/05/11      MNK Review and analyze Baylor article on comfort instruments.               1.70
03/07/11      LEM Review articles, cases and filings and e-mails; Multiple conferences    5.75
                   with M. Dantas, D. Bicks and M. Khambati.
03/07/11      MAD Attend to issues raised in connection with Support Agreement;           2.50
                   Telephone calls with L. Miller.
03/07111      MNK Review Nortel Passport distribution agreement sent by B. Kahn.          0.80
03/07/11      MNK Review updated Nortel cash forecast prepared by Capstone.               0.40
03/07/11      MNK Review journal article sent by L. Miller regarding risks associated     0.60
                   with fmancial keep well agreements.
03/07/11      MNK Review Order approving procedures for service of amended agendas        0.10
                  filed and served in the bankruptcy cases.
03/07/11      MNK Review correspondence and article from J. Macinnis regarding            1.50
                  developments in executory contracts and focus on support
                  agreements in bankruptcy; Review and analyze Collier on
                  Bankruptcy regarding executory contracts.
03/07/11      MNK Review and analyze correspondence and article sent by A. Strygin        2.10
                  regardingenforcement of keep-well agreements in bankruptcy and
                  case law cited in the same and conference and communicate with L.
                  Miller regarding same.
03/07/11      MNK Notice of upcoming omnibus hearing in the bankruptcy cases.             0.10
03/07/11       SM Research regarding Northern Telecom's 1996 10-K forM. Dantas            0.50
03/08/11      LEM Several conferences with M. Dantas, D. Bick.s and M. Khambati;          5.50
                  Calls to F. Hodara of Akin; Review S&P analysis of2024 bonds;
                  Review M. Khambati analysis.
03/08111      MAD Attend to Support Agreement matters.                                    1.20
03/08/11      MNK Review journal article on fmancial keep-well agreements.                0.40
03/08/11      MNK Review Moody's and S&P credit reports on Norte] sent by L. Miller.      0.20
03/08/11      MNK Review Malaysia Mining case sent by L. Miller.                          0.70
03/08/11      MNK Review Notice of Agenda of upcoming matters for hearing and             0.20
                  adversary scheduling order filed and served in the bankruptcy cases.
03/08/11      MNK Continue reviewing and analyzing Fifty-Ninth Report of Canadian         1.30
                  Monitor regarding status, cash and claims in Canadian estates.
03/09/11      LEM Several calls with Akin Gump; Several calls with M. Khambati, M.        4.75
                  Dantas and D. Bicks; Review files, articles and case law for
                  upcoming conferences.
03/09111      MAD Attend to Support Agreement analysis.                                   2.50
03/09/11      MNK Review and analyze Baylor law review article on enforceability of       0.40
                  comfort agreements.
03/09111      MNK Review and analyze claims analysis memo prepared by A. Strygin.         0.40
03/09/11      MNK Conference with L. Miller regarding Committee analysis and              0.40
                  conclusions regarding Support Agreement.
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    Date    Tkp1·                               nescription                             Hom·s
03/09/11    MNK Review Amended Agenda of matters for upcoming hearing.                    0.10
03/10/11    LEM Several conference with J. Heaney, Conference with M. Dantas;             3.75
                   Conference with M. K.hambati; Participate in long UCC call; Review
                   materials for upcoming conference.
03/10/11    MAD Prepare for and attend weekly call.                                       2.25
03/10/11    MNK Review proposed Corporate Group AlP sent by Capstone.                     0.60
03/10/11    MNK Attend weekly Committee meeting.                                          1.40
03/10/11    MNK Conference with L. Miller regarding status and strategy.                  0.30
03/10/11    MNK Locate and review Canadian Cross-Border Claims Protocol and               1.40
                  Insolvency Protocol and send same to L. Miller.
03/10/11    MNK Review latest bond prices sent by B. Braverman.                           0.10
03/10/11    MNK Review and analyze Order and Stipulation among the Debtors and            0.30
                  the PBGC governing the MSS Business Assets sale.
03/10/11    MNK Review Fourteenth Supplemental Declaration of J. Bromley in               0.10
                  support of Cleary retention.
03/11111    LEM Review Cross Border Protocol and Order; Conferences with M.               3.25
                  Khambati and M. Dantas.
03/11111    MAD Attend to allocation and Support Agreement analysis; E-mails and          3.00
                  telephone calls with L. Miller; E-mails with M. Khambati.
03/11111    MNK Review correspondence and attachment from Akin regarding MSS              0.20
                  sale closing.
03/14/11    LEM Review/Comment on draft memorandum to UCC regarding NNCC                  3.00
                  support agreement; Review/respond to various e-mails.
03/14/11    MAD Address Support Agreement issues; Several office conference with         3.75
                  D. Bicks; Telephone call with L. Miller.
03/14/11    MNK Review I 46th Omnibus Objection to Claims.                               0.20
03/14/11    MNK Draft and circulate copy of memorandum addressed to the                  3.20
                  Committee regarding effects of Support Agreement.
03/14/11    MNK Review exhibits to Eighteenth Omnibus Objections to Claims and           0.30
                  Order approving the same.
03/14/11    MNK Review Notice of 19th Supplement to OCP list filed and served in the     0.10
                  bankruptcy cases.
03/14/11    MNK Review Supplemental E&Y Declaration filed and served in the              0.10
                  bankruptcy cases.
03/14/11    MNK Review status report on various avoidance actions pending in the         0.10
                  N ortel bankruptcy cases.
03/15/11    LEM Prepare for Akin/Capstone meetings today; Meet with M. Khambati;         4.50
                  Meet with M. Dantas and M. Khambati and D. Bicks; Meet D. Bicks,
                  M. Dantas and M. Khambati, plus Akin & Capstone team regarding
                  Support Agreement; Telephone call with J. Heaney.
03/15/11    MAD Prepare for and attend meeting with Akin Gump regarding Support          4.25
                  Agreement and post meeting analysis.
03/15/11    MNK Travel to New York to attend meeting with Committee professionals        3.00
                  (Akin and Capstone) and to attend subsequent Committee meeting.
03/15/11    MNK Participate in several meetings with working group (L. Miller, M.        4.50
                  Dantas, and D. Bicks) and Committee professionals (Akin and
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   Date       Tkpr                               Description                            Hom·s
                  Capstone) regarding issues and strategies concerning intercompany
                  claims from NNCC to NNI.
03/16/11      LEM Review Agenda for tomorrow's in person meeting; Several attempts        5.75
                  to contact J. Heaney to discuss yesterday's meeting with UCC and
                  Comm Counsel Akin; Review/respond to various e-mails; Prepare for
                  in person meeting; Review earlier IP/Project Iceberg and mediation
                  memorandum.
03/16111      MAD Address Support Agreement issues; Telephone calls with L. Miller.       2.50
03/16/11      MNK Communicate with client and working group regarding coordination        0.20
                  for upcoming meetings.
03/16/11      MNK Multiple conferences and communications with L. Miller, M. Dantas,      0.50
                  and J. Heaney regarding status and strategy on distribution issues in
                  light of Committee meeting.
03/16/11      MNK Research and review contract damage theories under Support              3.80
                  Agreements and New York law and communicate with B. Kahn
                  regarding open issues, from Committee's standpoint.
03/16111      MNK Communicate with working group and Akin regarding presentation          0.20
                  tomorrow.
03/17/11      LEM Prepare for in person meeting at Akin; Conference with M.               8.00
                  Khambati; Akin meeting with UCC committee :nd all advisors;
                  Telephone call with M. Dantas.
03/17/11      MNK Participate in in-person Committee meeting regarding Law                6.00
                  Debenture, PBGC, and allocation issues and conference with L.
                  Miller regarding same.
03/17/11      MNK Travel to Chicago after attending Committee meetings.                  3.50
03/18/11      LEM Review detailed allocation materials from OCC/Capstone;                4.50
                  Conference with M. Dantas; Outline analysis.
03/18111      MAD Address support agreement issues.                                       1.20
03/18/11      MNK Review and analyze Nortel cash update provided by Capstone.            0.50
03/18111      MNK Review and analyze various mediation proposals and impact on           0.90
                  distributions to various creditor classes charted and circulated by
                  Capstone.
03/18/11      MNK Review Canadian Recovery Sensitivity Analysis prepared and             1.40
                  circulated by Capstone.
03/18/11      MNK Review and analyze latest Norte I cash forecast prepared and           0.50
                  circulated by Capstone.
03/18/11      MNK Review and analyze notes from Committee meeting.                       0.20
03/18/11      MNK Review Order authorizing retention of CBRE for Richardson              0.10
                  Facility.
03/18111      MNK Review Order approving Stipulation resolving ACS proof of claim.       0.10
03/18111      MNK Review and analyze draft claims analysis memo previously prepared      0.30
                  by LA office.
03/21111      LEM Review/Analyze "Creditor Recovery Analysis" and "Canadian              6.25
                  Recovery Sensitivity Analysis" Outline thoughts and concerns.
03/21111      MNK Review Agenda and attachments for upcoming hearing.                    0.20
03/22111      LEM Review documents; Long conference call with M. Khambati                4.50
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                  regarding going forward and issues; Outline mediation and Support
                  Agreement issues and strategy going forward.
03/22111     MAD Attend to Support Agreement matters.                                    1.50
03/22/11     MNK Conference regardingstatus and strategy concerning various open         1.00
                 distribution and allocation issues.
03/22/11     MNK Review and analyze Canadian Recovery Sensitivity Analysis and           0.90
                 settlement proposal prepared by Capstone.
03/23111     LEM Review UCC distributed materials by UK Pension Parties, Capstone;       6.25
                 Arbitration proposal by Ad Hoc Comm; US Debtors; Participate in
                 UCC call; Telephone call with M. Khambati; Telephone call with F.
                 Hodara; Telephone call with M. Riela, Counsel to BNY; Analyze
                 open Support Agreement issues.
03/23/11     MAD Address Support Agreement issues.                                      0.75
03/23/11     MNK Review latest bond pricing update for Norte! bonds.                    0.10
03/23111     MNK Review article on Nortel's sale ofiP address domains.                  0.10
03/23111     MNK Review and analyze mediation statement ofTrustee and PPF in            0.30
                 conjunction with prior EMEA claims and distribution analysis
                 conducted by Capstone.
03/23/11     MNK Review and analyze Ad Hoc group arbitration protocol and ICDR          0.50.
                 rules.
03/23/11     MNK Communicate with J. Hyland regarding US estates' Canadian 'give' of    0.30
                 $50 million as reflected in Capstone tables.
03/23/11     MNK Participate in weekly Committee call.                                  1.40
03/23/11     MNK Multiple conferences with L. Miller, F. Hodara, and M. Riela           0.90
                 regarding 2026 Notes distribution issues.
03/23/11     MNK Review and analyze Updated Canadian Recovery Sensitivity               0.30
                 Analyses and communicate with J. Borow regarding distributions
                 reflected in the same.
03/23/11     MNK Review and respond to correspondence from M. Dantas regarding          0.10
                 status.
03/24/11     LEM Analysis/comment on materials from OCC on March 23 from Akin,          4.00
                 Capstone andAdHoc Comm (Arbitrntion protocol); Various e-mails.
03/24/11     MNK Review and respond to multiple correspondence from J. Borow            0.20
                 regarding disparate distribution treatment between the bonds.
03/24/11     MNK Review article analyzing Lehman Brothecs/Nortel UK High Court          0.40
                 pension decision (Moral Hazard for Officeholders) and its
                 implications.
03/24/11     MNK Continue reviewing and analyzing Updated Canadian Recovery             0.50
                 Sensitivity Analyses prepared and distributed by Capstone.
03/24/11     MNK Review and analyze Creditor Recovery Analyses prepared and             0.80
                 circulated by Capstone.
03/25111     MNK Review and respond to correspondence from J. Heaney regarding          0.40
                 bondholder inquiry on arbitration.
03/25/11     MNK Review   Second Supplemental Declaration of C. Lee in support of       0.10
                 Addrex retention.
03/25/11     MNK Review Debtors' Motion to sell IP Numbers.                             1.10
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   Date       Tkpr                                 Description                           Hours
03/25/11      MNK Review comparisons between various mediation proposals submitted         0.60
                    by Capstone.
03/28/11      LEM Review OCC By Laws; Review draft OCC mediation statement;                4.50
                    Review e-mails from J. Heaney regarding Dan Kamensky ofPaulson
                    & Company regarding arbitration proposal by Ad Hoc Comm;
                    Review prior OCC meeting minutes; Conference with M. Khambati.
03/28111      MAD Telephone calls with L. Miller and M. Khambati regarding Support         1.75
                    Agreement and mediation; Attend to support agreement matters.
03/28/11      MNK Review and analyze draft Mediation Statement of Committee.               0.30
03/28111      MNK Review and analyze Committee Bylaws sent by L. Miller with               0.40
                    respect to potential conflicts issues and voting.
03/28111      MNK Review responses by L. Miller to prior correspondence.                   0.10
03/28111      MNK Review and analyze March meeting minutes sent by Committee               0.20
                   counsel.
03/28111      MNK Conference with L. Miller regarding status and strategy on open          0.30
                    issues.
03/29/11      LEM Several calls with J. Heaney, M. Khambat~ Hodara of Akin, M. Riela       7.50
                   of Latham and M. Dantas; Prepare several e-mails; Review revised
                   second mediation statement and exhibits; Participate in lengthy OCC
                   call; Discussion of Support Agreement.
03/29/11      MAD Several telephone calls with L. Miller regarding Support Agreement       2.75
                   and UCC allocation issues; Review e-mails.
03/29/11      MNK Review and respond to muhiple correspondence from L. Miller and J.       0.10
                   Heaney regarding upcoming meeting with Paulson investor.
03/29/11      MNK Conference and communications with F. Hodara and working group           0.30
                   regarding Support Agreement and next steps.
03/29/11      MNK Review Order authorizing employment ofE&Y for providing tax             0.20
                   services to US Debtors.
03/29/11      MNK Review Supplement to Order ~ting Debtors' Sixteenth Omnibus             0.10
                   Objection to claims.
03/29/11      MNK Review Eight Omnibus Order (and schedules) allowing certain             0.30
                   professionals interim compensation and communicate with L. Miller
                   regarding same.
03/29/11      MNK Participate in weekly Committee meeting.                                1.00
03/29/11      MNK Review and analyze back-up materials to Committee mediation             0.70
                   statement.
03/29111      MNK Review and analyze Debtors' draft objection to EMEA Proofs of           0.50
                   Claim.
03/30/11      LEM Review e-mails attached to OCC call agenda; Telephone call with M.      7.00
                   Khambati; E-mails to Jim Heaney; E-mail to J. Bromley at Cleary;
                   Telephone call with F. Hodara at Akin; Review second and third
                   revisions of mediation statement; Prepare for meeting with Paulson
                   & Company tomorrow; Conference call with J. Bromley of Cleary.
03/30/11      MAD Telephone calls with M. Khambati and L. Miller regarding agenda         3.50
                   for UCC call; E-mail correspondence regarding same; Participate on
                   UCC weekly call; Follow-up to UCC call.
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    Date    Tkpr·                                Descl"iption                           Hours
03/30111    MNK Review revised Committee mediation proposal and supporting                0.60
                   attachment.
03/30111    MNK Review redacted minutes for March 29th hearing sent by B. Kahn.           0.10
03/30/11    MNK Conferences and communicate with L. Miller, F. Hodara, and J.             0.60
                   Bromley regarding status and strategy in processing NNCC
                   intercompany claim.
03/30111    MNK Conference and communicate with J. Bromley and working group              0.30
                   regarding publication of Support Agreement and NNCC
                   intercompany claim.
03/30/11    MNK Draft periodic update for Law Debenture board meeting and send to         0.50
                   working group for review and comment.
03/31111    LEM Prepare for meeting with Paulson; Conference with M. Khambati;            8.00
                   Conference with M. Dantas, M. Khambati and J. Heaney; Telephone
                   conference with A. Pisa of Milbank; Conference with A. Pisa, D.
                  Kaminsky, J. Heaney, M. Dantas and M. Khambati; Review e-mail
                  from Pisa regarding revised Arbitration protocol and explanatory
                   memorandum; Review MOR/Support Agreement from J. Bromley of
                  Cleary; Send to J. Heaney with comment.
03/31111    MNK Travel to New York to attend meetings with client and Ad Hoc              3.00
                  Bondholder counsel and one holder.
03/31111    MNK Multiple conferences throughout the day with L. Miller, J. Heaney,       2.70
                  and M. Dantas regarding status and strategy in the case.
03/31111    MNK Review and analyze ICDR arbitration rules cited in Ad Hoc                0.80
                  arbitration proposal.
03/31111    MNK Review and analyze Interim Funding and Settlement Agreement cited         1.10
                  in Ad Hoc arbitration proposal.
03/31111    MNK Participate in meeting with bondholder and Ad Hoc counsel                1.00
                  regarding arbitration proposal.
03/31111    MNK   Travel  to Chicago after attending meeting regarding arbitration       3.50
                  proposal.
04/01111    LEM Consider implication of Support Agreement publication; E-mail with       2.25
                  Bromley and Akin; Consider Ad Hoc arbitration proposal.
04/01111    MNK Review Canadian administrative claims materials filed and served in      0.20
                  the Canadian cases.
04/01111    MNK Review, revise, finalize and send periodic status report to client.      0.10
04/01111    MNK Review latest Nortel bond prices.                                        0.10
04/01111    MNK Review Notice of Agenda for upcoming hearing.                            0.10
04/0l/11    MNK Review Notice of Amended Agenda of matters scheduled for                 0.10
                  upcoming hearing.
04/01111    MNK Review correspondence and attachment from A. Pisa regarding              0.40
                  arbitration proposal.
04/01111    MNK Review Monitor's Sixtieth Report (sale of certain vc interests) filed    1.30
                  and served in the bankruptcy cases.
04/01111    MNK Review Monitor's Sixty First Report (IP address sale) filed and          0.40
                  served in the bankruptcy cases.
04/01111    MNK Review US Debtors' January 2011 MOR (reflecting Support                  0.60
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   Date       Tkpr                             Description                            Hours
                  Agreement) sent by F. Hodara and J. Bromley.
04/04/11     LEM Review/analyze mediation papers by several Canadian, EMEA & US         7.00
                  parties; Review Ad Hoc arbitration position papers and protocol.
04/04/11     MNK Review Ad Hoc mediation proposal sent by B. Kahn.                      0.20
04/04111     MNK Travel to New York to attend Committee meeting and conference          3.00
                 with bondholder counsel regarding Support Agreement
04/04/11     MNK Review multiple correspondence from counsel for Debtors (US) and       0.20
                  Ad Hoc Committee regarding arbitration proposal and motion.
04/04/11     MNK Review and respond to multiple correspondence from B. Kahn and L.      0.10
                 Miller regarding various open issues.
04/04/11     MNK Review    correspondence regarding sale ofiP assets to Google.        0.20
04/04/11     MNK Review mediation proposal of Fourth Estate sent by B. Kahn.           1.30
04/04/11     MNK Review and analyze revised Committee Bylaws sent by B. Kahn.          0.30
04/04111     MNK Review and analyze Norte! cash forecast submitted by Capstone.        0.50
04/04111     MNK Review Mediation Statements summary chart sent by B. Kahn.            0.20
04/04111     MNK Review Debtors' papers seeking protective order regarding SNMP        0.50
                 discovery requests.
04/05111     LEM Review several memoranda's and reports for in person meeting at       9.00
                 Akin; Attend lengthily meeting ofOCC at Akin; Conference with J.
                 Ray regarding 2024 Support Agreement; Conference with M.
                 Khambati and J. Heaney; Telephone call with Maria A. Dantas
                 regarding update.
04/05/11     MAD Meeting with J. Heaney, M. Khambati and L. Miller regarding           4.25
                 meeting with Ad Hoc representatives; Meeting with Ad Hoc
                 Representative regarding arbitration; Post meeting with J. Heaney;
                 Review documents and letters.
04/05/11     MNK Conferences with L. Miller regarding various open status and          1.00
                 strategy issues.
04/05/11     MNK Attend in-person Committee meeting and conferences with L. Miller     4.30
                 and M. Dantas regarding same.
04/05/11     MNK Travel back to Chicago from New York after attending Committee        3.50
                 meeting.
04/05/11     MNK Review multiple correspondence and Norte! Agenda sent by B.           0.10
                 Kahn.
04/05/11     MNK Review and analyze summary of April mediation submissions sent        0.30
                 by B. Kahn.
04/05/11     MNK Review and analyze Project Iceberg updated materials (and my notes    0.30
                 to the same) prepared and circulated by Capstone.
04/06111     LEM Review documents/memorandums distributed for the in person            2.50
                 meeting yesterday.
04/06/11     MNK Multiple conferences with D. Kamensky and L. Miller regarding         0.40
                 status in the bankruptcy cases.
04/06/11     MNK Review and analyze recognition of liability issue under Support       1.20
                 Agreement.
04/06/11     MNK Rev~ew US Debtors' mediation proposal sent by B. Kahn.                1.10
04/06/11     MNK Review UCC Mediation Proposal and all exhibits.                       2.30
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    Date     Tkpr                              Description                             Hom·s
04/06/11     MNK Review updated (draft) EMEA Analysis prepared and circulated by         0.10
                   Akin.
04/07/11     LEM Review Committee minutes; Review EMEA, Canadian, Debtor, Ad             3.00
                   Hoc submissions to mediator; Outline issues.
04/07/11     MNK Review Canadian Debtors and Monitor's mediation submission sent         0.80
                   by B. Kahn.
04/07/11     MNK Review and analyze CCC mediation submission.                            0.70
04/07111     MNK Review and analyze Debtors' objection to EMEA claims and                1.20
                   attachments and schedules thereto.
04/07/11     MNK Review US Debtors' liquidation budget sent by Capstone.                 1.10
04/08/11     MNK Review and analyze US Debtors' mediation submission.                    0.30
04/08/11     MNK Review Agenda of matters in upcoming hearing.                           0.10
04/08/11     MNK Review correspondence regarding Committee bylaws from B. Kahn.          0.10
04/08/11     MNK Review Omnibus Hearing Order filed and served in the bankruptcy         0.10
                  cases.
04/08/11     MNK Review Project Iceberg update materials sent by B. Kahn.                0.10
04/08/11     MNK Review updated EMEA Recovery analysis sent by S. Brauner.               0.40
04/08/11     MNK Review Certification regarding Omnibus Hearing dates in the             0.10
                  bankruptcy cases.
04/08/11     MNK Review and analyze EMEA Administrators and UK Pension                   1.20
                  Claimants' mediation submissions.
04/08/I I    MNK Review Debtors' motion and attachments regarding bid procedures to      1.70
                  sell IP assets.
04/09/11     MNK Review several motions filed by the Debtors seeking to enlarge time    0.40
                  under FRCP 4(m) in various avoidance actions and status in the
                  same.
04/11111     MNK Review Notice of Appearance ftled by counsel for Google and            0.10
                  Ranger.
04/11111     MNK Review article on Nortel pensioner demands in Canada.                  0.10
04/11111     MNK Participate in Committee call regarding allocation issue.              0.60
04/11111     MNK Review Debtors' bid procedures motion and attachments with respect     0.60
                  to IP assets.
04/11111     MNK Review and analyze Debtors objection papers (including Canadian        0.40
                  filings attachments) to EMEA claims and request for amended
                  claims.
04/12/11     LEM Review M. Khambati memorandum; Review Bondholder new                   3.25
                  submission to mediator; Participate in OCC call at 4:00 pm; Review
                  M. Khambati memorandum; Analyze mediation issues.
04/12/11     MNK Participate on Committee call regarding allocation mediation status    0.50
                  and strategy.
04/12/1 I    MNK Review EMEA Administrators' mediation submission.                      0.40
04/12/11     MNK Review Canadian Monitor's statement in support of US Debtors'          0.20
                  motion for protective order with respect to SNMP litigation.
04/13/11     LEM Review materials submitted by Canadian; EMEA and Bondholders           2.75
                  (compare/contrast) to mediator; Participate in OCC call; Review
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                  press release regarding mediation results.
04/13/11     MAD Participate on mediation call.                                             0.50
04/13/11     MNK Participate on Committee update regarding allocation mediation and         0.60
                  next steps and confer with B. Kahn regarding same.
04/13/11     MNK Continue reviewing Debtors' bid procedures motion and attachments          0.90
                  regarding sale of IP assets filed and served in the bankruptcy cases.
04/13111     MNK Review Norte) announcement regarding mediation sent by B. Kahn.            0.10
04/13/11     MNK Review updated allocation proposals made by each of the Canadian,          0.80
                  EMEA and Ad Hoc groups sent by B. Kahn.
04/14/11     LEM Review status of Support Agreement issues; Reach out to A. Pisa of        2.75
                  Milbank regarding Ad Hoc Comm. views; Analyze status of dispute
                 resolution after mediation sessions, how was Support Agreement
                 treated in mediation.
04/14/11     MNK Review article regarding Norte! allocation mediation and                  0.10
                 communicate with M. Dantas regarding same.
04/14/11     MNK Review Debtors' periodic report regarding value, operations and           0.80
                 profitability of certain non-filing Nortel subsidiaries in Asia and
                 Latin America.
04/14/11     MNK Review Second Supplemental Declaration filed by E&Y in the                0.10
                 bankruptcy cases.
04114/11     MNK Review Debtors' motion granting tax authorities additional time to        0.20
                 complete examination.
04/15111     MAD Participate on UCC call.                                                  1.00
04/15/11     MNK Review latest Nortel bond prices.                                         0.10
04/15/11     MNK Review correspondence from J. Sturm regarding sale of Richardson          0.10
                 facility.
04115111     MNK Finish reviewing Debtors' IP sale bid procedures motion filed and         1.10
                 served in the bankruptcy cases.
04/15111     MNK Review Supplementary Affidavit filed by Vaco Raleigh, LLC.                0.10
04118/11      CL Pull court filing in regarding Nortel Networks, Inc. for L. Miller.       0.25
04/18/11      JG Search for Ontario Appeals Court decision for L. Miller.                  0.50
04/18/11     LEM Review Ontario Court of Appeals Opinion and Jefferies reference           3.25
                 memorandum; Review Canadian response to US Debtor's motion for
                 a more definite statement of Claim; Review mediation status
                 memorandum; Review IFSA agreement.
04/18111     MAD Review    Canadian pension decision; E-mails with L. Miller.              0.75
04/18/11     MNK Review Debtors' motion regarding service deadlines relating to            0.30
                 foreign defendants.
04/18/11     MNK Review and analyze Article sent by B. Reddy regarding Nortel              0.30
                 pension issues in light of Indalex decision in Canada and research
                 and review same.
04/18/11     MNK Review Ontario Court of Appeal decision in Indalex Holdings on            0.90
                 pension plan underfunded liability priority.
04118111     MNK Review article sent by L. Miller regarding Nortel UK response to US       0.10
                 Debtors' motion for more definite claims statements.
04/19/11     LEM Review several IP bidding procedures, and allocation of black box         3.50
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                 assets and proposed procedure, as well as Ontario's pensions
                 appellate case.
04/20/11    LEM Review background materials on several issues; Consider                     4.00
                 implications of UK and Canadian pension decisions on
                 allocation/claims in Canada and US issues.
04/20/11    MNK Review and analyze Joint Administrators' Response regarding more            0.80
                 defmite statement of claim.
04/20/11    MNK Review and analyze 2011 Corporate Group Budget Summary                      0.90
                 prepared and circulated by Capstone.
04/20/11    MNK Review revisions to proposed form of order and attachments                  0.80
                regarding IP internet address sale to Microsoft flied and served in the
                bankruptcy cases.
04/20111    MNK Review Monitor's Sixty Second Report filed and served in the                0.60
                bankruptcy cases.
04/20/11    MNK Review and analyze 2011 NBS Budget and wind-down forecasts                 0.90
                prepared and sent by Capstone.
04/20/11    MNK Review Allocation Procedures Concepts circulated by Akin Gump.             0.20
04/20/11    MNK Review and analyze April Mediation Summary prepared and                    1.30
                circulated by Capstone.
04/21111    LEM Review/Analyze several Akin and Capstone materials for OCC call;           3.50
                Participate in OCC call; Review Canadian Fourth Estate Cash Flow
                Summary; Exchange e-mails with M. Khambati.
04/21111    MNK Review   redlined Bylaws circulated by Akin for Committee vote.            0.20
04/21111    MNK Review and analyze Ontario Court of Appeal decision in Indalex             0.80
                Holdings.
04/21111    MNK Review Agenda of matters for upcoming hearing.                             0.20
04/21111    MNK Review and analyze R. Home letter to the court regarding status on         0.20
                employee-related concerns and representation on the UCC.
04/21/11    MNK Participate in weekly Committee call.                                      1.60
04/21/11    MNK Review April Mediation Summary sent by Capstone.                           0.40
04/21111    MNK Review Debtors' papers regarding sale and license back of                  0.90
                Richardson property.
04/21111    MNK Review Fourth Estate Proceeds Allocation Cash Flow Summary                 0.30
                prepared and circulated by Capstone.
04/22/11    LEM Review US Debtor Allocation Procedure Motion with Exhibits and             2.50
                Capstone April Mediation Summary charts/sheets.
04/22/11    MNK Review bond price update.                                                  0.10
04/22/11    MNK Review Notice of Sale of Richardson facility.                              0.10
04/22/11    MNK Review disclosure made by MPT Consulting Services.                         0.10
04/22/11    MNK Review motion flied and served by the Debtors seeking approval of          0.40
                stipulation resolving DEKA claim.
04/22/11    MNK Review Monitor's Sixty Third Report filed and served in the                0.90
                bankruptcy cases.
04/22/11    MNK Review Debtors' Application for amendment to RLKS retention                0.40
                terms.
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    Date     Tkpr                                 Desct·iption                            Hom·s
04/22/11     MNK Review Debtors' motion regarding stay relief to effectuate setoff with     0.50
                   TWTelecom.
04/22/11     MNK Review Amended Agenda of matters for upcoming hearing.                     0.20
04/22111     MNK Review and analyze draft Allocation Procedures Motion and                  1.60
                   attachments.
04/23/11     MNK Continue reviewing Monitor's Sixty Third Report filed and served in        0.50
                   the bankruptcy cases.
04/25111     MNK Review Notice of Agenda for upcoming hearing served on counsel in          0.10
                  the bankruptcy cases.
04/25/11     MNK Review status report on avoidance actions filed and served in the          0.20
                  bankruptcy cases.
04/25111     MNK Review revisions to proposed form of order regarding extensions to         0.20
                  certain tax examination deadlines filed and served in the bankruptcy
                  cases.
04/26/11     LEM Review several mediation documents. Ontario Court opinion on               5.25
                  Canadian pensions; Petition to Delaware Bankruptcy and Canadian
                  Monitor; Revise Mediation Summary prepared by Capstone; Long
                  Telephone conference with M. Khambati; Review documents for
                  April 2 7, 20 11 OCC conference.
04/26/11     MNK Conference with L. Miller regarding status and strategy in the case.       0.50
04/26/11     MNK Review Debtors' Application to retain Keightley & Ashner LLP as            0.50
                  Special Pension Benefits counsel to advise on PBGC claims issues
                  and resolution.
04/26/11     MNK Review 2011 IP Group Budget Summary sent by Capstone.                     0.30
04/26/11     MNK Review Q1 2011 AlP presentation sent by Capstone.                         0.10
04/26/11     MNK Review US Cash forecast prepared and sent by Capstone.                    0.40
04/27111     LEM Review OCC conference caJI materials, from Akin and Capstone;             3.75
                  Participate in OCC call; Review issues relating to By Law
                  Amendments and allocation/claims issues.
04/27/11     MNK Participate in weekly Committee call.                                     l.OO
04/27/11     MNK Review Norte! Committee meeting minutes submitted by B. Kahn.             0.10
04/27/11     MNK Review fmal Allocation Procedures Motion and attachments filed            1.10
                  and served in the bankruptcy cases.
04/27111     MNK Review Canadian allocation procedures papers sent by B. Kahn.             0.40
04/28111     LEM Review allocation issues including jurisdiction under IPSA to decide      6.25
                  allocation issues for all 3 estates. Allocation protocol issues; Also
                  review UK and Canadian pension issues including decision by the
                  relevant courts.
04/28/11     MNK Conference with L. Miller regarding status and strategy issues.           0.30
04/28111     MNK Review Notice of Agenda of upcoming hearing.                              0.10
04/29/11     MNK Review latest Nortel bond prices.                                         0.10
04/29/11     MNK Review and analyze exhibits to fmal Allocation Procedures Motion.         0.40
04/29/11     MNK Review Status Report on Avoidance Actions filed in the bankruptcy         0.10
                  cases.
05/02/11      CL Pull article on Norte! proceedings from Daily Bankruptcy Review for       0.50
                  L. Miller; Pull report of Canadian Monitor filed in Delaware
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   Date      Tkpr                                Descdption                                   Hours
                    Bankruptcy Court.
05/02111     LEM    Review N ortel Article regarding Norte! European units claiming 10          4.75
                    billion from Canadian parent, also underlying filed papers from
                    Delaware and Ontario bankruptcy courts; Review 64'th Report of the
                    Monitor; Analyze EMEA claims and issues.
05/02/11     MNK    Review Article on EMEA claims in Canadian and US estates.                   0.10
05/02/11     MNK    Research and review appeal issues concerning order granting                 1.70
                    Allocation Procedures Motion and conference with B. Kahn
                    regarding same.
05/03/11      JG    Complaint and Docket searches for L. Miller.                                0.50
05/03/11     MNK    Review article on Courts granting bid procedures motion for sale of         0.10
                    IP assets.
05/03/11     MNK    Research, review and draft e-mail memorandum regarding fmality              1.80
                    and appeal of Allocation Procedures Order.
05/04/11     LEM    Examine Appealability issues of Allocation Procedures motion;              4.50
                    Conference with M. Khambati; Brief review of Agenda matters for
                    515.
05/04/11     MNK    Review summary ofKeightley Application (PBGC claims) sent by B.            0.10
                    Kahn.
05/04/11     MNK    Review Summary of Amended RLKS Application sent by B. Kahn.                0.20
05/04/11     MNK    Continue researching and reviewing appeal issues and fmalize and           2.40
                    send e-mail memorandum to L. Miller regarding same.
05/04/11     MNK    Review and organize Nortel papers and files.                               0.40
05/05/11     LEM    Review materials for Nortel conference call; Participate in call;          5.00
                    Review Intellectual Property Auction/Sale motions/papers; Review
                    major US Tax issues; Review retention issue ofKeightley finn on
                    PBGC issues.
05/05/11     MAD    Review materials distributed by Akin.                                      2.25
05/05/11     MNK    Conference with L. Miller regarding Bylaws amendment and                   0.10
                    approval.
05/05/11     MNK    Participate on weekly Committee call.                                      1.50
05/05/11     MNK    Review, organize and ftle Norte! papers.                                   0.30
05/05/11     MNK    Conference with M. Dantas regarding status in the bankruptcy cases.        0.30
05/06/11     LEM    Review allocation procedure motion; Review Ad Hoc legal fee                4.25
                    issues; Analyze possible litigation, arbitration, dual court resolution
                    of allocation and claim issues.
05/06/11     MNK    Review Debtors' motion regarding satisfied claims.                         0.40
05/06/11     MNK    Review Debtors' Nineteenth Omnibus claims objections.                      0.40
05/06/11     MNK    Review Norte! bond prices update.                                          0.10
05/06/11     MNK    Review Agenda of matters set for upcoming hearing.                         0.20
05/07/11     MNK    Review Norte! Twentieth Omnibus Objection to claims.                       0.30
05/07/11     MNK    Review Order approving sale of internet numbers.                           0.30
05/07/11     MNK    Review miscellaneous papers filed and served in the bankruptcy             0.10
                    cases.
05/08/11     MNK    Review filings by Canadian inventors regarding sale ofNortel patent        1.30
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   Date       Tktlr                             [)escription                               Hours
                   portfolio and response by Canadian monitor regarding same.
05/09/11      LEM Review Committee minutes and related allocation/claim documents.           2.00
05/09/11      MNK Review Nortel meeting minutes sent by B. Kahn.                             0.10
05/10/11      LEM Review various allocation/claim motions, exhibits and                      3.25
                  documents/statements.
05/11/11      LEM Analyze/Review EMEA counsel lengthy letter regarding arbitration           3.50
                  of claims and allocation issues and rejecting proposed 2 judge panel
                  resolutions; Consider possible alternative strategies including in
                  REM litigation in US Courts; Also consider possible interim
                  distribution issues.
05/11/11      MAD Review meeting materials; E-mails with M. Khambati.                       1.50
05/11111      MNK Review and analyze Herbert Smith letter on allocation protocol sent       0.40
                  by B. Kahn.
05/11/11      MNK Review   article on Nortel European claims sent by L. Miller.             0.10
05112/11      LEM Review materials for Nortel Committee call and participate in call;       3.75
                  Discussion of various issues with M. Khambati and J. Heaney and M.
                  Dantas.
05/12/11      MAD Attend weekly call and follow-up to same with J. Heaney; Review           2.25
                  materials.
05/12/11      MNK Review Committee meeting minutes sent by B. Kahn.                         0.10
05/12/11      MNK Conference with L. Miller regarding status and strategy issues in the     0.70
                  case.
05/12/11      MNK Participate in weekly Committee call.                                     0.90
05/13/11      MNK Review Order regarding 1W Telecom setoff filed and served in the          0.10
                  bankruptcy cases.
05/13/11      MNK Review Nortel bond pricing information.                                   0.10
05/14/11      MNK Review Debtors' Reply in support of their objections to claims filed      0.20
                  by the EMEA claimants.
05/14/11      MNK Review bid procedures order regarding IP Portfolio sale entered and       0.50
                  served in the bankruptcy cases.
05/14/11      MNK Review Joint Notice of Bid deadline and procedures with respect to        0.40
                  the IP Portfolio sale.
05/17/11      MAD Review materials for weekly call.                                         1.25
05/17/11      MNK Review call agenda sent by B. Kahn.                                       0.10
05/18/11      LEM Attend OCC call; Review relevant materials (allocation of                 2.00
                  proceeds/IP Sale/Employee representation).
05/18/11      MAD Participate on Nortel weekly call; Follow-up to same.                     1.00
05/19/11      LEM Review allocation and claims as well as related issues, also review IP    3.00
                  bid and auction matters.
05119/11      MNK Review Order requiring EMEA claimants to file more definite               0.10
                  claims.
05/19/11      MNK Review Richardson Campus sale order.                                      0.40
05/19/11      MNK Review Order authorizing retention ofKeightley & Ashner as                0.10
                  Special Pension Benefits Counsel.
05/20111      MNK Review Order amending terms ofRLKS retention and compensation             0.30
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   Date      Tkp1·                             Descdption                              Hours
                 entered and served in the cases.
05/20/11    MNK Review Norte I bond prices update.                                       0.10
05/20/11     SM Obtain Law360 article for L. Miller                                      0.10
05/22/11    MNK Review Notice of Agenda for upcoming hearing.                            0.10
05/23/11    LEM Review UK pension trustees push/battle for cash and related              2.75
                 Bankruptcy Court filings; Review 9 documents/materials (filings)
                 sent by library.
05/23/11    MNK Review articles on Nortel UK Pension claims and allocation disputes.     0.10
05/23/11    MNK Review Agenda for upcoming hearing.                                      0.10
05/23/11    MNK Review and analyze Debtors' motion seeking approval of settlement        0.60
                 and buyout with Nortel Israel.
05/23/11     SF  Provide copies of any documents from Nortel Networks bankruptcy         2.00
                 on bondholders or UK pensioners (L. Miller)
05/24/11    LEM Review proposed Order appointing an official Committee of Retired        2.50
                 Employees and related documents.
05/24/11    MNK Review Joint Administrators' objection to allocation protocol motion    0.10
                 (with memorandum filed under seal).
05/24/11    MNK Review memorandum sent by J. Strum on Debtors' motion to appoint        0.20
                 Official Committee of Retired Employees.
05/24/11    MNK Review Genband (motion to compel compliance with) settlement            0.60
                 papers.
05/25/11    LEM Review lengthily attachments to OCC Agenda and related prior            4.25
                documents regarding allocation/claims and IP.
05/25/11    MNK Review Joint Administrators' motion to file their opposition to         0.20
                 allocation protocol under seal.
05/25/11    MNK Review    correspondence from T. Montgomery regarding preference        0.10
                claims settlement update.
05/25/11    MNK Communicate with B. Kahn regarding Joint Administrators'                0.10
                opposition brief on allocation protocol.
05/25/11    MNK Review and analyze Joint Administrators Opposition Brief and Cross      1.60
                Motion to Compel Arbitration sent by B. Kahn.
05/25/11    MNK Review Declaration of K. Lloyd in support of Joint Administrators'      1.40
                Response and Cross Motion.
05/26/11    LEM Participate in OCC conference call, review attachments including        7.50
                EMEA Motion and Counsel statement; Bondholder filing and UK
                Pension Objection; Also revisited Debtor/OCC filing requesting 2
                judges to take jurisdiction over allocation procedure.
05/26/11    MAD Review materials and participate on weekly call; Follow-up on with      2.50
                M. Khambati.
05/26/11    MNK Review UK Pension Parties' opposition to Debtors' Motion regarding      0.30
                Allocation protocol.
05/26/11    MNK Participate on weekly Committee call.                                   1.00
05/27/11    MNK Review latest Norte I bond prices.                                      0.10
05/27/11    MNK Review Bondholder Response in support of Debtors' Allocation            0.20
                Motion.
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    Date     Tkpr                               Description                               Hour·s
05/27/11     MNK Review Debtors' motion seeking Court assistance on MEN Sale                0.50
                  Escrow Agreement.
05/27/11     MNK Review claim stipulation filed and served in the bankruptcy cases.         0.10
05/27/11     MNK Review Debtors' motion concerning Nortel Israel.                           0.40
05/28/11     LEM Review several filings with the DE Bankruptcy Court and related            4.25
                  allocation and claims issues; Conference with M. Khambati.
05/31111     MNK Review miscellaneous papers filed and served in the bankruptcy             0.10
                  cases.
06/01111     LEM Prepare for and participate in OCC conference call; Confer with M.         6.50
                  Khambati; Review BNY submission to Court regarding CORE Party
                  participation; Consider statement/intervention by Law Debenture as
                  Core party; Discuss with M. Khambati and review memo; Review
                  HSR rules regarding IP sale and highest and best issues.
06/01111     MAD Attend Committee Conference call; Review materials.                        1.50
06/01/11     MNK Participate on weekly conference call and multiple conferences with        0.90
                  L. Miller regarding BNY filing and Committee issues.
06/01111     MNK Research, find, and review BNY Statement regarding standing and            0.30
                  send to L. Miller for review and consideration.
06/01111     MNK Research, fmd and review BNY Statement regarding standing filed in         0.20
                  Canadian proceedings.
06/01111     MNK Multiple conferences and communicate with F. Hodara and M. Riela           0.70
                  regarding status on allocation protocol dispute and BNY Statement
                  and posture.
06/01111     MNK Draft Law Debenture statement on standing to participate in                3.30
                  allocation proceedings and send to L. Miller for review and
                  consideration.
06/01111     MNK Conference and communicate with D. Batter and L. Miller regarding         0.60
                  status and strategy on BNY standing statement and Law Debenture
                  standing issues.
06/01/11     MNK Review proposed form of Canadian Order and revised draft                  0.50
                  Allocation protocol sent by J. Strum in response to inquiries.
06/01/11     MNK Review and analyze Declaration ofK. Lloyd in support of Joint             1.10
                  Administrators' position.
06/01111     MNK  Review   and analyze Joint Administrators' Memorandum in support         0.80
                  of their arguments on allocation protocol.
06/02/11     HLA Conferences with Team regarding filing objection.                         0.30
06/02/11     HLA Conferences with Team regarding.filing and service of document.           0.30
06/02/11     LEM Review/analyze joint reply of US Debtor and OCC Committee in              6.50
                  support of allocation protocol and Ex "A" to brief and declaration in
                  support by Brod, Rosenberg and Hodara, plus review BNY/Latham
                  statement to be considered a Core party.
06/02/11     MNK Review Canadian Monitor's Sixty Fourth Report (interim                    0.60
                  distributions to employee groups).
06/02/11     MNK Review and analyze Sixty Fifth Report ofMonitor (EMEA and UK              0.90
                  Pension Claims).
06/02/11     MNK Review Joint Administrators motion for leave to file Reply in support     0.10
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   Date      Tkpr                               Description                                 Hours
                  of cross motion for arbitration on allocation issues.
06/02/11     MNK Review amended stipulation and settlement agreement submitted by             0.40
                  Genband in support of its motion to compel compliance with
                  settlement.
06/02/11      SY Review docket for underlying motion and certificate of service to            1.20
                 prepare for objection filing (0.7); Create service list and labels(0.3);
                  Correspond with H. Aaronson regarding documents (0.2).
06/03/11     HLA Conferences with Team regarding filing objection.                            0.50
06/03/11     LEM Continued review of material filed by US, Canadian and EMEA                  3.25
                 debtors for June 7 hearing; Plus preparation for possible application
                 by Law Debenture for CORE party status; Conferences with M.
                 Khambati.
06/03/11     MNK Conference and communicate with M. Dantas regarding Law                     0.30
                 Debenture standing statement, status and strategy.
06/03/11     MNK Review correspondence from L. Miller regarding upcoming hearing.            0.10
06/03/11     MNK Review Agenda of matters schoouled for upcoming hearing.                    0.10
06/03/11     MNK Review exhibits offered by EMEA in support of their opposition and          1.20
                 cross-motion to Allocation Procedures.
06/04111     MNK Review Declaration and attachments submitted by C. Brad in support          2.10
                 of allocation procedures motion.
06/04/11     MNK Review Joint Administrators' objection and response to Genband              0.50
                 motion to compel settlement.
06/04111     MNK Review Debtors' objection/response to Genband motion to compel              0.40
                 entry into settlement agreement.
06/05/11     MNK Review Debtors' and Committee's Reply Brief in support of                   1.40
                 allocation motion.
06/05/11     MNK Review Joint Administrators' affidavit in support of allocation             0.70
                 procedures argument.
06/05/11     MNK Review F. Hodara declaration in support of Joint Motion.                    1.30
06/05/11     MNK Review Joint Administrators' February 2010 Report submitted in              1.70
                 these cases.
06/06/11     LEM Review/analyze numerous lengthy submissions by US, Canadian and            11.50
                 EMEA debtors and other CORE parties.
06/06/11     MAD Review Allocation materials and pleadings.                                  3.00
06/06/11     MNK Review Declaration of I. Rozenberg in support of allocation protocol        0.90
                 motion and various exhibits attached thereto.
06/06/11     MNK Review Affidavit of J. Whiteoak regarding various EMEA claims               1.30
                 and allocation issues referred to in allocation procedures dispute.
06/06/11     MNK Review Declaration ofF. Hodara in support of allocation procedures          0.40
                 motion.
06/06/11     MNK Review Reply in support of allocation protocol.                             0.40
06/06/11     MNK Review Debtors' application to retain Cassidy Turley as brokers.            0.40
06/06/11     MNK Review Monitor's Sixty-Seventh Report (Allocation Procedures                0.80
                 dispute).
06/06/11     MNK Review latest Nortel bond prices.                                           0.10
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    Date      Tkpr                                Description                               Hotn·s
06/06111      MNK Review Debtors' motion seeking appointment of a retiree committee.          0.40
06/06/11      MNK Review offer to purchase claims against NNI.                                0.10
06/06111      MNK Conference and communicate with M. Dantas regarding upcoming                0.10
                    Nortel hearing.
06/06/11      MNK Review NNC/NNL papers regarding Israel and Nortel Columbia                  0.70
                    settlements filed and served in the bankruptcy cases.
06/06/11      MNK Review and edit list of possible Canadian counsel that could be             0.60
                    retained by Law Debenture.
06/07/11      LEM Travel to Wilmington, Delaware for a lengthy bankruptcy court              13.50
                   hearing/argument on allocation and claims among US, Canada and
                   EMEA debtor and other CORE parties.
06/07/11      MAD Attend allocation hearing via telephone.                                    6.75
06/07/11      MNK Participate (telephonically) in joint hearing on allocation procedures.     9.50
06/07111      MNK Review correspondence from D. Botter regarding hearing summary              0.10
                   and information.
06/08111      LEM Review e-mail from D. Botter, Review notes of hearing; Long phone           5.50
                   call with M. Khambati regarding hearing and possible interim fee
                   application/payment; Review numerous pleadings filed by US,
                   Canadian and EMEA debtor and related parties; Conference with J.
                   Heaney of Law Debenture.
06/08/11      MNK Review Genband Reply in support of motion to compel compliance              0.30
                   with settlement agreement filed and served in the bankruptcy cases.
06/08/11      MNK Conference with L. Miller regarding allocation procedures hearing           0.70
                   and interim payment of attorneys fees.
06/08/11      MNK Review Monitor's Sixty Eight Report (release of escrow proceeds).           0.40
06/08/11      MNK Review article on CAW arguments on global substantive                       0.10
                   consolidation.
06/08/11      MNK Review article on speculated Nortel patent portfolio recoveries.            0.10
06/08/1 I     MNK Review and analyze summary of LTD beneficiaries Motion.                     0.20
06/08/11      MNK Review cash update prepared and circulated by Capstone.                     0.80
06/09111      LEM Prepare for and participate in OCC Comm conference call;                    7.50
                   Conference with M. Khambati; Review significant allocation and
                   claim materials from the three debtors, UK pension and various
                   Canadian entities; Prepare notes for future.
06/09/11      MAD Participate on Nortel call.                                                 1.25
06/09/11      MNK Conference with L. Miller regarding status and strategy issues in this      0.40
                   case.
06/09111      MNK Review Monitor's Sixty-Sixth Report (re significant Canadian                0.70
                   environmental liabilities).
06/09111      MNK Participate in weekly Nortel Committee call.                                1.40
06/10/11      MNK Review Order approving Nortel Israel agreement entered and served           0.10
                   in the bankruptcy cases.
06/10/11      MNK Conference and communicate with L. Miller regarding status and             0.40
                   strategy issues.
06/10/11      MNK Communicate with D. Botter and B. Kahn regarding upcoming                  0.10
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   Date       Tkpr                                 Description                                Hours
                     chambers conference on allocation issues.
06/10/11     MNK     Review Motion brought by Ad Hoc Group of Beneficiaries to compel           0.80
                     discovery from the Debtors.
06/10/11     MNK     Review Order granting Debtors' 19th Omnibus Objection to claims            0.10
                     entered and served in the bankruptcy cases.
06/10/11     MNK     Review and analyze Compendium filed by Canadian Debtors in                 1.60
                     support of their allocation arguments.
06/10/11     MNK     Review various correspondence and attachments to C. Brod                   1.70
                     Declaration in support of allocation procedures motion.
06110/11     MNK     Review exhibits attached to I. Rozenberg (allocation procedures)           0.40
                     declaration.
06/11111     MNK     Continue reviewing and analyzing Canadian Debtors' Compendium              0.60
                     in support of allocation arguments.
06111111     MNK     Review Order granting Debtors' Twentieth Omnibus Objection to             0.10
                     Claims.
06/11111     MNK     Review Order Authorizing Claims Agent to reflect satisfied claims.        0.10
06/13/11     LEM     Prepare for and participate in OCC Committee call; Conference with        3.00
                     M. Khambat~ Review IP sale issues; Review Gateway Lease
                     Tennination issues (review memorandum).
06/13/11     MAD     Participate on Nortel call.                                               1.00
06/13111     MNK     Correspond with L. Miller and J. Heaney re upcoming conference            0.10
                     call.
06/13/11     MNK     Review correspondence from J. Borrow re upcoming conference call.         0.10
06/13/11     MNK     Review and analyze RTP Gateway Lease termination materials sent           0.40
                     by J. Strum.
06/13/11     MNK     Participate on conference call with Committee re mediation results        0.80
                     and RTP Lease.
06/13/11     MNK     Prepare talking points memorandum and send to L. Miller for review        2.50
                     and consideration.
06/13/11     MNK     Review Supplemental E&Y Affidavit and disclosure.                         0.10
06/14/11      CL     Pull court documents in Nortel case for L. Miller.                        0.10
06/14/11     LEM     Conference with M. Khambati; Conference with J. Heaney of Law             2.25
                     Debenture; Teleconference with C. Adams ofMorgan Stanley a
                     holder of Law Debenture 2026 bonds; Analyze three objections to
                     sale ofiP by AT&T, Verizon and Microsoft; Review debtor
                     allocation and EMEA claim issues.
06/14/11     MNK     Conferences with M. Dantas and L. Miller re various open issues.          0.30
06/14111     MNK     Review correspondence from B. Kahn re settlement with McKinsey            0.10
                     on avoidance action.
06/14/11     MNK     Review article on objections to sale ofNortel IP assets and send to L.    0.10
                     Miller for review and consideration.
06/14/11     MNK     Review EADS and HP objections to IP sale motion.                          0.60
06/14/11     MNK     Review Microsoft, Nokia and Verizon objections to the IP sale             0.70
                     motion.
06/14111     MNK     Review AT&T objection to IP sale motion.                                  0.90
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    Date      Tkpt·                                   Description                            Hours
06/14/11      MNK      Review latest bond prices in Nortel matter.                             0.10
06/14/11      MNK      Review agenda for upcoming call sent by B. Kahn.                        0.10
06/15/11      LEM      Prepare for and participate in OCC conference call.                     1.00
06/15/11      MAD      Participate on Norte! calL                                              1.00
06/15/11      MNK      Participate in Nortel weekly Committee call and conferences with L.     1.00
                       Miller re status.
06/16111      LEM      Review notices of adjournment of IP auction from June 20 to June        3.00
                       27, and approval of sale from June 30 to July 11; Review CTDI trade
                       secret litigation issues; Review additional IP documents.
06/16/11      MNK      Review announcement and notice re adjournment ofNortel IP assets        0.10
                      auction, objection deadline and hearing date.
06/17/11      LEM      Exchange of e-mails regarding Ad Hoc Bond Holders Canadian/US           0.50
                      Agreements on fee payments.
06/17/11      MNK      Review agenda of matters for upcoming hearing.                          0.10
06/17/11      MNK     Communicate with L. Miller, B. Kahn, and M. Riela re Ad Hoc              0.20
                      agreement on fees in Canada and impact on indenture trustee fee
                      iSSUeS.
06/17111      MNK     Review Supplemental Declaration of J. Bromley in support of CGSH        0.20
                      retention.
06/20/11      LEM     Initial review of Canadian and US court orders and draft Ad Hoc         2.50
                      Bondholder Committee fee agreement; Conference with M.
                      Khambati regarding above issues and BNY position on fee
                      agreement and possible trustee payments.
06/20/11      MNK     Review Protective Order re U.S. Deferred Compensation Plan.             0.30
06/20/11      MNK     Review draft letter agreement between Ad Hoc professionals and          0.80
                      Monitor and communicate with L. Miller and conferences with M.
                      Riela re same and indenture trustee fees issue.
06/20/11      MNK     Review Official Committee Response to LTD Committee papers              0.40
                      filed and served in the bankruptcy cases.
06/20/11      MNK     Review miscellaneous notices and orders filed and served in the         0.20
                      bankruptcy cases.
06/20/11      MNK     Review correspondence from B. Kahn re allocation dispute.               0.10
06/20/11      MNK     Review (interim) US Bankruptcy Court Order re allocation                0.10
                      procedures motion.
06/20/11      MNK     Review NNUK claim against NN HPOCS and NN International.                0.20
06/20/11      MNK     Review (interim) Canadian CCAA Order re allocation procedures           0.20
                      motion.
06/20/11      MNK     Review Joint Administrators' Fourth Report (February 2011) to           1.40
                      creditors.
06/21/11      LEM     Review Orders of Canadian and US Bankruptcy Courts; Review dmft         4.50
                      letter concerning the fees of Ad Hoc bond holder Committee; Long
                      teleconference with M. Khambati regarding possible payment of
                      BNY and Law Debenture fees by the US Debtor, analyze support
                      agreement issues and IP sale issues; Review Trademark Licensing
                      Agreement with A vaya; Review files.
06/21/11      MNK     Review funding information and allocation protocol dmfts attached       0.90
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   Date       Tkpt·                             Description                               Hours
                  to K. Brad declaration filed and served in these cases.
06/21/11     MNK Conference with L. Miller re various status and strategy issues.           0.30
06/21/11     MNK Review A vaya license extension summary sent by B. Kahn.                   0.10
06/21111     MNK Multiple conference and communications with L. Belfor and draft            0.50
                  request to Debtors to update service list for L. Miller.
06/22111     LEM Review Avaya Trademark Licensing Agreement memorandum; E-                  3.75
                  mails with M. Khambati; Review articles on two new official
                  Committee (Retirees and Disabled); Review HSR merger guidelines
                 regulations and related allocation issues.
06/22/11     MNK Review article on Nortel retiree and LTO Committees and bond               0.10
                 trading prices sent by L. Miller.
06/22/11     MNK Review    and respond to multiple correspondence from F. Hodara re         0.10
                 upcoming Committee call.
06/22/11     MNK Review and respond to correspondence from L. Miller re formation           0.10
                 of retiree/LTD committees and review additional article re same.
06/22/11     PAB Review Nortel file.                                                       2.00
06/23/11     LEM Prepare for, review OCC materials and participate in long OCC             6.25
                 conference calls; Review mediation/arbitration/allocation issues and
                 support agreement both law and facts; Consider IP issues
                 surrounding auction on June 27.
06/23/11     MNK Multiple conferences with L. Miller re status and strategy.               0.80
06/23/11     MNK Participate in Nortel Committee call.                                     1.00
06/23/11     MNK Review and analyze Project Iceberg summary sent by B. Kahn.               0.80
06/23/11     MNK Review and analyze Capstone summary on avoidance actions.                 0.50
06/23/11     MNK Review and analyze Capstone Canada (Corporate Group, tax                  0.70
                 liability, intercompany balances) update.
06/24111     LEM Review multiple IP sale issues, H-S-R issues, and consider mediation      2.50
                 issues.
06/24/11     MNK Review and analyze NNUK claims filed against NNI.                         2.20
06/24/11     MNK Review correspondence from L. Miller re ethical wall considerations.      0.10
06/24/11     MNK Review latest Nortel bond prices.                                         0.10
06/24/11     MNK Review article on Apple obtaining HSR clearance for sale ofNortel         0.10
                 IP portfolio.
06/27/11     LEM Review documents/materials/articles related to the IP auction;            5.00
                 Participate in multiple conference calls regarding auction progress;
                 Telephone call with Akin partner regarding auction participation; E-
                 mail with M. Khambati; Consider implications for allocation among
                 the debtor.
06/27/11     MNK Participate on Nortel call re IP auction and review and respond to        0.40
                 correspondence re same from L. Miller.
06/27/11     MNK Review several articles and multiple correspondence from L. Miller        0.30
                 and P. Baumgaertner re Nortel IP sale.
06/27/11     MNK Draft periodic report in the bankruptcy cases for R. Reale and send to    0.50
                 L. Miller for review and consideration; review, revise, and send to R.
                 Reale.
06/27/11     MNK Review multiple Nortel UCC meeting minutes sent by B. Kahn.               0.20
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06/27/11     MNK Review multiple miscellaneous orders entered and served in these             0.30
                    cases.
06/27/11     MNK Review latest professionals fee order and schedule of fees appended          0.20
                    thereto.
06/28/11     LEM Review F. Hodara updates; Participate in several conference calls            4.00
                   with OCC counsel and committee member regarding
                   Appleflntel/Google bids; review articles/documents regarding
                    auction process; Several conferences and e-mails with M. Khambati;
                    Conferences with P. Baumgaertner.
06/28111     MNK Review Sixty-Ninth Report of Monitor filed and served in the                 0.50
                   bankruptcy cases.
06/28/11     MNK Participate in second Nortel Committee call re IP sale auction.              0.30
06/28111     MNK Review correspondence and attachment sent by P. Baumgaertner re              0.50
                   Canadian Monitor filing relating to the allocation procedures dispute.
06/28/11     MNK Review correspondence from F. Hodara re Nortel IP sale auction               0.10
                   status.
06/28/11     MNK Review multiple correspondence from F. Hodara re Nortel IP assets            0.10
                   auction status.
06/28111     MNK Participate on Nortel Committee call re auction status.                     0.30
06/28/11     MNK Conference with L. Miller re status and strategy re allocation issues.      0.20
06/29111     LEM Review various documents for IP auction; Telephone conferences              5.25
                   with M. Khambati; Review various ethical screens; Long telephone
                   conference with M. Khambati and P. Baumgaertner; Several
                   conference calls with Akin Partners and fmancia1 advisors regarding
                   auctions results; Telephone conference with M. Khambati.
06/29/11     MNK Review supplemental mediation orders entered by the US and                  0.30
                   Canadian Courts.
06/29/11     MNK Review correspondence from J. Strum and F. Hodara re IP auction             0.10
                   status.
06/29/11     MNK Conference with P. Baumgaertner and L. Miller re status in the              0.50
                   bankruptcy cases.
06/29/11     MNK Participate on Nortel Committee call re auction status and results.         0.20
06/29/11     MNK Multiple conferences and correspondence with L. Miller re conflicts         0.20
                   issues and status.
06/29/11     MNK Review correspondence from D. Botter re auction status.                     0.10
06/30111     LEM Participate in several conference calls regarding ongoing IP auction;       3.50
                   Review documents and articles on IP issues.
06/30111     MNK Review correspondence from D. Botter re auction process and                 0.10
                   results.
06/30/11     MNK Participate in conference with Committee re auction status.                 0.50
06/30111     MNK Review Law Debenture claims in US and Canadian proceedings in               0.20
                   light of sale proceeds allocation possibilities.
06/30/11     MNK Conference with L. Miller re status.                                        0.20
06/30/11     MNK Review and participate in correspondence, conferences and                   0.70
                   conference call re Nortel IP auction.
06/30/11     MNK Review multiple correspondence from Akin and Committee members              0.20
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   Date       Tkpr                               Description                                 Hours
                   re final auction results and next steps.
07/01/11     LEM Various emails with M. Khambati and P. Baumgaertner; Review                   1.25
                   articles on IP auction sale; Discussion with M. Khambati regarding
                   auction and allocation.
07/01/11     MNK Review article on Nortel IP auction results and corresponding bond            0.10
                   price adjustments.
07/01111     MNK Review latest Nortel bond prices.                                             0.10
07/01111     MNK Review and respond to correspondence from L. Miller and P.                    0.10
                   Baumgaertner re Nortel IP auction.
07/01111     MNK Review supplementary affidavit and disclosure statement filed by              0.10
                   Short Consulting.
07/04/11     MNK Review notice of Apple/Rockstar successful bid.                              0.10
07/05/11     LEM Review several articles regarding last week's successful IP auction;         3.75
                  Emails with M. Khambati regarding auction hearing in Wilmington
                   and consider allocation issues.
07/06/11     LEM Consider implications of IP sale for $4.5 Billion on distributions to        3.75
                  various Creditors; Review agenda and materials for tomorrow's OCC
                   call.
07/06/11     MNK Review Project Iceberg summary sent by B. Kahn.                              0.40
07/07/11     LEM Review bond distribution analysis under several possible allocation          5.25
                  scenarios after successful Nortel IP sale for 4.5 Billion; Review AlA
                  letter to DOJ regarding anti-competitive effects of sale; Participate in
                  lengthy OCC committee conference call.
07/07/11     MNK Participate on weekly Committee meeting.                                     1.50
07/07/11     MNK Review articles on US antitrust and Canadian government review of            0.20
                  Nortel IP portfolio sale.
07/07/11     MNK Review Debtors' motion re settlement with Gail & Rice.                       0.40
07/07/11     MNK Review Debtors' supplemental application seeking expansion of tax            0.40
                  outsourcing services provided by E&Y.
07/07/11     M.NK Review Capstone preliminary recovery analysis.                              1.20
07/08/11     LEM Continue review/analysis of Capstone analysis of potential recoveries        3.00
                  and related materials.
07/08/11     M.NK Review Canadian Debtors' motion seeking approval ofiP patent                0.70
                  portfolio sale.
07/08/11     M.NK Review various Affidavits and supplemental affidavits of G. Riedel          1.90
                  in support of Canadian IP sale motion.
07/08/11     MNK Review Sixty Third Report of Monitor (IP Patent portfolio Sale).             1.70
07/08/11     MNK Review Debtors' motion seeking approval of settlement with                   0.40
                  McKinsey & Co.
07/08/11     MNK Review Debtors' motion shortening notice with respect to IP                  0.30
                  Transaction Side Agreement.
07/08/11     M.NK Review Debtors' Reply in support of their (IP) sale motion.                 1.10
07/09/11     MNK Review clean and redline version of (Canadian) Approval and                  0.90
                  Vesting Order with respect to sale ofNortel IP patent assets.
07/09/11     MNK Review supplemental materials in support of Canadian submissions             0.50
                  for IP patent sale.
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   Date      Tkpr                                Descr·iption                             Hour·s
07/09/11     MNK Review Monitor's Seventy-First Report (in support ofiP patent              1.30
                   portfolio sale).
07/10/11     MNK Travel to Wilmington (via Philadelphia) for hearing on IP assets sale.     4.00
07/11111     MNK Travel from Wilmington (via Philadelphia) back to Chicago from             4.00
                   Nortel IP sale hearing.
07/11111     MNK Attend hearing on Nortel IP sale.                                          5.40
07/12/11     MNK Review Supplemental Retention Affidavit of J. Bromley.                     0.10
07/12/11     MNK Review Order shortening notice with respect to IP Transaction side         0.10
                   agreement.
07/12/11     MNK Review Debtors' motion seeking approval of IP Transaction Side             1.40
                   Agreement.
07/12/11     MNK Review Statement of Canadian Debtors re Ad Hoc Group of                    0.10
                   Beneficiaries' motion to compel discovery.
07/12/11     MNK Review latest bond pricing update.                                         0.10
07/13/11     MNK Conference with B. Braverman re Norte! bond yield information.             0.10
07/13/11     MNK Prepare and send summary ofiP sale hearing to J. Heaney and L.             0.30
                   Miller.
07/13/11     MNK Review Seventeenth Supplemental declaration of J. Bromley in              0.10
                   support of Cleary retention.
07/13/11     MNK Review R. Bennett bio sent by B. Kahn.                                    0.10
07/13/11     MNK Review Capstone summary on IT employee retention program.                 0.30
07/13/11     PAB Confer with J. Miller and M. Khombati regarding Norte I sale/auction      1.00
                  and status update; Review e-mail correspondence.
07/14/11     MNK Review Capstone preliminary recovery analysis.                            0.90
07/14/11     MNK Participate in weekly Norte} Committee call.                              0.90
07/15/11     MNK Review Order approving amended IP Transaction Side Agreement.             0.10
07/15/11     MNK Review Order approving IP patent sale.                                    1.30
07/16/11     MNK Review Supplemental Declaration ofF. Hodara in support of Akin            0.10
                  retention.
07/16/11     MNK Review multiple notices of settlement of certain pre-petition and         0.20
                  avoidance claims.
07/18/11     MNK Continue reviewing and analyzing Order approving IP patent sale.          1.80
07/19/11     MNK Review UK Administrator claim and Joint objection to the same.            1.20
07/20/11     MNK Review article on Canadian review ofNortel IP portfolio sale.             0.10
07/20/11     MNK Review correspondence from B. Kahn re Norte} call.                        0.10
07/20/11     MNK Review IP Group AlP information submitted by Capstone.                    0.30
07/22/11     MNK Review Agenda of matters for upcoming hearing.                            0.20
07/22/11     MNK Review latest Nortel bond prices.                                         0.10
07/25/11     LEM Review numerous filings, motions and supporting papers; Long              7.50
                  conference with M. Khambati regarding status and future actions;
                  Analyze future possibilities for resolution of allocation issues.
07/25/11     MNK Conference and correspondence with L. Miller re status and strategy       0.40
                  in the case.
07/25/11     MNK Review Order re E&Y employment services.                                  0.10
07/25/11     MNK Review and analyze Debtors' portfolio transfer agreement with             0.40
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   Date       Tkp1·                               Dcsrription                              Hours
                   Liberty Mutual and motion seeking approval of the same.
07/26111      LEM Continue review of notices, filings and supporting papers; Analyze         5.75
                   FRCP issues regarding allocation issues.
07/26/11      MNK Review Orders approving McKinsey and Gail settlement stipulations.         0.20
07/26/11      MNK Review Committee meeting minutes from June 23 through July 14th            0.20
                   sent by B. Kahn.
07/27/11      LEM Review material for OCC call on 7128 including Capstone's cash             4.25
                   update for US, Canada, APAC and China; Also review JPM escrow
                   agreement for possible litigation/jurisdictional issues.
07/27/11      MNK Review Capstone cash update.                                               0.50
07/27/11     MNK Review and analyze Nortel escrow agreements (MEN and CVAS) to               3.70
                   determine cause for in rem jurisdiction; research and analyze in rem
                  jurisdiction possibilities in light of allocation dispute ftlings;
                   conference and communicate with B. Kahn and L. Miller re same.
07/27/11     MNK Review Debtors' application to employ E. Collins as consulting             0.40
                   expert and special counsel for Irish law matters (UK Ireland claims).
07/28/11      LEM Prepare for and participate in OCC conference call; Long                  4.50
                   teleconference with M. Khambati to discuss related issues such as
                   allocation, mediation and possible litigation; Review possible
                   litigation issues; analyze escrow (JPM) agreement.
07/28/11     MNK Participate on weekly Committee call.                                      1.30
07128111     MNK Conference with L. Miller re status and strategy in the cases.             0.80
07/29/11     MNK Review July 28th meeting minutes sent by B. Kahn.                          0.10
08/01111      LEM Review US "in rem" litigation issues and conference with M.               3.50
                  Khambati; Emails with AKIN regarding exploratory meeting on
                  allocation mediation/arbitration/litigation; Focus on issues for 3rd
                  Circuit's argument of UK pension appeal; Emails with B. Kahn;
                  Review issues for call with counsel for Salus Alternative Asset
                  Management concerning 2026 bonds and discovery issues.
08/01/11     MNK Conference and communicate with B. Kahn and L. Miller re                   0.50
                  jurisdictional issues with respect to allocation proceeds dispute.
08/01/11     .MNK Conference and communicate with L. Miller re status and strategy          0.20
                  ISSUeS.
08/01/11     MNK Review latest Norte) bond pricing update.                                  0.10
08/01/11     MNK Review Debtors and Committee objection to dismiss NNUK claims.             0.70
08/01/11     MNK Review correspondence and attachment from B. Kahn re UK Pension            0.10
                  Third Circuit appeal.
08/02/11     LEM Emails with AkiN; Review issues for call with Solus; Conference            2.75
                  call with counsel to Solus; Prepare list of topics for AKIN meeting;
                  Review of agenda issues.
08/02/11     MNK Review Corporate Group AlP presentation prepared by Capstone.              0.80
08/02/11     MNK Review NBS AlP presentation prepared by Capstone.                          0.70
08/02111     MNK Prepare for and participate in a call with Salus re discovery served on    1.80
                  debtors and Law Debenture claim.
08/02/11     MNK Conference with L. Miller re noteholder inquiry.                           0.30
08/02/11     MNK Review notice of closing of patent sale and bar date for patent license    0.10
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   Date       Tkpr                              Descdption                             Hom·s
                  rejection claims.
08/03/11     LEM Review materials for OCC call; Participate in OCC call and long         5.75
                  conference with M. Khambati; Email to AKIN regarding meeting
                  tomorrow; Prepare for August 4th meeting at AKIN; Review
                  documents and charts.
08/03/11     MNK Participate on weekly Committee call.                                   1.00
08/03/11     MNK Conferences with L. Miller and P. Baumgaertner re various status        0.40
                  and strategy issues.
08/03/11     MNK Review Notice of Appointment of Retiree Committee.                      0.10
08/03/11     MNK Review Notice of Appointment ofLTD Committee.                           0.10
08/03/11     MNK Review and analyze joint objection to NNUK claims.                      2.20
08/04/11     LEM Review documents; Long conference with M. Khambati; Meeting             4.25
                  with AKIN Group regarding mediation/arbitration and status on
                  matter; Review Google reimbursement issue.
08/04/11     MNK Conference and communicate with L. Miller re status and strategy in     0.70
                 the case.
08/04/11     MNK Review correspondence and recommendation from B. Kahn re                0.10
                 Google break up fee and send to A. Boccino.
08/04/11     MNK Continue reviewing and analyzing Joint objections and attachments       2.40
                 to NNUK claims.
08/04/11     MNK Conferences with L. Miller, F. Hodara. and B. Kahn re status and        2.40
                  strategy on open issues.
08/04/11     MNK Review and respond to correspondence from B. Kahn and                   0.20
                 communicate with L. Schweitzer re obtaining a copy of the NNCC
                 loan agreement.
08/05/11     LEM Review agenda for August 9th hearing.                                   0.50
08/05/11     MNK Review Debtors' motion seeking approval of supplemental IP              1.10
                 Transaction Side Agreement.
08/08/11     LEM Review OCC meeting minutes; Teleconference with M. Khambati.            0.50
08/08/11     MNK Review Nortel bond prices.                                              0.10
08/09/11     MNK Conference with L. Schweitzer re Solus document requests.               0.40
08/09/11     MNK Review mediator letter to counsel re postponement sent by B. Kahn.      0.10
08/09/11     MNK Review and analyze NNCCINNI intercompany loan agreement.                0.40
08/09/11     MNK Review Nortel meeting minutes sent by B. Kahn.                          0.10
08/10/11     LEM Review email from Cleary on NNCC loan note; Review Committee            2.50
                 call materials and participate in Committee conference.
08/10/11     MNK Review Debtors' motion (and attachments) seeking to approve             0.90
                 amendments to certain escrow agreements.
08/10/11     MNK Communicate with L. Schweitzer re documentation on principal            0.20
                 amount ofNNCC 2026 obligations.
08/10/11     MNK Participate in weekly Committee conference call.                        1.00
08/10/11     MNK Review the EMEA Claims and Mediation Scheduling Order entered           0.10
                 in the US Bankruptcy cases.
08/11/11     LEM Review several lengthy documents including Objection to claim of        3.25
                 Nortel Networks UK, Limited and order approving sale of Certain
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                  Patents a related assets.
08/12/11     LEM Review Notice of Objection and Motion to Dismiss Claims ofNortel          1.50
                  Network SA and it's French Liquidator same on Nortel Networks,
                  Ireland Ltd; Review related documents.
08/13/11     MNK Review Order approving settlement with Liberty Mutual.                    0.10
08/13/11     MNK Review various declarations and orders re professional retentions.        0.10
08/13111     MNK Review Debtors' notices re rejection of contracts and tax                 0.20
                  examination.
08/16/11     LEM Review OCC summary of pending matters, and OCC minutes.                   0.75
08/16/11     MNK Review Committee meeting minutes for August lOth sent by B.               0.10
                 Kahn.
08/16/11     MNK Review Third Circuit oral argument notification sent by B. Kahn.          0.10
08/16111     MNK Review status summaries and attachments (Google/Motorola deal)            0.40
                 sent by B. Kahn.
08/16/11     MNK Review updated Norte] bond prices.                                       0.10
08/17/11     LEM Review NNCC loan agreement; Email with M. Khambati; Review               2.00
                 related documents.
08/17/11     MNK Review Debtors' motion seeking approval of settlement stipulation        0.50
                 with Genband.
08117/11     MNK Conference and communicate with L. Miller re status.                     0.30
08/17/11     MNK Conference with S. Blauner re status.                                    0.40
08/17/11     MNK Correspond with F. Hodara re case status.                                0.10
08/18/11     LEM Review backup documents for NNCC loan agreement; Review email            4.75
                 from L. Beckennan of AKIN regarding mediation; Review various
                 Escrow Agreements, Amendments to various Agreements, plus
                 several attachments; Review several other pleadings in case;
                 Teleconference with M. Khambati.
08/18/11     MNK Review correspondence from L. Beckerman re deferred                      0.10
                 compensation mediation status and results.
08119/11     LEM Review Hearing Agenda for 8/23/2011.                                     0.50
08/19/11     MNK Review Debtors' motion re Genband settlement.                            0.60
08/19/11     MNK Review Debtors' motion seeking approval of intercompany                  0.40
                 agreements.
08/19/11     MNK Review Debtors' motion seeking approval of stipulation re Emerson        0.50
                 claims.
08/19/11     MNK Review professional fees application for Addrex Inc. filed and served    0.20
                 in the bankruptcy cases.
08/22/11     MNK Conference with L. Miller re status and strategy.                        0.10
08/22/11     MNK Review Agenda for upcoming hearing.                                      0.10
08/23/11     LEM Emails with M. Khambati; Consider Salus counsel request for a            0.75
                 conference.
08/23/11     MNK Review   Debtors' motion seeking approval for adjustments to certain     0.90
                 intercompany agreements.
08/23/11     MNK Communicate with J. Schiffrin and L. Miller re upcoming call with        0.10
                 Salus counseL
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   Date      Tkpt·                              Description                              Hom·s
08124/11     LEM Review OCC agenda and Capstone attachments; Teleconference with           1.50
                    M. Khambati.
08/24/11     MNK Finish reviewing Debtors' motion re certain intercompany                  1.30
                   agreements.
08/25111     LEM OCC conference call review summary; Emails with M. Khambati.              0.75
08/25/11     MNK Participate in weekly Committee meeting.                                  0.80
08/25/11     MNK Review Capstone Corporate Group update sent by B. Kahn.                   0.40
08/25/11     MNK Review Capstone Cash Update sent by B. Kahn.                              0.60
08/25/11     PAB Review of summary of August 25 call.                                      0.25
08/26/11     LEM Review F. Hod era email regarding OCC/Debtor conference with              0.50
                   Justice Morawetz.
08/26/11     MNK Review correspondence from F. Hodara re EMEA discovery status in          0.10
                   Canada.
08/26/11     MNK Review Monitor's Seventy-Second Report.                                   1.20
08/29111     LEM Review Committee minutes; Review Support Agreement issues and             1.50
                   background documents.
08129111     MNK   Review   Committee meeting minutes circulated by B. Kahn.               0.10
08/30111     LEM Review/analyze several filings in matter including proposed               2.00
                   adjustments to various intercompany agreements, Settlement
                   Stipulation in the Genband matter; Escrow Agreement Amendment
                   emails with M. Khambati.
08/30111     MNK Travel to New York to attend to Law Debenture call and meeting            3.00
                   with J. Heaney.
08/31111     LEM Emails, teleconference with counsel to Solus; Lengthy discussion          5.75
                   with M. Khambati regarding allocation, PBGC claim, support
                   agreement and meeting with counsel to Ad Hoc Bondholder Comm.
                   Discussion with J. Heaney of same topics; analyze support agreement
                   issues and documents; Review 90 19 Motion Stipulation between
                   Debtor and the Precision related companies.
08/31111     MNK Conferences with L. Miller re open Nortel issues.                        0.60
08/31111     MNK Review Capstone Avoidance Action update sent by B. Kahn.                 0.40
08/31111     MNK Review Capstone Escrow Accounts update information.                      0.80
09/01111     LEM Attend OCC conference call; Review agenda of hearing (9/6/11);           2.75
                   Review draft of Bar date motion; Review attachments to agenda for
                   OCC call including cash update.
09/01111     MNK Participate in weekly Committee conference call.                         1.30
09/01111     MNK Review Agenda of matters for upcoming hearing.                           0.10
09/01111     MNK Review and analyze Debtors' Non-Canadian Intercompany Claims             0.90
                   bar date DRAFT papers sent by B. Kahn.
09/01111     MNK Review Order approving adjustments to certain intercompany               1.60
                   agreement and attachments (Agreement on Transfer Pricing
                   Amendments; Transfer Pricing Settlement Agreement).
09/01/11     MNK Review Application of LTD Committee to retain Elliott Greenleaf as       0.20
                   counsel.
09/01111     MNK Review agenda for upcoming hearing.                                      0.10
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09/02/11     MNK Review and analyze request for appointment of equity committee               0.20
                    (sent by Brown Rudnick).
09/02/11     MNK Travel back from New York after client meeting.                              2.50
09/05/11     MNK Review Supplemental retention Declaration of D. Abbott.                      0.10
09/05/11     MNK Review supplemental declaration ofF. Hodara in support of                    0.10
                   retention.
09/05/11     MNK Review Notice of Final Application of Special Counsel.                       0.10
09/05/11     MNK Review current Nortel bond prices.                                           0.10
09/06/11     LEM Two teleconferences with M. Khambati; Teleconference with counsel            1.75
                    for Sorus; Review several papers filed in matter including the motion
                    of Global IP group for reimbursement, 9019 motion for settlement of
                   Norte] ERISA action- resolution of Claim 5043.
09/06/11     MNK Review and analyze Debtors' motion seeking approval of settlement            0.40
                   with Chubb and ERISA litigation.
09/06/11     MNK Review application by Committee ofRetired Employees to retain                0.30
                   Togut Segal as counsel.
09/06/11     MNK   Review   application by Committee of Retired Employees to retain           0.20
                   McCarter & English as counsel.
09/06/11     MNK Review motion and supporting documents filed by the Debtors re               0.40
                   settlement of avoidance claims with Telma.r and NNL.
09/06/11     MNK Review Order approving Genband settlement.                                   0.10
09/06/11     MNK Review Order approving escrow amendments pee agreement with                  0.10
                   Nortel Russia.
09/06/11     MNK Conferences with L. Miller and counsel for Solus re status.                 0.30
09/06/11     MNK Review request for appointment of equity committee.                         0.80
09/06111     MNK Review meeting minutes sent by B. Kahn.                                     0.10
09/07/11     LEM Review all OCC ca11 materials; Conference with M. Khambati;                 2.50
                   Review minutes of prior meetings; Review related
                   articles/documents.
09/07/11     MNK Review Fraser Milner presentation on Canadian Compensation                   0.70
                   Claims process.
09/07/11     MNK Review Order resolving claims disputes with Emerson.                        0.10
09/07/11     MNK Review LTD Motion re Committee procedures.                                  0.40
09/07/11     MNK Review motion to retain KCC by LTD Committee.                               0.20
09/07/11     MNK Review Debtors' Non-Canadian Intercompany Claims bar date                   0.50
                   motion filed and served in the bankruptcy cases.
09/08/11     LEM Review Brown Rudnick Jetter to the U.S. Trustee requesting the              3.50
                   appointment of an equity committee; Review OCC attachments;
                   Attend OCC ca11; Teleconference with M. Khambati; Review
                   8/25/2011 Cash update from Capstone.
09/08111     MNK Review and analyze Chubb/ERISA settlement motion.                           0.80
09/08/11     MNK Participate in weekly Committee call.                                       0.80
09/08111     MNK Conference with L. Mil!er re status/strategy.                               0.20
09/08111     MNK Review Debtors' motion seeking approval of reimbursement of costs           0.30
                   for services provided by Global IP.
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09/12/11      MNK  Review Nortel meeting minutes sent by B. Kahn.                        0.10
09/13/11      MNK  Review Agenda sent by B. Kahn.                                        0.10
09114111      LEM  Prepare for and participate in Nortel OCC call.                       1.75
09/14/11      MNK  Review Preliminary Recovery Analysis prepared and circulated by       0.80
                   Capstone.
09/14/11      MNK Participate on weekly Committee call.                                  1.90
09/14/11      MNK Conference and communicate with B. Kahn re backstop commitment.        0.60
09/15/11      MNK Conferences with L. Miller and J. Heaney re Committee                  0.40
                  recommendation for deal with EMEAIUK Pension Parties.
09/15111      MNK Review KCC contract and affidavit in support of retention by LID       0.40
                  Committee.
09/15111      MNK Review ~btors' motion papers and settlement agreement re Anixter       0.50
                  avoidance claim.
09/15/11      MNK Review correspondence from D. Batter re updated EMEA proposal          0.50
                  and review updated EMEA proceeds allocation proposal.
09/16/11      MNK Review correspondence from B. Kahn re Fourth estate directors and      0.10
                  officers.
09/16/11      MNK Review correspondence from B. Kahn re EMEA settlement proposal.        0.10
09116111      MNK Review correspondence from UST declining to appoint equity             0.10
                  committee in these cases.
09116/11      MNK Review latest bonds update.                                           0.10
09117/11      MNK Review and analyze Preliminary Recovery Analysis prepared by          0.40
                  Capstone.
09/19/11      LEM Review agenda for Bankruptcy Court hearing; Review related            5.50
                  articles, filings, review documents from prior week.
09/19/11      MNK Review Order allowing some discovery by Ad Hoc Group of               0.20
                  Deferred Plan beneficiaries.
09/19/11      MNK Review Debtors' motion seeking approval of settlement and             0.30
                  stipulation with avoidance defendant (Nathanson and Co.).
09/19/11      MNK Review revised statement of work forE& Y.                             0.30
09119111      MNK Review certification and proposed form of order reemployment of       0.10
                  counsel for LTD Committee.
09/20111      LEM Review WaMu bankruptcy opinion in detail, conference with M.          4.50
                  Khambat~ Emails with J. Heaney; Review Agendas for Court
                  Hearing on 9/20 and 9/21.
09/20/11      MNK Conference with L. Miller re status and strategy issues.              0.20
09/20/11      MNK Review Notice of Agenda for upcoming hearing.                         0.20
09/21111      LEM Review meeting minutes; Review/consider proposed call agenda;         1.00
                  Review documents.
09/21111      MNK Review Notice of Agenda for upcoming hearing.                         0.10
09/21111      MNK Review Nortel meeting minutes sent by B. Kahn.                        0.10
09/21/11      MNK Review correspondence and amended meeting minutes sent by B.          0.10
                  Kahn.
09/22111      LEM Prepare for and participate in OCC conference call; Teleconference    4.75
                  with M. Khambati; Review related documents; Review recent court
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                 filings; Catch up on document review; Review J.P. Morgan escrow
                  issues.
09/22/11     MNK Participate on weekly Nortel Committee calL                              1.00
09/22/11     MNK Conference with L. Miller re status and strategy on open issues.         0.40
09/22/11     MNK Review proposed form of order re procedures for distributing             0.40
                 information by LID Committee.
09/22/11     MNK Review Certifications and proposed form of orders re employment of       0.40
                 Togut Segal and McCarter & English on behalf of Committee of
                 Retired Employees.
09/23/11     LEM Continue review of prior court filings and WaMu opinion.                 3.50
09/23/11     MNK Review Order approving settlement of ERISA litigation.                   0.10
09/24/11     MNK Review Order approving Application of Addrex Inc. (broker).              0.10
09/24/11     MNK Review Order approving fmal application of Special Counsel.              0.10
09/24/11     MNK Review Order approving payment to NNL from NNI re GlobaliP               0.10
                 Law Group (residual patents sale).
09/24/11     MNK Review multiple orders concerning NN CALA settlement.                    0.10
09/26/11     LEM Review proposed update/memorandum to Law Debenture; Review               2.75
                 extensive court filings.
09/26/11     MNK Draft update for client and send draft to L. Miller and P.               0.70
                 Baumgaertner for review and comment.
09/27/11     LEM Prepare edits to Law Debenture update; Review background                 3.50
                 memorandum summarizing Nortel status; Review Agenda for
                 conference call and two long attachments from Capstone; Consider
                 JP Morgan escrow issues; Review OCC draft minutes.
09/27/11     MNK Review and revise Nortel status report and send to Law Debenture         0.30
                 for review and consideration.
09/27/11     MNK Review various allocation, cash and escrow related documents and         3.10
                 draft and send email memo to L. Miller.
09/27/11     MNK Review escrow agreements, side agreements, and Court orders and          2.40
                 draft and send email memo to L. Miller re moving escrow funds.
09/27/11     MNK Review September 22 Committee meeting minutes sent by B. Kahn.           0.10
09/27/11     MNK Review Debtors' motion seeking approval of settlement with ITC           0.50
                 Networks SRL over avoidance action.
09/27/11     MNK Review Debtors' motion seeking settlement of avoidance action with       0.40
                 Neophotonics Corp.
09/27/11     MNK Review Tenth Omnibus Order setting forth professionals' fees paid to     0.30
                 date.
09/27/11     MNK Review Order re Stipulation of settlement of avoidance claims            0.10
                 between Norte! and CALA.
09/27/11     MNK Review Committee presentation on Canadian Employees claims               0.90
                 process.
09/28/11     LEM Attend weekly conference call and review materials.                     1.75
09/28/11     MNK Participate on weekly Committee call.                                   1.40
09/28/11     MNK Review and analyze Retiree Committee motion re procedures for           0.50
                 providing access to information.
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09/28/11     MNK Review Retiree Committee application to retain KCC.                    0.30
09/28/11     MNK Review and respond to correspondence from L. Miller re appeal in       0.20
                   Washington Mutual case.
09/28/11     MNK Review supplemental bar date order covering non-Canadian               0.30
                   Intercompany claims and additional D&O claims.
09/28/11     MNK Review Capstone summary on employee retention plan details.            1.10
09/29/11     LEM Prepare for presentation/discussion with Law Debenture concerning      2.25
                   status and future issues to be addressed.
09/29/11     MNK Conference with L. Miller re Nortel status.                            0.20
09/30111     LEM Review pleadings, memos and recent court opinions in preparation       4.75
                   for client conference and meeting with Akin, counsel to the OCC.
10/03/11     LEM Review documents and perform analysis as to possible alternative       4.50
                   courses of action to resolve allocation issues.
10/03/11     MNK Review Capstone summary on cash and escrow accounts in US and          0.30
                  Canada.
10/04/11     MNK Review Notice of bar date re Non-Canadian Intercompany claims          0.40
                  and attachments filed and served in the bankruptcy cases.
10/04/11     MNK Review Debtors motion seeking approval of settlement with              0.30
                  Managed Technical Services.
10/04/11     MNK Review Debtors' motion seeking approval of settlement with             0.50
                  Communications Test Design (CTDI) and motion to file onder seal.
10/04/11     MNK Review and analyze amended claims filed by administrators for NN       1.80
                  Ireland.
10/05/11     LEM Participate in OCC call; Review Capstone NNI 2012 Compensation         3.25
                  plan analysis; Review UK Pension plan issues.
10/05/11     MNK Continue reviewing NN Ireland amended claims.                          0.60
10/05/11     MNK Review Joint Objections to NN Ireland's amended claims.                0.80
10/05/11     MNK Review NNI 2012 (employee) Annual Compensation Plan sent by            0.30
                  Capstone.
10/05/11     MNK Participate in weekly Committee call.                                  0.90
10/05/11     MNK Review article on Washington Mutual decision and investigate           0.30
                  applicable Federal Judgment rate for Norte! cases.
10/06/11     MNK Review Joint Objections to NN Ireland's amended claims filed           1.80
                  against NNI.
10/07/11     MNK Continue reviewing Joint Objections to NN Ireland claims against       0.90
                  US Debtors.
10110/11     LEM Review documents regarding EMEA POC issues.                            1.50
10/10/11     MNK Review amended claim filed by NNSAS against NNI.                       0.30
10/10/11     MNK Review and analyze amended claim ftled Nortel Networks SA              2.30
                  against NNI.
10/10111     MNK Review Notice of Debtors' motion seeking to extend and enlarge        0.30
                  service period for certain adversary proceeding.
10/10/11     MNK Review Certification re omnibus hearing dates.                        0.10
10/11111     MNK Review and analyze NNSA amended claim against US Debtors.             0.80
10/11/11     MNK Review joint objections and motion to dismiss to amended claims       1.40
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                  filed by NNSA and the French Liquidator.
10112/11     LEM Participate in OCC call; Review Capstone materials on Corporate         2.50
                  Group issues; Review Agenda for Oct 14 Court hearing; Consider
                  POC issues.
10/12/11     MNK Review joint objections filed by the US Debtors and Committee to        1.80
                 NNSA amended claims.
10/12111     MNK Review notice of rescheduled hearing.                                   0.10
10/12/11     MNK Review latest Nortel bond prices.                                       0.10
10/12111     MNK Participate in weekly Nortel Committee call.                            0.40
10/12111     MNK Review Notice of Agenda for upcoming hearing.                           0.10
10112111     MNK Review and analyze N ortel Corporate Group update sent by               0.60
                 Capstone.
10/13111     LEM Review EMEA POC issues for tomorrow's hearing.                          1.75
10/13/11     MNK Review Debtors' motion seeking to amend Lazard compensa:ion             0.40
                 terms.
10/13111     MNK Continue reviewing and analyzing joint objections and dismissal         0.70
                 motion to NNSA claims.
10/14/11     LEM Call in to Bankruptcy court hearing on EMEA POC argument;               6.50
                 Analysis of issues.
10/14/11     MNK Review Periodic Report re value of certain NNI-owned entities filed     0.60
                 and served in the bankruptcy cases.
10/17/11      DP Brazilian banking account matters.                                      0.50
10/17/11     LEM Review EMEA POC issues and argument points.                             3.00
10117/11     MNK Review Agenda of matters scheduled for upcoming hearing.                0.20
10/17/11     MNK Review various bankruptcy documents filed and served in the cases.      0.40
10/17/11     MNK Review Canadian Monitor's 73rd Report.                                  0.50
10/17/11     MNK Review Canadian Monitor's 75th Report.                                  1.10
10/18111     LEM Review discuss information that DOJ was still reviewing IP sale         4.00
                 issues; Emails with Akin; Review UK Court of Appeals decision
                 summary by Ashurst and underlying opinion; Review additional
                 issues involving mediation/allocation.
10118/11     MNK Review correspondence from G. Boothman re UK Court of Appeals           0.40
                 decision and memorandum re same.
10/18/11     MNK Review article on DOJ scrutiny of IP sale and multiple                  0.20
                 correspondence with L. Miller re same.
10/18/11     MNK Review Canadian Monitor's 74th Report.                                  0.40
10118/11     MNK Review Canadian Monitor's 75th Report and supplement.                   1.40
10/18111     MNK Review three September and October Committee meeting minutes.           0.20
10/19/11     LEM Review OCC minutes; Participate in OCC call; Consider alternative       3.50
                 allocation possibilities, including venue and standing.
10/19/11     MNK Review Report re NNI non-filing subsidiary values filed and served      1.30
                 in the bankruptcy cases.
10/19111     MNK Review Joint Motion of Retiree and LTD Committee to retain              0.40
                 Alvarez & Marsal.
10/19/11     MNK Participate in weekly Committee call.                                  0.90
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   Date      Tkpr                                 Description                            Hours
10/19/11     MNK Review correspondence from L. Miller re status ofNortel IP sale.          0.10
10/19/11      PAB Review status ofNortel Proceedings; Review summaries of                  2.00
                   conference calls.
10/20/11      DP Brazilian banking account matters.                                        0.50
10/20/11     MNK Review UK Court of Appeals' decision on pension obligations               0.70
                   priority.
10/21/ll     MNK Continue reviewing and analyzing UK Appellate Court decision on           0.90
                   priority of pension obligations.
10/21/11     MNK Review draft meeting minutes sent by B. Kahn.                             0.10
10/24/11     LEM Review Notice of Agenda for Oct 26 hearing; Review OCC minutes;           3.25
                  Consider/analyze allocation venue/standing/contract issues.
10/24/11     MNK Review corrected engagement letter for Alvarez & Marsal filed by          0.10
                  Retiree and LTD Committees.
10/24/11     MNK Review miscellaneous stipulation and settlement orders filed by the       0.20
                  Debtors in the bankruptcy cases.
10/24/11     MNK Review Agenda for upcoming hearing.                                       0.10
10/25/11     LEM Continue analysis of allocation issues.                                   2.50
10/27/11     LEM Participate in OCC call, Teleconference with M. Khambati regarding        2.50
                  conflict issue raised in call; Independent analysis of Canadian
                  counsel issues regarding Global sub con.
10/27/11     MNK Participate in weekly Committee call; conference with L. Miller re        1.30
                  issues raised in call.
10/27/11     MNK Review Fraser Milner article on substantive consolidation.               0.40
10/28/11     LEM Long conference call with David Botter of Akin regarding Canadian        5.50
                  Global Sub Con issues and appropriate corrective actions; Also
                  discussion of allocation resolution possibilities including possible
                  venues and standing for non signatories to various agreements,
                  follow up analysis and review.
10/28/11     MNK Review CNO and Order re Alvarez & Marsal appointment.                    0.10
10/28/11     MNK Review Debtors' motion re settlement of Lexington claims.                0.30
10/28/11     MNK Review Debtors' motion resolving avoidance action with Checking          0.30
                  Bureau.
10/31/11     LEM Review issues/documents relating to independent allocation action        6.25
                  for escrowed funds.
10/31/11     MNK Review escrow and related materials forwarded by L. Miller.              1.30
10/31111     MNK Review multiple motions filed and served by the US Debtors               0.70
                  resolving avoidance actions, claims and stay relief motion.
11101/11     LEM Analyze Agreements relating to venue/forum for an allocation             4.75
                  dispute; Interim Funding & Settlement Agreement, Final Canadian
                  Funding & Settlement Agreement, MEN Escrow Agreement, Escrow
                  Side Letter dated 2011; Teleconference with M. Khambati.
11/01111     MNK Conference with L. Miller re status and strategy re black box            0.70
                  distributions.
11101/11     MNK Research, review, and analyze possible alternatives to existing          2.60
                  strategies on black box proceeds allocation.
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   Date       Tkpt·                                   Descdption                             Hours
11/02/11      LEM Review documents; Long conference with M. Khambati; More                     6.00
                       review and analysis of alternative methods of allocation both inter
                       estate and intra estate.
11/02/11      MNK Review, analyze alternative allocation possibilities in preparation for      1.00
                      meetings with L. Miller and client; conference with B. Kahn re
                      documents.
11/02/11      MNK Travel to New York to discuss alternative solutions to pending               3.30
                      allocation roadblocks with L. Miller and client.
11/02/11      MNK Travel from New York after meetings with client and L. Miller.               3.00
11/02/11      MNK Participate in conferences with L. Miller and client re existing             1.50
                      allocation roadblocks and potential solutions [w/o 1.8 in lunch
                      meeting].
11/03111      LEM Committee minutes review; Continue review/analysis of allocation             3.75
                      documents.
11/03/11      MNK Conference and correspondence with J. Heaney re further changes to           0.20
                      supplemental indenture, officers' certificates or opinion.
11103/11      MNK Review clean and blackline copies of supplemental indenture, release         0.60
                    · letter, certificate, and opinion sent by A. Muller.
11/03/11      MNK Review and respond to multiple correspondence from J. Heaney and             0.20
                      A. Muller re execution of supplemental indenture.
11/03/11      MNK Review draft Committee minutes sent by B. Kahn.                             0.10
11/04/11      MNK Review Debtors' Motion and Stipulation settling preference claims           0.40
                      against Oclaro.
11104/11      MNK Review Debtors' Motion to implement 2012 incentive plan.                    0.50
11/04/11      MNK Review Nortel bond prices.                                                  0.10
11107/11      LEM Review minutes of earlier OCC meeting; Analyze mediation I                  5.25
                      interpleader I international arbitration various issues; Review case
                      law.
11/08/11      MNK Review Debtors' motion to abandon certain records.                          0.40
11/09/11      MNK Review various documents and notices filed and served in the                0.40
                      bankruptcy cases.
11109/11      MNK Review Notice and further changes to NNI Schedules.                         0.40
11/09111      MNK Review Capstone Norte! Asia AlP presentation sent by B. Kahn.               0.30
11/10/11      LEM Review Capstone presentation on Asia Q3 and participate in OCC              3.25
                      conference call; Teleconference with M. Khambati; Review
                      allocation litigation issues.
11110/11      MNK Review agenda of matters for upcoming hearing.                              0.10
11110/11      MNK Participate in weekly Committee call.                                       0.50
11/11111      MNK Review Debtors' motion seeking approval of Stipulation with One             0.30
                      Boston Place.
11111111      MNK Review Notice of amendments to the Debtors' schedules.                      0.20
11/15/11      MNK Review Debtors' motion seeking approval of settlement with Starent          0.40
                     Networks.
11/15/11      MNK Review correspondence from B. Kahn re upcoming call.                        0.10
11116/11      LEM Participate in OCC call; Review issues to be raised in December 7th         5.50
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   Date       Tktw                              Description                             Hours
                  meeting, e.g. plan distribution issues; REview substantive
                  consolidation memorandum from Canadian counsel; Review cases,
                  also declaratory judgment.
11/16/11     MNK Correspond with Committee professionals re plan distribution issue.       0.10
11/16/11     MNK Participate in weekly committee calL                                      0.50
11/16/11     MNK Review Notice of Application of counsel for LTD participants for          0.20
                 allowance and payment of fees and expenses.
11/17/11     LEM Review issues associated with reading the allocations issues, EMEA        4.25
                 claims and arbitration.
11/18/11     MNK Review various orders entered and served in the bankruptcy cases.       0.20
11/21/11     LEM Review documents in preparation for in person meeting; Review           4.50
                 several open issues.
11/21/11     MNK Review Debtors' notice of amendments to schedules.                      0.10
11/21111     MNK Review supplemental declaration filed by F. Hodara in support of        0.10
                 Akin retention.
11/21/11     MNK Review miscellaneous orders and notice entered, filed and served in     0.40
                 the bankruptcy cases.
11/22/11     LEM Review agenda for upcoming court hearing.                               0.50
11/22/11     MNK Review Notice of Agenda of matters for upcoming hearing.                0.10
11/27/11     MNK Review and respond to correspondence from B. Kahn re Committee          0.10
                 meeting.
11/28/11     MNK Review Debtors' motion seeking to settle CoAMS litigation.              0.40
11/28/11     MNK Review Debtors' papers seeking settlement of dispute with IDM.          0.40
11/28/11     MNK Review Notice of Amendments to Nortel Schedules.                        0.20
11/30111     LEM Review agenda for December 1 meeting and Capstone materials.            1.00
12/01/11     LEM OCC conference call and review Capstone Analysis of IDM Claim ·         1.50
                 Settlement.
12/01111     MNK Participate on weekly Committee calL                                    0.60
12/01/11     MNK Review ffiM settlement presentation sent by Capstone.                   0.20
12/02/11     LEM Review email from F. Hodera and attached copy of Aurelio us' letter     1.50
                 and related mediation issues.
12/02/11     MNK Review correspondence from Aurelius forwarded by F. Hodara.             0.10
12/02/11     MNK Review miscellaneous settlement stipulations filed and served in the    0.20
                 bankruptcy cases.
12/02/11     MNK Review LTD Committee motion re fees.                                    0.20
12/02/11     MNK Review Prudential Relocation Stipulation and settlement papers.         0.30
12/02/11     MNK Review miscellaneous papers filed and served in the bankruptcy          0.20
                 cases.
12/03/11     MNK Review Supplemental Declaration filed by D. Abbott.                     0.10
12/03/11     MNK Review Supplement filed by LTD Committee seeking to increase fee        0.10
                 cap.
12/03/11     MNK Review notice of hearing re Prudential Stipulation.                     0.10
12/04/11     MNK Review correspondence and attachments sent by B. Kahn re                0.20
                 Committee 20 19 disclosures.
12/05/11     LEM Review B. Kahn's email regarding Bankruptcy rule 2019; Consider         4.25
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   Hate       Tkpr                                   Descdption                             Hom·s
                      Law Debenture response and related issues; Prepare for in-person
                      meeting of the OCC at AKIN regarding interpleader and international
                     arbitration issues.
12/06/11      LEM    Review documents; Analyze issues; Confer with M. Khambati;               4.25
                     Confer with J. Heaney; Consider international arbitration issues.
12/06/11      MNK    Review Akin analysis on tax issues.                                     0.40
12/06/11      MNK    Review preliminary recovery analysis prepared by Capstone.              1.20
12/06/11      MNK    Review Akin presentation on retiree benefits.                           0.40
12/06/11      MNK    Review updated cash numbers and forecasts prepared by Capstone.         0.80
12/06/11      MNK    Review claims update prepared by Capstone.                              0.50
12/06/11      MNK    Review correspondence and upcoming meeting agenda sent by B.            0.10
                     Kahn.
12/06/11      MNK    Review and analyze allocation mediation outline sent by B. Kahn.        0.40
12/06/11      MNK    Review Committee presentation on substantive consolidation in the       0.80
                     US and Canada.
12/06111      MNK    Review and analyze Committee memorandum on interpleader                 0.50
                     options.
12/06/11      MNK    Lunch conferences with L. Miller and J. Heaney re status and             1.00
                     strategy in cases.
12/07/11      LEM    Attend in person committee meeting at Akin; Review meeting              8.00
                     materials before and after meeting.
12/07/11     MNK     Attend and participate in in-person Committee meetings.                 4.50
12/07/11     MNK     Return home from Committee meeting in New York.                         3.00
12/08/11     LEM     Continue review of committee meeting materials and review               6.00
                     interpleader material and check/review case support.
12/08/11     MNK     Review Committee escrow funds analysis (interpleader) and review        0.60
                     pertinent language in escrow agreement re same.
12/08/11     MNK     Review EMEA Canadian Claims update sent by S. Kukulowicz.               0.10
12/08111     MNK     Review correspondence and website sent by B. Kahn re joint              0.80
                     administrators' reports.
12/08/11     MNK     Review fees CNO filed by LTD Committee.                                 0.10
12/09/11     LEM     Review Committee 20 19 statement.                                       0.50
12/09/11     MNK     Review Certification of Counsel re revisions to LID Committee           0.40
                     disclosure order.
12/12/11      JG     Search for international treaties and articles on international         1.50
                     arbitration for L. Miller.
12/12/11     MNK     Review Monthly Application filed by counsel to LTD Committee.           0.10
12/12/11     MNK     Review Debtors' papers re settlement with Right Management              0.40
12/12/11     MNK     Review and respond to correspondence from B. Kahn and review,           0.20
                     revise, and send 2019 Statement for filing.
12/14/11     MNK     Review Agenda for upcoming hearing.                                     0.20
12/15/11     LEM     Review agenda for OCC meeting and attached Jefferies' material          1.25
                     related to sale of internet protocol sites; Consider related issues.
12115/11     MNK     Review Amended L m Order re access to and disclosure of                 0.40
                     information.
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   Date       Tkp•·                                   Desuiption                               Hours
12/15/11      MNK      Review Jefferies materials re IP address sale and bond prices.            0.50
12/15/11      MNK      Review Norte! bond price update.                                          0.10
12/16/11      LEM      Participate in the OCC call and review materials.                         1.75
12/16/11      MNK      Review LTD Certification reOrder increasing fee limits.                   0.10
12/19/11      MNK      Review miscellaneous orders re settlement of claims entered and           0.20
                       served in the bankruptcy cases.
12/19/11      MNK      Review Eleventh Fee Order entered in the case.                            0.20
12/19/11      MNK      Review Debtors' motion seeking approval ofFlextronics settlement.         0.70
12/20/11      LEM      Review B. Kahn's memorandum regarding Cox Claim Settlement,               3.25
                       Review issues relating to interpleader and international arbitration.
12/20111      MNK      Review summary from B. Kahn re Cox settlement.                            0.10
12/21/11      LEM      Review Flextronics settlement issues and related matters.                 0.50
12/21111      MNK      Review Flextronics (post-petition) settlement analysis prepared and       0.20
                       forwarded by the Committee.
12/22/11      MNK     Review Monitor's Seventy-Ninth Report (Flextronics Settlement).            0.30
12/23/11      MNK     Review Stay Extension Order entered in the Canadian CCAA                   0.30
                      proceedings.
12/23/11      MNK     Review Seventy-Sixth Report of Monitor re interim distributions to         0.40
                      pensioners.
12/23/11      MNK     Review Order shortening notice and setting hearing for Flextronics         0.10
                      (post-petition) settlement.
12/23/11      MNK     Review Debtors' motion re stipulation of settlement with two               0.40
                      defendants.
12/23/11      MNK     Correspond with working group and B. Kahn re Flextronics                  0.10
                      settlement.
12/26/11      MNK     Review Monitor's Seventy-Seventh Report re proposed amendments            0.40
                      to Compensation Claims Procedure Order.
12/26/11      MNK     Review Debtors' motion seeking to approve Cox claim stipulation.          0.30
12/26/11      MNK     Review Seventy-Eight Report of the Monitor.                               0.70
12/27/11      LEM     Review open issues relating to allocation of the proceeds - mediation,    5.25
                      international arbitration, litigation and interpleader.
12/27/11      MNK     Review Monitor's Seventy-Seventh Report re status and treatment of        0.30
                      certain claims.
12/28/11      MNK     Review Seventy.,Eight Report of the Monitor.                              0.90
12/29/ll      LEM     Review email and 3rd Circuit opinion on Automatic Story                   1.75
                      enforcement against the UK Pension Trustee and Pension Protection
                      Trust.
12/29/11      MNK     Review Agenda for upcoming hearing.                                       0.10
01/03112      MNK     Review US and Canadian Orders authorizing and approving the               0.20
                      Flextronics settlement and release agreement
01/03/12      MNK     Review CNO re fee application.                                            0.10
01/03/12      MNK     Review Third Circuit decision staying the UK Pension Trustee and          1.10
                      the Pension Protection Fund wit.1. respect to the UK pension
                      regulatory proceedings.
01103/12      MNK     Review correspondence from B. Kahn re upcoming call agenda.               0.10
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    Date     Tkllt·                                Descdption                          Hours
01/04112     LEM Review materials and participate in Nortel conference call; Review      2.50
                     settlement paper filed in court.
01/04112     MNK Review Debtors' motion and attachments rewind down ofNN Japan.          0.40
01/04/12     MNK Continue reviewing and analyzing 3rd Circuit UK pensions stay           0.40
                    decision.
01/04/12     MNK Review Motion, Stipulation and proposed form of order for               0.30
                    settlement of certain avoidance actions.
01/04112     MNK Review Amended E&Y Statement of Work filed and served in the            0.20
                    bankruptcy cases.
01104/12     MNK Participate in weekly Committee call.                                   0.70
01/04112     MNK Conference with P. Baumgaertner re expected distributions in the        0.20
                    case.
01/05/12     LEM Review materiaJs on international arbitration.                          3.25
01/06/12     LEM Review agenda for 1110/12 hearing; Review several motions filed in      3.50
                    Bankruptcy Court; Review international arbitration article on
                    delocalization oflnternational Commercial arbitration.
01106/12     MNK Review Notice of Agenda for upcoming hearing.                           0.10
Ol/11/12     MNK Review upcoming committee call correspondence from B. Kahn.             0.10
01/12/12     LEM Participate in OCC conference call; Review materials.                   1.25
Ol/12/12     MNK Participate in weekly Committee call.                                   0.70
01/13/12     LEM Review correspondence from AKIN.                                        0.50
01113/12     MNK Conference with P. Baumgaertner and M. Fennessy re Ireland issues.      0.30
01/13/12     MNK Review motion seeking approval of settlement with Wind Telecom.         0.30
01/13/12     MNK Review correspondence from J. Strum re UK pension party                 0.10
                    appellants' petition with the Third Circuit Court of Appeals for
                    rehearing.
01/13/12     MNK Review Order approving settlement of claims with Teksystems Inc.       0.10
                    and Marketsource, Inc.
01/13/12     MNK Review Order to facilitate wind-down ofNN Japan.                       0.10
01/13112     MNK Review motion seeking enlargement of service time in adversary         0.20
                    action.
01113/12     MNK Review motion seeking approval of settlement with Corre                0.20
                    Opportunities.
Ol/19/12     MNK Review Capstone outlook and liquidation budget.                        1.40
Ol/19/12     MNK Review AlP and special incentive plan information prepared and         0.80
                    circulated by Capstone.
01/20/12     LEM Participate in conference call of OCC; Review attachments regarding    2.50
                    Budget Outlook and Case Liquidation Budget; Review agenda of
                    January 24, 2012 hearing.
01/20/12     MNK Participate on weekly Committee call.                                  0.50
01/20/12     MNK Review multiple orders settling claims.                                0.20
01/21/12     MNK Review Order modifying engagement ofE&Y in US.                         0.10
Ol/21112     MNK Review supplemental declaration of D. Abbott in support of             0.10
                    engagement (local counsel).
01/23/12     LEM Prepare for and attend meeting regarding Canadian mediator at          4.50
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   Hate       Tkpr                                 Description                               Hours
                     AKIN Gump; Review earlier emails and material.
01/23/12      MNK     Listen in to Justice Winkler presentation on mediation and               2.00
                      Committee discussion on the same.
Ol/23/12      MNK    Review and analyze Indenture provisions re noteholders' claim and         0.60
                     Nortel proof of claim.
01/24/12      LEM    Review several court filings concerning settlements and various           3.25
                     applications by debtor.
01125112      LEM    Review international arbitration materials and several court filings      2.50
                     and applications.
01/25/12      MNK    Review and analyze professional budget assumptions sent by               0.30
                     Capstone.
01126/12      LEM    Participate in OCC conference call; Review materials on US Debtor's      2.50
                     Estate Professional Fee Forecast; Review additional materials from
                     local counsel.
01/26112      MNK    Participate in weekly Committee call.                                    0.90
Ol/28/12      MNK    Review Motion resolving claims with Avnet International (Canada).        0.30
01128/12      MNK    Review monthly fee statement for Elliot Greenleaf filed and served in    0.10
                     the bankruptcy cases.
01130112      LEM    Review International Arbitration treaties; Calls from John Ray.          3.25
01131112      LEM    Calls with John Ray; Analyze issues.                                     2.00
01131112      MNK    Review Omnibus hearing order filed and served in the bankruptcy          0.10
                     cases.
01131112      MNK    Review Debtors' motion seeking modification of local rules with          0.30
                     respect to omnibus claims objections.
02/01112      LEM    Several teleconferences with John Ray, David Botter, and M.              1.75
                     Khambati regarding update on EMEA motion to dismiss and Judge's
                     opinion; Review papers/issues.
02/01112      MNK    Conference with L. Miller re status.                                     0.30
02/01112      MNK    Review Jefferies update on IP address sale and bond prices.              0.40
02/02112      LEM    Conference call with J. Heaney; Norte! OCC weekly call; Review M.        2.75
                     Khambati Jefferies bond valuation analysis email; Review/analyze
                     documents.
02/02112      MNK    Participate in weekly Committee call; conference with L. Miller re       1.20
                     open issues.
02/02/12      MNK    Review notice of rescheduled hearing dated filed and served in the       0.10
                     bankruptcy cases.
02/02/12      MNK    Review modified NNSA claims reconciliation chart prepared and            0.10
                     circulated by Capstone.
02/06112      MNK    Review additional supplemental disclosures from Capstone filed and       0.10
                     served in the bankruptcy cases.
02/07112      MNK    Review article on Third Circuit pension stay decision.                   0.20
02/08/12      LEM    Review various court filings; Review email from B. Kahn of AKIN          2.50
                     regarding TRO request.
02/08/12      MNK    Review notice of agenda of upcoming hearing.                             0.10
02/08/12      MNK    Review and analyze correspondence from B. Kahn re status of              0.20
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   Date       Tkpr                                Description                           Hours
                   EMEA claims order and emergency hearing re production of
                   privileged documents by UK Administrator.
02/08112      MNK Conference with P. Baumgaertner re interim distribution and status.     0.10
02/09/12      LEM Review several court filings; Follow up on EMEA motion to dismiss       3.25
                   issues, international arbitration issues.
02/09/12      MNK Review Order approving Stipulation resolving claims with A vnet         0.10
                  International.
02/09112      MNK Review Order modifying claims objection procedures.                     0.10
02/09/12      MNK Review Debtors' motion seeking modification of Claims Register re       0.30
                  certain claims.
02/09/12      MNK Review Debtors' Twenty-First Omnibus Objection to claims.              0.30
02/09/12      MNK Review Twenty Second Omnibus Claims oQjection filed and served         0.50
                  in the bankruptcy cases.
02/10/12      LEM Nortel call; Participate in OCC call.                                  1.00
02110/12      MNK Attend weekly Committee call.                                          0.60
02/13/12      LEM Conference with M. Khambati regarding mediation ideas and              1.50
                  international arbitration.
02/13/12      MNK Review Law Debenture and BNY claims; conference with L. Miller          1.00
                  re same, allocation procedures and outcomes, and open issues.
02/14/12      LEM Review emails and WSJ article regarding breach ofNortel's              1.25
                  computer system by hackers; Teleconference with B. Kahn of AKIN.
02/14/12      MNK Conference with S. Blauner re timing of mediation.                     0.10
02/14112      MNK Review Omnibus hearing order filed and served in the bankruptcy        0.10
                  cases.
02/14/12      MNK Review Supplemental Declaration filed by Morris Nichols in support     0.10
                  of retention.
02/15/12      LEM Review and discuss two Amendments to Proofs of Claim.                  1.75
02/15112      MNK Review prior claim forms and prepare amended proofs of claim           3.20
                  against NNCC and NNL; conference with L. Miller re same;
                  conference with J. Heaney re same.
02/15/12      MNK Conference with L. Slezinger (Jefferies) re continued role going       0.30
                  forward.
02/15/12      MNK Review Nortel (Chinese) hacking article sent by B. Kahn and            0.20
                  possible risks to the estates as a result of purchaser claims.
02/15/12      MNK Review Capstone summary on 20 11 Corporate Group AlP.                  0.60
02/15/12      MNK Review 2012 Headcount Report submitted by Capstone.                    0.20
02/16/12      LEM Participate in OCC weekly call; Review several meeting materials;      3.75
                  Review several court filings; Consider arbitration issues.
02/16/12      MNK Participate in weekly conference with Committee.                       0.50
02/17112      LEM Scheduling of in person meeting with US Debtor; Review Agenda for      1.25
                  2/23/12; Review M. Khambati's email regarding Jefferies proposed
                  fee changes.
02/17112      MNK Review notice of agenda for upcoming hearing.                          0.10
02/17/12      MNK Review correspondence from B. Kahn re next Committee meeting.          0.10
02/17/12      MNK Review fee proposal submitted by Jefferies and correspond with         0.30
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   Date      Tkpr                              Desct·iption                           Hours
                  working group re same.
02/17/12     PAB Review update with M. Khambati.                                        1.00
02/17112      SF  Provide copy of article, Norte] Turned To RCMP, Globe & Mail,         0.50
                  2/15/12 (L. Miller)
02/20/12    MNK Review Monitor's Eightieth Report (misfiled claims).                   0.30
02/21112    LEM Confirming in person meeting with US Debtor; Analysis of TRO           1.75
                  issues related to EMEA production of document issues to Pension
                  Board; Analyze possible mediation issues.
02/21112    MNK Review update sent by B. Kahn on TRO proceedings.                      0.10
02/21112    MNK Review correspondence from client and B. Kahn re upcoming              0.10
                 Committee meeting.
02/21112    MNK Review CNO re LTD Committee compensation filed and served in           0.10
                 the bankruptcy cases.
02/22/12    LEM Review several Bankruptcy Court filings; Review mediation related      2.25
                  issues.
02/23/12    MNK Review cash status update and forecast prepared by Capstone.           0.80
02/24/12    LEM Participate in OCC weekly call; Review Capstone cash update.           1.50
02/24/12    MNK Participate on weekly Committee call.                                  0.40
02/27/12    LEM Emails regarding call with US Debtor; Analyze mediation/arbitration    2.50
                 issues.
02/27/12    MNK Review correspondence from B. Kahn re upcoming call with               0.10
                 Debtors.
02/27/12    MNK Review correspondence from F. Hodara re upcoming meetings with         0.10
                 the US Debtors.
02/28/12    LEM Analyze EMEA motion to dismiss, mediation issues, arbitration          3.50
                 issues, relationship to US and Canadian estate.
02/29/12    LEM Various emails; Teleconference with F. Hodera of Akin;                 2.75
                 Teleconference with J. Heaney of Law Debenture; Review Jefferies
                 proposed fee restructuring for mediation services; Review/analyze
                 court filings.
02/29/12    MNK Review multiple correspondence and attachments sent by L. Miller re    0.20
                 Jefferies fees.
03/01112    LEM Participate in OCC call and conference with AKIN; Review Court         1.75
                 filings.
03/01/12    MNK Review and analyze Debtors' Twenty-Third omnibus claims                0.50
                 objection.
03/02/12    LEM Prepare for and participate in OCC call with US Debtor CRO and         2.25
                 counsel; Review subsequent email from OCC counsel AKIN; Review
                 documents filed in Court.
03/02/12    MNK Participate on Committee call reJudge Gross opinion; conference        1.30
                 with L. Miller re same.
03/02/12    MNK Review Debtors' Twenty-Third Omnibus Objection to claims.              0.40
03/02/12    MNK Review status correspondence from F. Hodara.                           0.10
03/02/12    PAB Review email summarizing creditor issues; Telephone call with          0.25
                 members of the working group.
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    Date      Tkpr                              Description                            Hours
03/05/12      LEM Review AKIN email regarding court conference; Review filings.          0.80
03/05/12      MNK Review Debtors' Twenty-Fourth Omnibus claims objection.                0.40
03/05112      MNK Review correspondence from B. Kahn re upcoming chambers                0.10
                    conference.
03/05/12      MNK Review Debtors' motions re resolution of claims stipulations with      0.40
                    Sobrato, Optext Subsystems, and Opnext.
03/05/12      MNK Review amended SOW filed by E&Y.                                       0.10
03/05112      MNK Review and analyze Debtors' Twenty-Fourth Omnibus claims               0.50
                    objection.
03/06/12      LEM Conference on Nortel with Law Debenture; Review recent Court           3.25
                    filings; Analyze amended Proofs of Claim forms.
03/06/12      MNK Review and analyze Debtors' Twenty-Fifth omnibus claims                0.70
                   objection; Review amendments to Schedules ofNNI.
03/06112      MNK Review Notice of Agenda for upcoming hearing.                          0.10
03/06/12      PAB Meeting with K. Portera, S. Norton, P. Ivanick, L. Mi11er and M.       1.00
                   Khambati to discuss bankruptcy proceeding.
03/07/12      LEM Conference with M. Khambati; Discuss Amendment of Proofs of            1.80
                   Claim, Review court filings.
03/07/12      MNK Review Debtors' Twenty-Fifth Omnibus claims objection.                 0.40
03/08/12      LEM Update on Judge Gross' Chamber Conference; Agenda for OCC call         1.30
                   tomorrow; General review of Capstone memorandum.
03/08/12      MNK Review Capstone preliminary recovery analysis sent by B. Kahn.        0.40
03/09/12      LEM Participation in OCC call; Study analysis of lengthy Capstone         6.30
                   Recovery Analysis; Review email from AKIN, Aurelious letter and
                   article from Carfagnini of Goodman's counsel to the monitor.
03/09/12      MNK Review correspondence and attachments sent by B. Kahn re status.      0.20
03/09/12      MNK Participate on weekly Committee call.                                 1.40
03/12/12      LEM Review J. Carpagnini article regarding CCAA and post petition         4.30
                   interest; Prepare for OCC meeting with US Debtor; Review court
                   filings.
03/12/12      MNK Review Orders granting claims objection motions and authorizing       0.20
                   amendments to designation of certain claims.
03/12112      MNK Review preliminary recovery analysis prepared by Capstone.            1.80
03112112      MNK Review Capstone presentation on fees.                                 0.40
03/13112      LEM Review Amended POC forms; Conference with M. Khambati;                6.30
                   Conference with J. Heaney of Law Debenture; Attend in person
                   meeting of OCC at AKIN Gump; Review materials prepared by
                   Capstone and by US Debtor.
03/13/12      MNK Travel to and from New York to attend Committee meeting.              4.00
03/13/12      MNK Conference with L. Miller re status and amended proof of claims.      0.70
03/13/12      MNK Attend Debtors/Committee meeting.                                     3.40
03/14/12      MNK Review Supplemental declaration of J. Bromley in support of Cleary    0.10
                   retention.
03/14/12      MNK Review Second Interim Fee Application of counsel for LID              0.20
                   Committee filed and served in the bankruptcy cases.
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    Date      Tkpr                               Description                             Hours
03/15/12      LEM Review issue regarding future mediation or alternatives.                 1.75
03/16/12      LEM Review various emails and issues.                                        0.75
03/16/12      MNK Review correspondence from B, Kahn re status of Judge Gross              0.10
                    decision on EMEA claims.
03/16112      MNK Review supplemental retention declaration submitted by D. Abbott.        0.10
03/16/12      MNK Review Committee's Application to employ Jefferies & Co. on              0.40
                    modified terms.
03/19/12      LEM Review emails and future mediation issues.                               1.25
03/19112      MNK Review correspondence from B. Kahn re status from Judge Gross on         0.10
                   EMEA claims decision.
03/20/12      LEM Review Salus issues, related amended POC issues, e mails, analyze        5.25
                    Judge Gross' opinion regarding Motion to Dismiss EMEA POC
                   claims; Review agenda for future conference call.
03/20/12      MNK Review and analyze Court Order granting and denying in part the          0.30
                   joint objections to the motions to dismiss certain EMEA related
                   claims.
03/20/12      MNK  Review   drafts of amended claims; correspond with working group        0.40
                   and S. Blauner re same.
03/20/12      MNK Review and analyze Court Opinion on motion to dismiss EMEA               0.90
                   claims.
03/21112      LEM Review emails; Participate in OCC Conference call; Continue to           6.00
                   review Judge Gross' opinion;-Review M. Khambati's email and
                   several attachments regarding possible NNCC mediation submission;
                   Review AKIN summary of Judge Gross' opinion.
03/21/12      MNK Review and analyze EMEA claims opinion.                                 0.70
03/21/12      MNK Review Agenda (and docket) for upcoming hearing.                        0.20
03/21/12      MNK Multiple conferences with S. Blauner and L. Miller re status;           1.00
                   communicate with F. Hodara and B. Kahn re same.
03/21112      MNK Participate in weekly Committee call; conference with L. Miller and     1.30
                   J. Heaney re status; conference with Akin re status.
03/21112      MNK Review and analysis of various mediation positions and how it would     1.80
                   impact distributions; communicate with L. Miller re same.
03/21112      MNK Review memorandum from B. Kahn re EMEA claims decision.                 0.20
03/22/12      MNK Continue reviewing and analyzing mediation options for the NNCC         3.70
                   notes; multiple conferences and communicate with L. Miller re same.
03/22112      MNK Review correspondence from F. Hodara re mediation status.               0.10
03/23/12      LEM Review proposed POC; Conference calls with M . .Kham bati;              2.00
                   Teleconference with Solus ( large investor) regarding POC,
                   upcoming mediation issues and NNCC specific issues - all public
                   record.
03/23/12      MNK Review Motion of Retiree Committee to lift cap on fees.                 0.30
03/23/12      MNK Review Debtors' motion to approve settlement with Ian Martin            0.40
                   Limited.
03/23/12      MNK Review Order granting Twenty-Third omnibus objection to claims.         0.10
03/23/12      MNK Multiple conferences and correspondence with S. Blauner, L. Miller,     1.40
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   Date       Tkpr                               Description                              Hours
                   and J. Heaney re status.
03/23/12      MNK Multiple correspondence with M. Bienenstock re status and open            0.80
                   issues.
03/24/12      MNK Review correspondence from F. Hodara re draft mediation statement.        0.10
03/26/12      LEM Review US Debtor's draft mediation statement for NNCC specific            4.00
                  issues; Review revised amended NNCC POC; Review email and
                  letter from Justice Winkler.
03/26/12      MNK Review draft allocation exhibit sent by F. Hodara.                        1.10
03/26/12      MNK Review correspondence from Mediator to counsel re process.                0.10
03/26/12      MNK Review Support Agreement and Nortel Schedules and revise                  1.70
                  addendum to amended proofs of claim and circulate to L. Miller and
                  J. Heaney; conference and communicate with L. Miller re same.
03/26/12      MNK Research and review case law and briefs re make whole and no call        2.00
                  arguments raised in other cases.
03/27/12      MNK Review and analyze draft allocation brief and exhibit.                   0.90
03/27/12      MNK Continue reviewing and analyzing post-petition interest issues;          0.40
                  review draft mediation statement.
03/28/12      MNK Review and analyze draft mediation statement of the US Debtors and       1.40
                  Committee.
03/28/12      MNK Review miscellaneous orders entered and served in the bankruptcy         0.40
                  cases.
03/28/12      MNK Review Capstone cross-border claims presentation sent by B. Kahn.        0.40
03/28/12      MNK Review and respond to queries from S. Blauner (Solus) re                 0.30
                  intercompany claims.
03/28/12      MNK Research and review case law materials and analyze Law Debenture         2.30
                  arguments with respect to post-petition interest and no call damages.
03/29/12      LEM Participate in OCC weekly call; Review Agenda, attachments and           2.50
                  emails regarding Silverstone Taylor, Review cross boarder claims
                  attachment; Review agenda for court hearing.
03/29112      MNK Review Notice of Agenda for upcoming hearing.                            0.10
03/29/12      MNK Review and analyze draft allocation brief and exhibit.                   1.50
03/29/12      MNK Review considemtion of alternatives for Nortel IP addresses prepared     0.40
                  by Jefferies.
03/29/12      MNK Review correspondence from B. Kahn re comments to mediation              0.10
                  statement.
03/29/12      MNK Review correspondence from J. Heaney re claimholder call;                0.40
                  conference with potential claimholder and communicate with J.
                  Heaney and L. Miller re same.
03/29/12      MNK Attend weekly Connnittee meeting.                                        1.10
03/29/12      PAB Review of notes from committee conference call; Confer with M.           0.50
                  Khambati regarding mediation issues.
03/30/12      MNK Review Order authorizing claims agent to update status of certain        0.10
                  claims.
03/30/12      MNK Continue researching, reviewing and analyzing case law and legal         1.80
                  materials on post-petition interest and damages options.
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    Date      Tkpr                                Description                              Hours
04/02/12      MNK Travel to New York to attend Capstone meeting.                             2.00
04/02112      MNK Review correspondence and attachments from S. Blauner and                  0.60
                    communicate with working group re same.
04/02/12      MNK Review and revise mediation outline and send to L. Miller for              0.50
                    review.
04/02/12      MNK Review materials and prepare for upcoming Capstone meeting.                1.30
04/03/12      LEM Prepare for meeting with Capstone (C. Kearns); Meet with Capstone;         7.50
                    Teleconference with Solus (S. Blauner); Emails with S. Blauner, B.
                    Kahn of AKIN, J. Heaney of Law Debenture; Review Capstone
                    analysis; Teleconference with M. Riela of Latham & Watkins.
04/03/12      MNK Prepare for and multiple conferences with L. Miller and Capstone           4.30
                    team re allocation and mediation issues.
04/04/12      MNK Review and analyze cases and arguments and draft Law Debenture             5.50
                    mediation statement.
04/05/12      MNK Continue drafting Law Debenture mediation statement.                       4.00
04/05/12      MNK Participate on weekly committee call.                                      0.60
04/05/12      MNK Review MOR No. 30 and NNI~NNCC loan documents and revise                   1.40
                   Addendum to Amended Proof of Claims; send to J. Heaney and L.
                   Miller for review and consideration.
04/06/12      MNK Review and revise and draft Law Debenture mediation statement.             2.50
04/06/12      MNK Outline and draft memo regarding open issues on Support Agreement          3.50
                   and post-petition interest and damages.
04/06/12      MNK Review Debtors' motion seeking to fund certain subsidiary and              0.30
                   affiliate wind-down costs.
04/06112      MNK Review Order approving Jefferies amended retention.                        0.10
04/06/12       RN Continued researching post-petition interest; Began writing section of     3.99
                   brief on the topic and sent to M. Khambati.
04/07/12      MNK Review miscellaneous documents ftled and served in the bankruptcy         0.20
                   cases.
04/07/12       RN Finished research and section of brief on post-petition interest; Sent    3.50
                   to M. K.hambati.
04/08/12      MNK Review, revise and send draft of Mediation Statement to L. Miller for     3.50
                   review and consideration.
04/09/12      MNK Draft memo to file re open issues concerning client.                      2.80
04/09/12      MNK Review Debtors' stipulation of settlement of avoidance claims with        0.40
                   Beeline.com.
04/09/12      MNK Review Notice of Second Application of LTD Committee for                  0.10
                   reimbursement of expenses incurred.
04/10112      LEM Review NNCC bond mediation brief; Conference with M. Khambati             8.00
                   regarding same; Teleconference with AI Pisa of Milkank (Ad Hoc
                   Committee of Bond Holders); Prepare for meeting with J. Heaney of
                   Law Debenture; Meeting with J. Heaney; Teleconference with F.
                   Hodera of AKIN (OCC counsel); Teleconference with S. Blauner of
                   Solus; Teleconference with Davis Polk US counsel to mediator
                   regarding NDA; Teleconference with M. Bienenstock; Review BNY
                   mediation submission.
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   Date       Tkpr                                 nescription                             Hours
04/10/12      MNK Travel to and from New York to attend meetings with L. Miller and          3.00
                   client on mediation statement and position(s).
04/10/12      MNK Multiple conferences with A. Pisa, L. Miller, J. Heaney, and S.            4.50
                   Blauner re status and strategy on open issues, mediation statements,
                   and positions.
04111112      MNK Conference with T. Graulich and L. Miller remediation process.             0.40
04/11112      MNK Correspond with L. Miller re T. Graulich article on Substantive            1.10
                   Consolidation; fmd and send the same to L. Miller and review article.
04/11112      MNK Review draft BNY mediation statement; review and revise Law                0.90
                   Debenture mediation statement per BNY mediation statement.
04/12/12      MNK Participate on weekly Committee calL                                       0.60
04112/12      MNK Conference with L. Miller re status and strategy.                          0.20
04/12/12      MNK Review Monitor's Eighty-First Report.                                      0.50
04/13/12      MNK Multiple conferences and correspondence throughout the day with S.         3.60
                   Blauner, J. Schiffrin, L. Miller, J. Heaney, M. Riela, F. Hodara, A.
                   Pisa, and D. Botter remediation status and strategy.
04/13/12       RN Researched elements of contracts and damages under NY law.                 2.50
04116/12      LEM Review and comment on draft of Law Debenture mediation                     6.00
                   memorandum; Conference call with Client; Teleconference with
                   Canadian Committee Counsel; Teleconference with AKIN Re. Group
                   mediator meeting; Forward brief to others; Review submission by
                   other parties; Review Cleary letter to Randy Bennett.
04/16/12      MNK Review, revise, fmalize and submit mediation statement; multiple          5.50
                   conferences and correspondence with client, L. Miller, and various
                   interested parties throughout the day; review and analyze revised
                   statements of US Interests, Ad Hoc Group, and BNY.
04/16/12      MNK Review Debtors' motion resettlement with certain Amphenol                 0.30
                   Affiliates.
04/17/12      LEM Review mediation statement for non public information; Several            5.25
                   emails with Solus; Few teleconferences with M. Kbambati; Long
                   email to J. Heaney; Email to Faskin firm in Toronto; Review and
                   analyze documents for Toronto mediation; Review several
                   statements.
04/17/12      MNK Review LTD Committee Response to Debtors' motion to appoint               0.30
                   mediator.
04/17/12      MNK  Review   Periodic Report re Value, Operations and Profitability of       0.60
                   certain Nortel entities filed and served in the bankruptcy cases.
04117/12      MNK Review Notice of Rescheduled Hearing Date.                                0.10
04/17/12      MNK Review Monitor's Eighty-Second and Eighty-Third Reports.                  0.90
04/17/12      MNK Review and analyze Debtors' Twenty-Sixth Omnibus objection to             0.50
                   claims.
04/17/12      MNK Review correspondence from S. Blauner and L. Miller; conference           0.40
                   with L. Miller re status; redact and send statement to S. Blauner;
                   communicate with S. Kukulowicz re Canadian counseL
04/18/12      LEM Review material; Several emails; Plan Toronto interview with              1.75
                   Canadian/Ontario counsel; Review upcoming mediation issues.
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   Date     Tkpt·                              Description                                Hours
04/18/12    MNK Review Notices of settlement of claims filed and served in the               0.20
                   bankruptcy cases.
04/18/12    MNK Review Monitor's Eighty-Fourth Report.                                       1.20
04/19/12    MNK Review Omnibus Reply filed by the LTD Committee re fees.                     0.10
04/20/12    MNK Participate on Committee conference call.                                    0.60
04/20/12    MNK Review Order expanding order re funding of subsidiary wind down              0.10
                   costs.
04/23/12    LEM Travel to Toronto; Prepare for meeting with mediator and other               7.00
                  creditor counsel; Meet with Edmond Lamek of Fasken (Canadian
                  Counsel to Law Debenture); Confer with Jim Heaney of Law
                  Debenture and Moshin Khambati ofD&L.
04/23/12    MNK Travel to Toronto to participate in mediation meeting; multiple             6.00
                  conferences with working group re same; review materials in
                  preparation of-mediation session.
04/23112    MNK Review and analyze applicable law and draft memo re Law                     2.50
                  Debenture claims issues.
04/24/12    LEM Prepare for and meet with counsel for various creditor groups and          10.00
                  mediator and his counsel; Meet in private with mediator, his counsel,
                  US Debtor counsel, Financial Advisor, BNY lawyers and Law
                  Debenture counsel; Meet with Law Debenture Canadian counsel,
                  Edmond Lamek of Fasken; Travel to NY/Princeton.
04/24112    MNK Attend and participate in first mediation session; conferences with         6.00
                  working group and local counsel re status; travel back to Chicago.
04/24112    MNK Review and analyze applicable law; continue drafting memo re Law            4.50
                  Debenture claims issues.
04/25112    LEM Participate in OCC call; Review Toronto mediation materials;                2.50
                  Various emails to/from; Various teleconferences.
04/25/12    MNK Participate on weekly Committee call.                                       1.00
04/25/12    MNK Review miscellaneous documents and orders entered and served in             0.40
                  the bankruptcy cases.
04/26/12    MNK Conference with L. Miller re various open issues.                           0.60
04/26/12    MNK Review and respond to multiple correspondence from E. Lamek and             0.90
                  S. Blauner.
                                                                     Total Hours        3,473.94



Timckeepet·                  Tkpr      Status                     Hours      Rate          Value
Peter Baumgaertner           PAB       Partner                      2.75      875      $2,406.25
Peter Baumgaertner           PAB       Partner                      5.25      800      $4,200.00
Maria A. Dantas              MAD       Partner                     72.40      800     $57,920.00
Maria A. Dantas              MAD       Partner                     44.75      775     $34,681.25
Maria A. Dantas              MAD      ·Partner                    174.25      750    $130,687.50
Maria A. Dantas              MAD       Partner                     18.25      725     $13,231.25
Maria A. Dantas              MAD       Partner                      1.50      700      $1,050.00
Peter A. Ivanick             PAl       Partner                      1.75      950      $1,662.50
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Timekeeper                    Tkpt·    Status                         Hours      Rate         Value
Peter A. Ivanick              PAl      Partner                          1.00      925       $925.00
Timothy Q. Karcher            TQK      Partner                          5.30      800     $4,240.00
Bennett J Murphy              BJM      Partner                          5.90      875     $5,162.50
Robert S. Rachofsky           RSR      Partner                          0.50      875       $437.50
Martha N Steinman             MNS      Partner                          4.75      800     $3,800.00
George M. Williams            GMW      Partner                          1.00      850       $850.00
David P. Bicks                DPB      Of Counsel                       3.50      825     $2,887.50
Lawrence E. Miller            LEM      Of Counsel                   1,473.55      875 $1,289,356.25
Lawrence E. Miller            LEM      Of Counsel                     245.25      850   $208,462.50
Lawrence E. Miller            LEM      Of Counsel                       4.25      825     $3,506.25
Mohsin N Kharnbati            MNK      Senior Counsel                 157.10      760   $119,396.00
Mohsin N Kharnbati            MNK      Senior Counsel                 986.20      675   $665,685.00
Mohsin N Kharnbati            MNK      Senior Counsel                 188.10      650   $122,265.00
Robin Heszkel                 RH       Associate                        6.50      385     $2,502.50
Ross Neihaus                  RN       Associate                        9.99      395     $3,946.05
Melissa Peterson              MP       Associate                       21.40      625    $13,375.00
Alek Strygin                  AS       Associate                       25.60      500    $12,800.00
Heather Aaronson              HLA      Paralegal                        1.10      265       $291.50
Sherika Bryant                SB       Paralegal                        0.50      190        $95.00
Sowon Yoon                    SY       Paralegal                        1.20        1         $1.20
Daniel Pastore                DP       Legal Advisor                    1.00     385        $385.00
Betty Braverman               BB       Non Legal Staff                  1.90      150       $285.00
Susan Foster                  SF       Non Legal Staff                  2.50      150       $375.00
Jill A Gray                   JG       Non Legal Staff                  2.50      160       $400.00
Christopher D Lowden          CL       Non Legal Staff                  0.85      160       $136.00
Sally Munson                  SM       Non Legal Staff                  1.60      150      $240.00
                                      Totals                        3,473.94          $2,707,644.50

                                      Total Professional Services                     $2,707,644.50


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Type of Disbtu·sement                                                                     Amounts
UPS                                                                                          60.22
FedEx                                                                                       481.69
Reproduction                                                                                588.40
Messenger Service                                                                            22.50
Telephone                                                                                    20.33
Postage                                                                                       0.88
Travel Out Of Town- Meals                                                                    86.85
Travel Out Of Town- Parking                                                                  11.00
Travel Out Of Town-Air Fare                                                               8,946.35
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 Travel Out Of Town-Mileage                                                        81.60
 Travel Out OfTown-Lodging                                                     3,508.03
 Business Meals                                                                 1,348.03
 Local Transportation                                                          5,205.79
 Air Express                                                                       22.05
 Telephone                                                                        381.14
 Online Legal Research                                                             35.00
 Legal Research - Lexis                                                        8,212.72
 Legal Research - Westlaw                                                      5,036.69
 Online Legal Research                                                         1,480.11
 Conference Services                                                              848.14
                             Total Expenses                                  $36,377.52

                                  Total Amount for this Matter            $2,744,022.02
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                                     Payment is due upon receipt.
          Kindly reference our invoice number(s) on all checks, wire transfers and remittances.


Wire transfer instructions:                                     Check remittance instructions:
Bank:                    JP Morgan Chase Bank                   Dewey & LeBoeuf LLP
                         1166 A venue of the Americas           P.O. Box 416200
                         New York, NY 10036                     Boston, MA 02241-6200
Acct#:                   91 0-1-062983
ABA#:                    021-000-021
Swift Code:              CHASUS33
Credit Acct of:          Dewey & LeBoeufLLP
Reference:               Peter Baumgaertner
